Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 1 of 168 Page ID
                                 #:7869


 1   Scott Wellman, SBN: 82897
 2
     Chris Wellman SBN: 304700
     WELLMAN & WARREN LLP
 3   24411 Ridge Route, Suite 200
 4   Laguna Hills, CA 92653
     Tel: (949) 580-3737
 5   Fax: (949) 580-3738
 6   swellman@w-wlaw.com
     cwellman@w-wlaw.com
 7

 8   Attorneys for Defendants

 9
                          UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11

12
     FEDERAL TRADE COMMISSION,                     Case No. 8:20-cv-01431-PSG-KES
13

14               Plaintiff,                        DEFENDANT’S RESPONSE TO
                                                   PLAINTIFF FTC’S STATEMENT
15 v.                                              OF UNCONTROVERTED FACTS
16                                                 AND CONCLUSION OF LAW AND
   QYK BRANDS LLC d/b/a Glowyy; et                 [PROPOSED] JUDGMENT
17 al,

18                                                 Magistrate: Hon. Karen E. Scott
                 Defendants                        Hearing Date: April 8, 2022
19                                                 Time: 1:30p.m.
20                                                 Courtroom: 6D

21                                                 Discovery Cutoff: December 1, 2021
22                                                 Pretrial Conference: March 4, 2022 at
                                                   10:30 a.m.
23                                                 Trial Date: None Scheduled/TBD
24

25         Pursuant to Central District of California Rule 56-1, Defendant’s, respond to
26 Plaintiff’s motion of summary judgment referred to in the attached Notice, submits

27 this “statement of Uncontroverted Facts and Conclusion of Law” and proposed

28 judgment.
                                             -1-
        DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                      AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 2 of 168 Page ID
                                 #:7870


 1   Statement of Undisputed Fact Supporting Evidence           DISPUTED/
 2   (“SUF”)                                                    UNDISPUTED
 3   INTRODUCTION
 4    1. On March 11, 2020, the PX 16, Declaration of Undisputed
 5    World Health Organization’s Katherine           Johnson
 6    Director-General declared that (“Johnson Decl.”) ¶ 4.
 7    the disease caused by the novel
 8    coronavirus          SARS-CoV-2
 9    (“COVID-19”)          could      be
10    characterized as a pandemic
11    (“COVID-19 Pandemic” or
12    “Pandemic”).
13     I.    THE DEFENDANTS
14
      2. On August 4, 2020, the FTC PX          16,   Att.   A Undisputed
15
      filed this case against four (Complaint, ECF No.
16
      Defendants:       QYK        Brands 1).
17
      LLC,      d/b/a      Glowyy.com
18
      (“QYK”);                     Rakesh
19
      Tammabattula,                QYK’s
20
      Founder and Chief Executive
21
      Officer                 (“CEO”);
22
      DRJSNATURAL LLC, (“Dr.
23
      J’s Natural” or “DJN”); and
24
      Jacqueline Nguyen, CEO of
25
      Dr. J’s Natural and officer of
26
      QYK       alleging    that     they
27
      violated Section 5(a) of the
28
                                                -2-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 3 of 168 Page ID
                                 #:7871


 1    FTC Act, 15 U.S.C. § 45(a),
 2    and the FTC’s Mail, Internet,
 3    or       Telephone                Order
 4    Merchandise                       Rule
 5    (“MITOR”), 16 C.F.R. Part
 6    435.
 7    3. Plaintiff     filed     its     First PX 16, Att. C (First Undisputed
 8    Amended Complaint on May Amended Complaint
 9    19, 2021 adding two corporate [“FAC”], ECF No.
10    defendants,                       Theo 73).
11    Pharmaceuticals,           Inc.    and
12    EASII, Inc., and alleging all
13    corporate defendants operated
14    as a common enterprise.
15    4. QYK Brands, LLC d/b/a PX 16, Att. D (Ans. to Undisputed
16    Glowyy is a California Limited FAC, ECF No. 129) ¶
17    Liability Company formed in 6.
18    2017 with its principal place of
19    business          in       Anaheim,
20    California.
21
      5. QYK         transacts     business PX 16, Att. D, Ans. to Undisputed
22
      within the district.                      FAC ¶ 6;
23
                                                PX    16,   Att.    E
24
                                                (Relevant Portions of
25
                                                Defendant     QYK’s
26
                                                Responses to FTC’s
27
                                                Request            for
28
                                                      -3-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 4 of 168 Page ID
                                 #:7872


 1                                           Admissions
 2                                           [“QYKRFA Resp.”])
 3                                           No. 3.
 4    6. QYK and DJN were located PX                  16,   Att.   O, Undisputed
 5    at 10517 Garden Grove Blvd, 8/18/21 JN Dep. Tr.
 6    Garden        Grove,     CA      until 36:1-13;
 7    approximately May 2020.                PX       16,   Att.   O,
 8                                           8/18/21 JN Dep. Tr.
 9                                           38:9-13;
10                                           PX       16,   Att.   G,
11                                           (Relevant Portions of
12                                           Jacqueline Nguyen’s
13                                           Responses       to    the
14                                           FTC’s RFAs, [“JN
15                                           RFA Resp.”]) No. 39.
16    7. QYK moved to 3373 E. La PX                   16,   Att.   K, Undisputed
17    Palma Blvd., Anaheim, CA in 8/16/21 RT Dep. Tr.
18    approximately May 2020.                146:10-148:11.
19
      8. In approximately November PX                 16,   Att.   K, Disputed, 8/16/21 RT
20
      2020, QYK moved to 12101 8/16/21 RT Dep. Tr. Dep. Tr. 139:9-11
21
      Western Ave., Anaheim, CA.             140:11-16.
22
      9. In approximately January PX                  16,   Att.   K, Disputed, 8/16/21 RT
23
      2021, DJN also moved to 8/16/21 RT Dep. Tr. Dep.                         Tr.     139:9-11,
24
      12101          Western           Ave., 140: 17-20.                 140:17-20     (“Garden
25
      Anaheim, CA.                                                       Grove, CA”)
26
      10. Defendant Tammabattula PX 16, Att. D, Ans. to Undisputed
27
      and     Dr.     J,     through     the FAC. ¶ 20;
28
                                                      -4-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 5 of 168 Page ID
                                 #:7873


 1    Corporate Defendants, own PX             16,   Att.   K,
 2    multiple brands and companies 8/16/21 RT Dep. Tr.
 3    that sell skin care, health, 152:25-153:2;
 4    beauty, personal care, and PX 17, Stipulation of
 5    wellness products, including Facts as to Common
 6    through its websites qyk.us, Enterprise
 7    qyksonic.com,        glowyy.com, (“Stipulation”), ¶¶ 3-
 8    and drjsnatural.com.               6.
 9    11. During the relevant time, PX 16, Att. D, Ans. to Undisputed
10    QYK did business through the FAC ¶ 6;
11    website www.glowyy.com             PX 16, Att. E, QYK
12                                       RFA Resp. No. 4;
13                                       PX    16,   Att.   K,
14                                       8/16/21 RT Dep. Tr.
15                                       152:25-153:2.
16    12. Glowyy      is    an    online PX 16, Att. D, Ans. to Undisputed
17    storefront operating through FAC. ¶ 21;
18    the   website        glowyy.com, PX 16, Att. E, QYK
19    which offers various brands of RFA Resp. No. 5;
20    beauty, skin, personal care, and PX      16,   Att.   K,
21
      PPE    products.           Glowyy 8/16/21 RT Dep. Tr.
22
      launched in March 2020.            104:8-105:8; 149:14-
23
                                         150:10.
24
      13. Rakesh Tammabattula is PX 16, Att. D, Ans. to Undisputed
25
      the CEO and founder of QYK FAC ¶¶ 10, 14, 20;
26
      and several other entities in the PX 17, Stipulation ¶¶
27
      tech, beauty, wellness, and 3, 4.
28
                                               -5-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 6 of 168 Page ID
                                 #:7874


 1    personal      care   industries,
 2    including the Theo Pharmacy
 3    online prescription fulfillment
 4    service.
 5    14. Mr. Tammabattula resides PX 16, Att. D, Ans. to Undisputed
 6    in the district.                   FAC ¶ 10;
 7                                       PX 17, Stipulation ¶
 8                                       5.
 9    15. In connection with the PX 16, Att. D, Ans. to Undisputed
10    matters alleged in the First FAC. ¶ 10;
11    Amended Complaint (ECF No. PX 17, Stipulation ¶
12    73,      “FAC”),     Defendant 5.
13    Tammabattula transacts or has
14    transacted business in this
15    District and throughout the
16    United States.
17    16. Dr. J’s Natural, LLC is a PX 16, Att. D, Ans. to Undisputed
18
      California Limited Liability FAC ¶ 7;
19
      Company, headquartered in PX            16,    Att.   O,
20
      Garden     Grove,    CA,    and 8/18/21 JN Dep. Tr.
21
      formed in March 2020.              35:12-21.
22
      17. Dr. J’s Natural or DJN sells PX 16, Att. D, Ans. to Undisputed
23
      products through its website, FAC ¶ 20;
24
      drjsnatural.com.                   PX   16,    Att.   O,
25
                                         8/18/21 JN Dep. Tr.
26
                                         38:14-25.
27
      18. QYK promotes products PX 16, Att. D, Ans. to Undisputed
28
                                              -6-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 7 of 168 Page ID
                                 #:7875


 1    from Dr. J’s Natural through FAC ¶¶ 20, 21;
 2    Glowyy.                                    PX 16, Att. E, QYK
 3                                               RFA Resp. No. 7.
 4    19. Jacqueline Thao Nguyen PX                      16,   Att.   O, Undisputed
 5    (aka Dr. J) is a “clinical 8/18/21 JN Dep. Tr.
 6    compounding pharmacist”.                   23:22-24:5;     25:21-
 7                                               26:4;
 8                                               See also PX 1, Decl.
 9                                               of Lashanda Freeman
10                                               [“Freeman      Decl.”],
11                                               Att. J at 4:14-18.
12    20. Defendant           Jacqueline PX 16, Att. D, Ans. to Undisputed
13    Nguyen       works   under           the FAC ¶ 11;
14    moniker “Dr. J.”                           PX 17, Stipulation, ¶
15                                               6.
16    21. On     October       8,     2018 PX 1, Freeman Decl., Undisputed
17    (effective November 7, 2018), ¶ 80 and Att. Q;
18
      the State of California Board of PX 16, Att. P, 8/19/21
19
      Pharmacy      entered         into     a JN Dep. Tr. 42:24-
20
      Stipulated     Settlement            and 43:12;
21
      Disciplinary Order with Dr. J PX 16, Att. R2 (JN
22
      suspending her from practice 30) at 3.
23
      as a pharmacist for three (3)
24
      years, and thereafter placing
25
      her   on     probation        for     an
26
      additional five (5) years.
27
      22. As part of the Stipulation, PX 1 ¶ 80, Att. Q.                   Undisputed
28
                                                         -7-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 8 of 168 Page ID
                                 #:7876


 1    Dr. J admitted to the charges,
 2    which                  included
 3    “Unprofessional        Conduct
 4    Involving     Acts    Involving
 5    Dishonesty, Fraud, or Deceit,”
 6    “Unlawful       Holding     and
 7    Offering      for    Sale    of
 8    Adulterated          Dangerous
 9    Drugs,”       and    “Excessive
10    Furnishing      of   Controlled
11    Substances,” among others.
12    23. Dr. J voluntarily suspended PX 16, Att. P, 8/19/21 Undisputed
13    her license in approximately JN Dep. Tr. 41:2-16;
14    November 2019.                    PX 16, Att. R2, JN
15                                      30.
16    24. Dr. J sells health and PX 1, Att. J (Your Undisputed
17    wellness products, including Order Updates for Dr.
18    hand sanitizer, under the brand J’s Natural Tr. 4:14-
19    name “Dr. J’s Natural.”           18); id., Att. H (Covid
20                                      Insight from a Doctor
21
                                        Tr. 4:23-24);
22
                                        See also PX 2, Decl.
23
                                        of    Adam      Rottner
24
                                        (“Rottner       Decl.”),
25
                                        Atts. N, O, P, Q, R.
26

27
      25. In connection with the PX 16, Att. D, Ans. to Undisputed
28
                                              -8-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 9 of 168 Page ID
                                 #:7877


 1    matters alleged in the FAC, Dr. FAC ¶ 11;
 2    J transacts or has transacted PX 17, Stipulation ¶
 3    business in the District and 9.
 4    throughout the United States.
 5    26. Dr. J is an owner of QYK.   See PX 1 ¶ 27, Att. D; Undisputed
 6                                    PX   16,     Att.    Q,
 7                                    12/9/21 JN Dep. Tr.
 8                                    34:10-17
 9    27. Dr. J has also represented PX 16, Att. Q, Tr. Undisputed
10    herself as a principal of the 219:14-21.
11    QYK.
12    28. Dr. J is CEO of Dr. J’s PX 16, Att. D, Ans. to Undisputed
13    Natural.                        FAC ¶ 11;
14                                    PX 17, Stipulation ¶
15                                    7.
16
      29. Jacqueline         Nguyen PX 16, Att. G, JN Undisputed
17
      controls Dr. J’s Natural.       RFA Resp. No. 41;
18
                                      PX 17, Stipulation ¶
19
                                      8.
20
      30. Jacqueline Nguyen owns PX 16, Att. G, JN Undisputed
21
      Dr. J’s Natural.                RFA Resp. No. 42;
22
                                      PX   16,     Att.    O,
23
                                      8/18/21     JN      Dep.
24
                                      32:7-10;
25
                                      PX 17, Stipulation ¶
26
                                      7.
27
      31. Jacqueline Nguyen is an PX 16, Att. G, JN Undisputed
28
                                            -9-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 10 of 168 Page ID
                                  #:7878


  1   officer of Dr. J’s Natural.         RFA Resp. No. 43;
  2                                       PX     16,    Att.    O,
  3                                       8/18/21      JN      Dep.
  4                                       32:4-6;
  5                                       PX 17, Stipulation ¶ 7
  6   32. Dr.          J       and   Mr. PX 16, Att. D, Ans. to Undisputed
  7   Tammabattula are husband and FAC ¶ 11;
  8   wife and reside within the PX              16,    Att.    O,
  9   district.                           8/18/21      JN      Dep.
 10                                       18:22-19:3; 19:14-16;
 11                                       PX 17, Stipulation ¶¶
 12                                       5, 6, 9.
 13   33. Theo         Pharmaceuticals, PX 16, Att. D, Ans to Undisputed
 14   Inc.        is       a    California FAC ¶ 8;
 15   Corporation with its principal PX 17, Stipulation ¶¶
 16   place of business at 10517 1, 15.
 17   Garden Grove Blvd, Anaheim,
 18   California.
 19
      34. Theo         Pharmacy      was PX 16, Att. D, Ans. to Undisputed
 20
      founded by Dr. J in 2014.           FAC ¶ 11;
 21
                                          PX 17, Stipulation ¶
 22
                                          7;
 23
                                          PX     16,    Att.    O,
 24
                                          8/18/21 JN Dep. Tr.
 25
                                          44:22-46:17.
 26
      35. Corporate records for Theo PX 16, Att. D, Ans. to Undisputed
 27
      Pharmacy         show     Defendant FAC ¶ 14;
 28
                                                -10-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 11 of 168 Page ID
                                  #:7879


  1   Tammabattula as the owner PX               16,    Att.   K,
  2   and controlling officer.            8/16/21 RT Dep. Tr.
  3                                       34:7-9.
  4   36. Until on or around March PX 16, Att. K, 68:4- Undisputed
  5   2020, Theo Pharmacy was an 18.
  6   online pharmacy retailer.
  7   37. EASII, Inc. (“EASII”) is PX 16, Att. D, Ans to Undisputed
  8   a Delaware Corporation with FAC ¶ 9;
  9   its principal place of business PX 17, Stipulation ¶2.
 10   Santa Ana, California.
 11   38. Rakesh Tammabattula is PX 16, Att. D, Ans. to Undisputed
 12   the CEO of EASII, Inc.              FAC ¶ 10;
 13                                       PX 17, Stipulation
 14                                       ¶ 3.
 15
      39. At all times material to the PX 16, Att. D, Ans. to Undisputed
 16
      FAC,          Defendants      have FAC ¶ 12;
 17
      maintained a substantial course PX 17, Stipulation ¶
 18
      of    trade     in   or    affecting 10
 19
      commerce, as “commerce” is
 20
      defined in Section 4 of the FTC
 21
      Act, 15 U.S.C. s. 44.
 22
      II.    THE           CORPORATE             DEFENDANTS
 23
             OPERATE AS A COMMON ENTERPRISE
 24
      40. Defendants Tammabattula PX 16, Att. D, Ans. to Undisputed
 25
      and Dr. J operate QYK, DJN, FAC ¶ 13;
 26
      Theo, and EASII (“Corporate PX 17, Stipulation ¶
 27
      Defendants”) as a common 11.
 28
                                                 -11-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 12 of 168 Page ID
                                  #:7880


  1    enterprise.
  2    41. Defendants admit and do PX 16, Att. D, Ans. to Undisputed
  3    not dispute that Defendants FAC ¶¶ 6, 11, 13-14,
  4    Tammabattula and Dr. J have 16-17;
  5    conducted       the       business PX 17, Stipulation ¶¶
  6    practices alleged in the FAC 12-16.
  7    through interrelated companies
  8    that share common ownership,
  9    officers, employees, and office
 10    locations.
 11    42. Defendants        agree,    that PX 16, Att. D, Ans. to Undisputed as to the
 12    because       the       Corporate FAC ¶ 19;                      Corporate   defendants
 13    Defendants have operated as a PX 17, Stipulation ¶ only.
 14    common enterprise, each is 17.
 15    liable for the acts and practices
 16    alleged in the FAC.
 17   III.   DEFENDANTS’ DECEPTIVE BUSINESS
 18
             PRACTICES
 19

 20
       43. In       November          2019, PX   16,     Att.     K, Undisputed
 21
       Defendants began developing 8/16/21              RT      Dep.;
 22
       www.glowyy.com (“Glowyy 41:19-42:15; 104:25-
 23
       website”).                           105:8.
 24
       44. Defendants developed the PX           16,     Att.     K, Undisputed
 25
       Glowyy website using the 8/16/21 RT Dep. Tr.
 26
       Shopify e-commerce platform. 153:3-154:1.
 27
       45. Defendants explained that PX          16,     Att.     K, Undisputed
 28
                                                 -12-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 13 of 168 Page ID
                                  #:7881


  1   “Shopify is a ready-made e- 8/16/21 RT Dep. Tr.
  2   commerce platform or easy-to- 153:14-154:1.
  3   use   e-commerce      platform,
  4   which allows us to sell any
  5   products on line pretty easily
  6   without much skills with the
  7   actual coding or involvement
  8   of the backing of the website,
  9   where they have the -- the --
 10   the basic structure developed
 11   and the core engine for the e-
 12   commerce exists. And all you
 13   do is just change the layout of
 14   how we need our store to look,
 15   add our products to it, and
 16   we're pretty much ready to sell.
 17   We could connect the -- the
 18   payment     --   payment     or
 19   payment providers through
 20   that, and there’s nothing much
 21   we would have to do.”
 22   46. QYK used Shopify to PX 16, Att. E, QYK Undisputed
 23   manage shipping of         hand RFA Resp. No. 73;
 24
      sanitizer orders to customers PX         16,    Att.   U,
 25
      placed                  through 9/23/21 DP Tr. 75:12-
 26
      www.glowyy.com.                    16.
 27
      47. When a customer placed an PX 16, Att. E, QYK Undisputed
 28
                                               -13-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 14 of 168 Page ID
                                  #:7882


  1   order     for     hand    sanitizer RFA Resp. Nos. 74.
  2   through the www.glowyy.com
  3   website, Shopify generated
  4   and transmitted a notification
  5   of the order to an authorized
  6   representative, employee, or
  7   contractor of the Company.
  8   48. An                   authorized PX 16, Att. E, QYK Undisputed
  9   representative, employee, or RFA Resp. No. 75.
 10   contractor of QYK would
 11   generate a pre-paid mailing
 12   label through Shopify to ship
 13   hand sanitizer to customers.
 14   49. Shopify        maintains    a PX 16, Att. E, QYK Undisputed
 15   database for the Company RFA Resp. No. 76.
 16   containing       the     following
 17   information       for     customer
 18   orders:
 19             a. Customer name
 20
                b. Customer address
 21
                c. Date the order was
 22
                      placed
 23
                d. The           ordered
 24
                      merchandise,
 25
                      including SKU
 26
                e. The amount the
 27
                      customer paid for
 28
                                              -14-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 15 of 168 Page ID
                                  #:7883


  1               the          ordered
  2               merchandise,
  3               including          the
  4               postage       costs,
  5               taxes, and price
  6               per item
  7            f. The fulfilled at
  8               date
  9            g. The          mailing
 10               carrier, e.g. USPS
 11               or     UPS,     and
 12               method,         e.g.,
 13               overnight,         or
 14               ground
 15            h. The “paid at date.”
 16   50. Shopify creates a “fulfilled PX 16, Att. E, QYK Undisputed
 17   at” date for an order at the time RFA Resp. No. 77;
 18   QYK generates a mailing PX                16,     Att.     U,
 19   label.                               9/23/21 DP Dep. Tr.
 20                                        100:9-22.
 21
      51. Defendants had initially PX           16,     Att.     K, Disputed,      It    was
 22
      started the Glowyy website to 8/16/21            RT      Dep. initially started to sell
 23
      sell beauty products online.         121:7-9; 149:20-150: personal care and skin
 24
                                           4.                         care products. Dec. of
 25
                                                                      Tammabattula at ¶ 3.
 26
      52. At the beginning of the PX            16,     Att.     K, Disputed,    Defendants
 27
      Pandemic,              however, 8/16/21 RT Dep. Tr. started advertising all
 28
                                                -15-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 16 of 168 Page ID
                                  #:7884


  1   Defendants        changed    their 149:20-150:10;        PX products on the store
  2   plans in order to capitalize on 16, Att. D, Ans. to and received orders for
  3   consumers’ high demand for FAC ¶¶ 22-23.                        many products apart
  4   hand sanitizer.                                                 from sanitizers. Dec. of
  5                                                                   Tammabattula at ¶ 5
  6   53. Beginning on or around PX 16, Att. E, QYK Disputed, QYK RFA
  7   March 4, 2020, Defendants RFA Resp. No. 5, 7;                   Resp. No. 5 states that
  8   began offering Dr. J’s Natural PX 16, Att. K, 8/16 Defendants                    began
  9   (and   other      branded)   hand 21   RT      Dep.      Tr. selling hand sanitizer
 10   sanitizer through the Glowyy 104:8-12                 (hand through its website on
 11   website.                          sanitizer    listed     on March 3, 2020
 12                                     Glowyy       in       early
 13                                     March).
 14   54. Additionally,     they   sold PX 1 ¶¶ 16-20, Att. B; Undisputed
 15   other (in their own words) PX 16, Att. D, Ans. to
 16   “Pandemic      Products”     and FAC ¶ 21; see also
 17   “Current              Essentials”, PX 2, Att. N, Q (DJN
 18   including facemasks, shields, COVID essentials).
 19   surface wipes, disinfectants,
 20   and other Personal Protective
 21
      Equipment (“PPE”).
 22
      55. The Defendants marketed PX 16, Att. D, Ans. to Undisputed
 23
      four sizes of Dr. J’s Natural FAC ¶ 21.
 24
      hand sanitizer: a 3.3 oz bottle
 25
      for $5.99; a 4.0 oz bottle for
 26
      $5.99; a 10 oz bottle for 9.99;
 27
      and a 16 oz bottle for $12.99.
 28
                                              -16-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 17 of 168 Page ID
                                  #:7885


  1   56. Defendants        also    sold PX 16, Att. AA at 10, Undisputed
  2   300ml/10 oz bottles of Siruni 15                  (discussing
  3   brand hand sanitizer through imports and showing
  4   Glowyy        that     Defendants images           of     hand
  5   imported from China.               sanitizer); PX 1, Att.
  6                                      Z at 1, 3, 8, 25
  7                                      (showing        purchases
  8                                      of Siruni 300 ml hand
  9                                      sanitizer); see also
 10                                      PX 2, Att. AB.
 11   57. Defendants also sold Dr. PX 1, Att. E at 3 Undisputed
 12   J’s   Natural        brand    hand (early March DJN
 13   sanitizer     and     other   PPE posts          for      hand
 14   through the DJN website, sanitizer); PX 2, Atts.
 15   drjsnatural.com.                   N-Q       (July        2020
 16                                      website         captures);
 17                                      AB,        AD,           AE
 18                                      (showing               DJN
 19                                      Facebook and Twitter
 20                                      posts early March for
 21                                      hand sanitizer); PX
 22                                      16, Att. O, 8/18/21 JN
 23                                      Dep.      Tr.        69:5-15
 24
                                         (started selling hand
 25
                                         sanitizer in March).
 26
                  A. Defendants     Aggressively       Advertised
 27
                    Hand Sanitizer “In Stock & Ships
 28
                                                -17-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 18 of 168 Page ID
                                  #:7886


  1               Today” With Little Inventory.
  2   58. To kick off sales of hand PX       16,    Att.    F Disputed.               This
  3   sanitizer, Defendants began an (Relevant Portions of language was contained
  4   aggressive online marketing Defendant                    only in the Google Ads
  5   campaign.                      Tammabattula’s            which counted for only
  6                                  Responses to FTC’s 11% of the sales. The
  7                                  RFAs       [“RT     RFA language was accurate
  8                                  Resp.”] No. 3;            as it was based on
  9                                  PX 16, Att. L, 8/17/21 existing inventory and
 10                                  RT Dep. 24: 19-21.        the expected demand
 11                                                            based      on          past
 12                                                            experience.     Dec.     of
 13                                                            Tammabattula at ¶¶ 10-
 14                                                            11
 15   59. On or around March 4, PX 16, Att. F, RT Disputed,                  Only       1
 16   2020,    Defendants    began RFA Resp. Nos. 4-6, version of the Google
 17   advertising hand sanitizer “In 8;                        Ad said “In stock &
 18   Stock & Ships Today” through PX 16, Att. E, QYK Ships today”, this fact
 19   Google (“March 4 Google RFA Resp. Nos. 8-13 falsely implies that all
 20   AdWords campaign”).            (admitting        Google advertisement sources
 21
                                     campaigns                 advertised “In Stock &
 22
                                     disseminated March Ships Today.” In fact,
 23
                                     4-March 19, 2020 and QYK used about 100
 24
                                     contained             the internet sources, and
 25
                                     language “In Stock & only1 variant of the
 26
                                     Ships          Today”); Google ad contained
 27
                                     8/17/21 RT Dep. Tr. this          language.       All
 28
                                             -18-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 19 of 168 Page ID
                                  #:7887


  1                                 24:19-21; 33:2-5 (RT Google ads combined
  2                                 chose language “In only accountable for
  3                                 Stock          &     Ships about 11% of all sales.
  4                                 Today”);           38:13-24 Dec. of Tammabattula
  5                                 (stating that he started at ¶¶ 10-11
  6                                 the Google campaign
  7                                 “the      evening       or
  8                                 March 3rd”); see also
  9                                 PX 16, Att. D, Ans. to
 10                                 FAC ¶ 23 (admitting
 11                                 disseminated ads that
 12                                 they       had        hand
 13                                 sanitizer “In Stock”
 14                                 and “Ships Today” in
 15                                 order to capitalize on
 16                                 consumer demand for
 17                                 hand sanitizer).
 18   60. Defendant Tammabattula PX 16, Att. L, 8/17/21 Undisputed
 19   initiated the March 4 Google RT Dep. 24:19-21;
 20   AdWords campaign.             See also PX 16, Att.
 21                                 E, QYK RFA Resp.
 22                                 No. 18;
 23                                 PX 16, Att. F, RT
 24
                                    RFA Resp. No. 3.
 25
      61. Defendants began selling PX 16, Att. E, QYK Undisputed
 26
      hand sanitizer through Glowyy RFA Resp. No. No. 6
 27
      on March 4, 2020.             (admitting QYK had
 28
                                            -19-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 20 of 168 Page ID
                                  #:7888


  1                                   not     sold         hand
  2                                   sanitizer    prior     to
  3                                   March 3, 2020); PX
  4                                   16, Att. L, 8/17/21 RT
  5                                   Dep. Tr. 58:3-19.
  6   62. The   March     4   Google PX 16, Att. D, Ans. to Disputed.           Only    1
  7   AdWords campaign displayed FAC ¶ 25; PX 16, Att. version of the Google
  8   the following ad:               E, QYK RFA Resp. Ad said, “In stock &
  9                                   No. 14; PX 16, Att. F, Ships today”, this fact
 10                                   RT RFA Resp. No. 8. falsely implies that all
 11                                                               advertisement sources
 12                                                               advertised “In Stock &
 13                                                               Ships Today.” In fact,
 14                                                               Qyk used about 100
 15                                                               internet sources, and
 16                                                               only 1 variant of the
 17                                                               Google ad contained
 18                                                               this   language.     All
 19                                                               Google ads combined
 20                                                               only accountable for
 21                                                               about 11% of all sales.
 22                                                               Dec. of Tammabattula
 23                                                               at ¶¶ 10-12
 24

 25

 26

 27

 28
                                            -20-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 21 of 168 Page ID
                                  #:7889


  1   63. The ad displalying “In PX 16, Att. L, 8/17/21 Undisputed
  2   Stock      &        Ships   Today” RT Dep. Tr. 49:20-
  3   appeared       in     response   to 25; PX 16, Att. N3,
  4   keyword searches for, inter RT-QYK 22; PX 16,
  5   alia,   “human        coronavirus,” Att. D, Ans. to FAC ¶
  6   “buy hand sanitizer” and “hand 24.
  7   sanitizer in stock.”
  8

  9   64. The ad displaying “In PX 16, Att. D, Ans. to Undisputed

 10   Stock      &        Ships   Today” FAC ¶ 25.

 11   appeared in response to a

 12   Google search on or about

 13   March 12, 2020.

 14

 15

 16
      65. Defendants admit “‘Ships PX 16, Att. E, QYK Disputed,                Inaccurate,
 17
      Today’” can be reasonably RFA Resp. No. 22.                 this is interpreted as the
 18
      interpreted to mean that the                                product            being
 19
      product can be shipped the                                  processed    the    same
 20
      same day.                                                   day. The cited RFA
 21
                                                                  response    makes      no
 22
                                                                  mention of how to
 23
                                                                  interpret          “Ships
 24
                                                                  Today".     QYK     RFA
 25
                                                                  Resp. No. 22; Dec. of
 26
                                                                  Tammabattula at ¶ 10
 27

 28
                                               -21-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 22 of 168 Page ID
                                  #:7890


  1   66. On     March      4,     2020, PX    16,    Att.   M, Disputed,     Inaccurate,
  2   Defendants        simultaneously 12/7/21 RT Dep. Tr. Bing             advertisement
  3   started several other online 110:7-10 (Facebook); started on March 6.
  4   campaigns         using       tools 111:1-11;   138:8-22 12/7/21 RT Dep. Tr.
  5   provided     by     Shopify     to (Bing).                 138:8-22.
  6   advertise through Facebook
  7   and on Bing.
  8   67. The Facebook advertising PX          16,    Att.   M, Undisputed
  9   campaign          included       a 12/7/21 RT Dep. Tr.
 10   retargeting campaign to show 110:11-18.
 11   hand sanitizer ads to customers
 12   who had previously visited the
 13   Glowyy website.
 14   68. On     March      6,     2020, PX    16,    Att.   M, Disputed. The Reddit
 15   Defendants also promoted the 12/7/21 RT Dep. Tr. post was disapproved
 16   sale of hand sanitizer through 64:10-23; 75:14-76:6; so it never led to any
 17   non-traditional sales platforms PX 1, Att. AA.             traffic to the Glowyy
 18   such as Reddit via links to                                website.     Dec.     of
 19   direct traffic to hand sanitizer                           Tammabattula at ¶ 13
 20   on the Glowyy website.
 21
      69. Defendant Tammabattula PX            16,    Att.   M, Undisputed
 22
      posted job listings on Upwork 12/7/21 RT Dep. Tr.
 23
      relating to Glowyy.com.             64:10-23; PX 1, Att.
 24
                                          AA
 25

 26

 27

 28
                                               -22-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 23 of 168 Page ID
                                  #:7891


  1   70. Defendant Tammabattula PX                16,     Att.    M, Undisputed
  2   used Upwork to find freelance 12/7/21 RT Dep. Tr.
  3   workers.                               48:16-24; PX1, Att.
  4                                          AA.
  5   71. On      March        5,     2020, PX     16,     Att.    M, Undisputed
  6   Defendant          Tammabattula 12/7/21 RT Dept. Tr.
  7   posted a job to hire a freelancer 64:10-23; PX 16, Att.
  8   on Upwork to post links on N5, RT-QYK 48; PX
  9   Reddit.                                1, Att. AA.
 10   72. Defendant                          PX 1, Att. AA at 12.        Undisputed
 11   Tammabattula’s job posting
 12   read: “Looking for someone
 13   with       established        Reddit
 14   accounts to share links to a
 15   website      for    Coronavirus
 16   Outbreak      related     products.
 17   Open to other channels as well.
 18   Need organic US traffic that
 19   converts.”
 20
      73. On      March        5,     2020, PX     16,     Att.    M, Undisputed
 21
      Tammabattula            hired      a 12/7/21        RT      Dep.
 22
      freelancer, who then posted 65:22-66:9;                  66:23-
 23
      two links on Reddit to direct 67:21; 67:18-21; see
 24
      traffic to the Glowyy website.         also PX 16, Att. N5,
 25
                                             RT-QYK Ex. 48 at 6.
 26

 27

 28
                                                   -23-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 24 of 168 Page ID
                                  #:7892


  1   74. One of the two links posted PX 16, Att. M, Tr. Disputed,                         This
  2   on Reddit falsely claimed that 71:3-15; PX 16, Att. misstates evidence, the
  3   “he and his sister purchased N5, RT-QYK 48 at 6, actual quote is that he
  4   hand      sanitizer      through 16-17.                         and his sister purchased
  5   Glowyy.”                                                        “these    products”,    it
  6                                                                   does     not   say   hand
  7                                                                   sanitizer.     12//7/2021
  8                                                                   RT Dep. Tr. 71:3-15
  9   75. The     Reddit     post   was PX       16,    Att.    M, Disputed,
 10   removed at some point, and 12/7/21                RT     Dep. Tammabattula
 11   Defendant        Tammabattula 69:24-70:21.                      understood the post was
 12   understood it was because                                       removed immediately
 13   commercial     links    are   not                               and never approved.
 14   allowed on Reddit.                                              12/7/21 RT Dep. Tr.
 15                                                                   69:24-70:6
 16   76. Around March 6, 2020, PX               16,    Att.    M, Disputed,         the   cited
 17   Defendants     also     promoted 12/7/21 RT Dep. Tr. deposition where there
 18   hand      sanitizer      through 75:10-76:6 (Twitter); is discussion of photos
 19   Instagram and Twitter.              PX     2,     Att.    AB on Instagram is actually
 20                                       (Twitter); see PX 1, a discussion about a
 21
                                          Att.    E      at     1-2 Facebook         campaign.
 22
                                          (Instagram); see also 12/7/21 RT Dep. Tr.
 23
                                          PX     16,    Att.    M, 111:12-113:7.
 24
                                          12/7/21 RT Dep. Tr.
 25
                                          111:12-113:7
 26
                                          (discussing photos of
 27
                                          hand            sanitizer
 28
                                                 -24-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 25 of 168 Page ID
                                  #:7893


  1                                      appearing                on
  2                                      Instagram              feeds
  3                                      around March 5).
  4

  5   77. Defendants ran the March PX 16, Att. L, 8/17/21 Undisputed
  6   4 Google AdWords’ campaign RT Dep. 38:13-24;
  7   until at least March 18, 2020.     54:1-18; see also PX
  8                                      16, Att. E, QYK RFA
  9                                      Resp.           No.      22
 10                                      (admitting              that
 11                                      between         March     4
 12                                      through March 10,
 13                                      2020 the company
 14                                      stated         that    hand
 15                                      sanitizer        was     “In
 16                                      Stock       and        Ships
 17                                      Today.”).
 18   78. Google metrics show that PX 16, Att. N2, RT- Disputed, this metric is
 19   the “In Stock & Ships Today” QYK 21 at 2-3.                       misleading and ignores
 20   ad was viewed at least 395,865                                    the minor impact of an
 21   times (Impr.), and there were at                                  impression   or   click,
 22   least 15,469 clicks on the link                                   these don’t necessarily
 23   when served the ad with the                                       correspond   to   sales
 24   extension “In Stock & Ships                                       from the Ads. Dec. of
 25   Today.”                                                           Tammabattula at ¶ 11
 26

 27

 28
                                                 -25-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 26 of 168 Page ID
                                  #:7894


  1   79. Consumers             purchased PX 16, Att. F, RT Undisputed,                Not    all
  2   thousands of bottles of hand RFA Resp. No. 22; orders                      were        from
  3   sanitizer within the first few PX 9, Att. B at 39 Google, only a very
  4   days of Defendants’ marketing (Consumer               Ordered small      portion    came
  5   campaign.                             showing           18,337 from “In Stock Ships
  6                                         orders          between Today” Ad. Dec. of
  7                                         March 4 and March 9 Tammabattula at ¶ 11
  8                                         2020).
  9   80. Defendants        sold,      and PX 9, Att. B at 39 Undisputed,              Not    all
 10   consumers purchased, at least (Consumer Ordered) orders                    were        from
 11   147,953     bottles       of    hand (excluding         bottles Google, only a very
 12   sanitizer between March 4 and that             lack      ounce small portion from “In
 13   March 18, while the Google designation or line Stock Ships Today”
 14   AdWords’      campaign           was item name).                  Ad.      Dec.          of
 15   running.                                                          Tammabattula at ¶¶ 10-
 16                                                                     12
 17   81. Defendants        sold,      and PX 9, Att. B at 39 Undisputed
 18   consumers purchased at least (Consumer Ordered)
 19   58,309 bottles between March (excluding                 bottles
 20   4 and March 11, 2020: 410, that                lack      ounce
 21
      2.7oz bottles; 8,701 3.3oz designation or line
 22
      bottles; 6,415 8 oz bottles; and item name).
 23
      42,783, 10 oz bottles.
 24
      82. Between March 4 (the PX 16, Att. L, 8/17/21 Disputed,                      Defendants
 25
      beginning of the campaign) RT                   Dep.69:9-13 did         have    inventory
 26
      and     March         9        (when (“inventory actually during this period and
 27
      Defendants received their first received”             [between this is misleading since
 28
                                                 -26-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 27 of 168 Page ID
                                  #:7895


  1   delivery of hand sanitizer), March 4 and March more orders of hand
  2   consumers paid Defendants for 9]); PX 9, Att. B; PX sanitizer were ordered
  3   at least 18,337 bottles of hand 10, Decl. of Molly and in transit at the time
  4   sanitizer that Defendants did Smith                  (“Smith of sale. 8/17/21 RT
  5   not have.                             Decl.”),      Att.      A Dep. 69:12-13; Dec. of
  6                                         (inventory summary). Tammabattula at ¶¶ 6-9
  7   83. Even      after     March     9, PX 10, Att. A. See Disputed,             this      is
  8   Defendants        did   not     have also PX 9, Att. B at 50 inaccurate,           several
  9   enough hand sanitizer to fulfill (inventory analysis).           thousand bottles were
 10   those orders, having received                                    expected and some did
 11   only 1,384 bottles.                                              arrive.    Dec.       of
 12                                                                    Tammabattula at ¶¶ 9,
 13                                                                    17-22
 14   84. Of      the    1,384      bottles PX 16, Att. T, 12/8/21 Disputed. The bottles
 15   received on March 9, 2020, BT Dep. Tr. 50:12-21 were not unusable they
 16   310 bottles arrived damaged (boxes                         came just needed extra work
 17   and unusable.                         damaged); PX 16, to clean before being
 18                                         Att.     AH      (Balaji shipped out. 12/8/21
 19                                         WhatsApp             FTC- BT Dep. Tr. 50:24-51:1
 20
                                            QYK-0003254-55)            (“Q: Were you able to
 21
                                            (“Shipment      arrived use the bottles that
 22
                                            like this andi, all came             from       this
 23
                                            boxes torn and 310 packaging A: We were,
 24
                                            pcs fell out, we got yes.”)
 25
                                            only 690 pcs here”);
 26
                                            PX 16, Att. S, 8/20/21
 27
                                            39:18-24 (“andi” is a
 28
                                                   -27-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 28 of 168 Page ID
                                  #:7896


  1                                     sign of respect, like
  2                                     sir or madam).
  3
      85. During the entire period in PX 9, Att. B at 1-38 Disputed, product was
  4
      which Defendants admit they (outstanding                  ordered and in transit.
  5
      disseminated the “In Stock & shipments to order Dec. of Tammabattula
  6
      Ships    Today”    claim,   i.e., estimates); PX 9 ¶ 51 at ¶¶ 6-9, 14-25
  7
      March          4-March      18, (showing       negative
  8
      Defendants continued to sell inventory for 2.7 oz
  9
      hand sanitizer they did not through mid-April).
 10
      have.
 11
      86. For instance, Defendants PX 10, Att. A.               Disputed, 8 oz hand
 12
      did not receive any 8 oz hand                             sanitizer was ordered
 13
      sanitizer until at least March                            and expected to arrive
 14
      19, 2020.                                                 much earlier. Dec. of
 15
                                                                Tammabattula at ¶¶ 6-
 16
                                                                9, 14-25
 17
      87. By March 19, however, PX 9, Att. B at 20 Undisputed,                 Dr.      J’s
 18
      consumers had paid for over (8oz              consumer Natural fulfilled these
 19
      8,000 bottles of Dr. J’s Natural ordered analysis vs orders with larger sized
 20
      Brand 8 oz hand sanitizer inventory arrival).             bottles when 8oz was
 21
      beginning as early as March 7,                            not   available,     thus
 22
      nearly   two     weeks   before                           providing    consumers
 23
      Defendants had any in stock.                              with more product free
 24
                                                                of additional charge.
 25

 26

 27

 28
                                             -28-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 29 of 168 Page ID
                                  #:7897


  1   88. Defendants purchased 144, PX 16, Att. AA at 36 Disputed,                    Defendants
  2   80ml bottles of kids’ hand (WeChat FTC-QYK- purchased more and
  3   sanitizer on March 4, 2020.       002976).                        Plaintiff’s   supporting
  4                                                                     evidence           shows
  5                                                                     Defendants discussing
  6                                                                     purchase of 3,000 units.
  7                                                                     Dec. of Tammabattula
  8                                                                     at ¶¶ 6-9, 14-25
  9   89. Defendants sold kids’ hand PX 9, Att. B at 1 Undisputed
 10   sanitizer beginning on March (showing                purchases
 11   4, but none arrived until at least of 2.7 oz/80ml bottles
 12   March 11.                         beginning March 4,
 13                                     2020); PX 10, Att. A
 14                                     (showing           no     2.7
 15                                     oz/80         ml     bottles
 16                                     arriving until March
 17                                     11).
 18   90. Even then, what arrived to Compare PX 10, Att. Disputed,                    Defendants
 19   Defendants on March 11 and A with PX 9, Att. B at always                     kept    getting
 20   March 19 was far less than 39                    (consumer new orders and we kept
 21
      what consumers had already ordered); see also PX ordering more. Dec. of
 22
      paid for.                         9,     Att.    B     at   56 Tammabattula at ¶¶ 6-
 23
                                        (inventory estimation 9, 14-25
 24
                                        showing             negative
 25
                                        inventory, i.e., how
 26
                                        many received versus
 27
                                        sold, as of March 19,
 28
                                                -29-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 30 of 168 Page ID
                                  #:7898


  1                                    2020, as follows 2.7
  2                                    oz, -160 bottles; 3.3
  3                                    oz,
  4                                    -19,522 bottles; 8 oz,
  5                                    -3487 bottles, 10 oz
  6                                    bottles,       -99,148
  7                                    bottles).
  8   91. Defendants had very little, PX 10, Att. A; see Disputed, it is unclear
  9   if any, hand sanitizer that they also PX 9, Att. B at 50 what       “very      little”
 10   could ship to customers until (inventory       arrival); means. Defendant had
 11   March 9, 2020.                   Att. B at 56 (negative 2,000 bottles in stock
 12                                    280 bottles as of on March 3 and Fed Ex
 13                                    March 31 for 2.7 oz; had          confirmed        a
 14                                    negative        31,640 shipment         of   10,000
 15                                    bottles for 3.3 oz; bottles to arrive on
 16                                    negative      111,364 March 3. However, this
 17                                    bottles for 10 oz).        did not arrive until
 18                                                               March 9 because of
 19                                                               delays by Fed Ex. Dec.
 20                                                               of Tammabattula at ¶¶
 21                                                               6-9, 14-25
 22
      92. Defendants    claim     they PX 16, Att. L, 8/17/21 Undisputed
 23
      purchased 2000 bottles of hand RT Dep. Tr. 39:21-
 24
      sanitizer    on   or      around 40:6; PX 16, Att. S,
 25
      February 5, 2020 for a trade 8/20/21 BT Dep. Tr.
 26
      show    in   connection     with 42:12-24;     43:9-11;
 27
      efforts to promote the Dr. J’ s PX     16,    Att.     K,
 28
                                             -30-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 31 of 168 Page ID
                                  #:7899


  1   Natural brand at a white label 8/16/21 RT Dep. Tr.
  2   expo in Las Vegas, taking 151:11-152:1
  3   place February 26, 2020.         (discussing the white
  4                                    label      event       and
  5                                    explaining that hand
  6                                    sanitizer was one of
  7                                    several         products
  8                                    exhibited       at     the
  9                                    show).
 10   93. Defendants claim they had PX 16, Att. E, QYK Undisputed
 11   an inventory of 2,000 units of RFA Resp. No. No.
 12   hand sanitizer at the time it 46; PX 16, Att. F, RT
 13   began the March 4 Google Ad RFA Resp. No. 18;
 14   campaign.                        PX 16, Att. L, 8/17/21
 15                                    RT Dep. Tr. 38:25-
 16                                    39:23; 68:18-69:8.
 17   94. Records from FedEx show PX           13,    Decl.    of Disputed,     Inaccurate,
 18   that Defendants placed an Melissa Gormly, Att. the                   shipping     for
 19   order on or around February A at 1-3; PX 10 ¶ 13, sanitizers was always
 20   15, 2020, containing only six and Att. A.                     needed to be declared
 21
      bottles of hand sanitizer—                                    otherwise           for
 22
      three, 50ml bottles and three,                                acceptance for express
 23
      100ml bottles, among a variety                                courier. The supporting
 24
      of    “Ayurvedic”      beauty                                 evidence is misleading
 25
      products.                                                     by wrongly implying
 26
                                                                    only 6 bottles were
 27
                                                                    ordered at the time.
 28
                                               -31-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 32 of 168 Page ID
                                  #:7900


  1                                                             Dec. of Tammabattula
  2                                                             at ¶¶ 6-9, 14-25
  3
      95. Defendants received the PX 13, Gormly Decl. Undisputed
  4
      February 15, 2020 order on , Att. C (Delivered to
  5
      February 21, 2020.               sheet); PX 10, Att. A
  6
                                       (Shipments
  7
                                       Delivered).
  8
      96. QYK      tracked     hand PX 16, Att. E, QYK Disputed, the inventory
  9
      sanitizer    inventory        by RFA Resp. No. 97; was based on orders
 10
      observing what stock it had in PX 16, Att. F, RT placed. Plaintiff’s cited
 11
      its warehouse.                   RFA Resp. 29.            RFA responses object
 12
                                                                to       meaning    of
 13
                                                                “observing what it had”
 14
                                                                Dec. of Tammabattula
 15
                                                                at ¶¶ 6-9, 14-22
 16
      97. QYK      tracked     hand PX 16, Att. E, QYK Undisputed
 17
      sanitizer   inventory    using RFA Resp. No. 96;
 18
      manual methods.                  PX 16, Att. F, RT
 19
                                       RFA Resp. No. 28;
 20
                                       PX 16, Att. L, 8/17/21
 21
                                       RT Dep. 71:7-17.
 22
      98. QYK did not maintain PX 16, Att. E, QYK Disputed.                    Shopify
 23
      records sufficient to track the RFA Resp. No. 84; provided such records.
 24
      shipping time for any hand PX 16, Att. L, 8/17/21 QYK RFA 84 objects
 25
      sanitizer order between March RT Dep. 74:24-75:1; to phrase “sufficient to
 26
      3, 2020 and August 4, 2020.      78:16-24.                track”      Dec.    of
 27
                                                                Tammabattula at ¶ 13
 28
                                            -32-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 33 of 168 Page ID
                                  #:7901


  1   99. QYK did not use Shopify PX 16, Att. E, QYK Disputed,                inventory
  2   to   track    hand       sanitizer RFA Resp. No. 93; was partially tracked in
  3   inventory between March 3, PX 16, Att. L, 8/17/21 Shopify, but, Shopify
  4   2020 and August 4, 2020.             RT Dep. 69:24-71:6; was     not    the   only
  5                                        71:7-17.              tracking system. RT
  6                                                              Dep. 69:24-71:17
  7   100. QYK      does      not   use PX 16, Att. E, QYK Disputed,          inventory
  8   Shopify to track hand sanitizer RFA Resp. No. 94; was partially tracked in
  9   inventory.                           PX 16, Att. L, 8/17/21 Shopify, but, Shopify
 10                                        RT Dep. 69:24-71:6; was     not    the   only
 11                                        71:7-17.              tracking system. RT
 12                                                              Dep. 69:24-71:17
 13   101. Between March 3, 2020 PX 16, Att. E, QYK Undisputed
 14   and August 4, 2020, all of RFA Resp. No. 95.
 15   QYK’s        hand       sanitizers
 16   inventory was located at and
 17   shipped from 10517 Garden
 18   Grove Blvd., Garden Grove,
 19   CA 92843.
 20
      102. 80 ml is approximately Johnson Decl. ¶ 47.            Undisputed
 21
      equivalent to 2.7 ounces.
 22

 23

 24   103. Defendants purchased 80 PX 16, Att. L, 8/17/21 Undisputed
 25   ml bottles of hand sanitizer RT Dep. Tr. 92:21-
 26   from China, and sold them as 93:4.
 27   kids’ hand sanitizer.
 28
                                                -33-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 34 of 168 Page ID
                                  #:7902


  1   104. 100 ml is approximately PX 16, Att. L, 8/17/21 Undisputed
  2   equivalent to 3.3 ounces.          RT Dep. 92:18-20.
  3

  4

  5   105. Intentionally Omitted         Intentionally
  6                                      Omitted.
  7

  8
      106. Defendants      purchased PX 16, Att. S, 8/20/21 Undisputed
  9
      300ml sized bottles of hand BT Dep. 57:19-23;
 10
      sanitizer from China and sold it PX 16, Att. L, 8/17/21
 11
      as 10 ounce.                       RT Dep. Tr. 92:14-
 12
                                         17.
 13
      107. 500 ml is approximately Johnson Decl. ¶ 47.          Undisputed
 14
      equivalent to 16 ounces.
 15

 16

 17
      108. Defendants received no PX 10, Att. A.                Undisputed
 18
      other   shipments    of     hand
 19
      sanitizer again until March 9,
 20
      2020.
 21
      109. Defendants’                   PX 16, Att. AA at 17- Disputed,       Arrival
 22
      communications show they 22.                              anticipated sooner from
 23
      ordered some hand sanitizer on                            past          business
 24
      March 4, 2020, that was not                               transactions. Dec. of
 25
      scheduled to arrive for at least                          Tammabattula at ¶¶ 9-
 26
      three days.                                               10, 15-16
 27

 28
                                               -34-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 35 of 168 Page ID
                                  #:7903


  1   110. According to Defendants’ PX 16, Att. AA at 27 Disputed, the quantities
  2   WeChat conversations, they (WeChat           Transcript were in the tens of
  3   had only ordered 2016 bottles FTC-QYK0002967).          thousands    and     were
  4   of 300ml; 1000 bottles of                               being      shipped     by
  5   100ml; and 144 bottles of 80ml                          Express.      Dec.     of
  6   hand sanitizer from China as of                         Tammabattula at ¶ 14,
  7   March 5, 2020.                                          20
  8   111. On March 9, Defendants PX 10, Att. A; see Disputed. The bottles
  9   received 1,000 bottles of 3.3 oz also PX 9, Att. B at 50 weren’t unusable they
 10   hand sanitizer, however 310 of (inventory     arrival); just     needed      extra
 11   these        were      unusable. PX 16, Att. AH at 2 cleaning before being
 12   Defendants also received 384 (310               bottles shipped. 12/8/21 BT
 13   bottles of 10 oz hand sanitizer unusable).              Dep. Tr. 50:24-51:1
 14   on March 9, 2020.                                       (“Q: Were you able to
 15                                                           use the bottles that
 16                                                           came        from      this
 17                                                           packaging A: We were,
 18                                                           yes.”)
 19   112. The      March    9,   2020 PX 10, Att. A; PX 16, Disputed, FTC’s own
 20   delivery was the only hand Att. K, 8/16/21 RT data shows a shipment
 21
      sanitizer Defendants received Dep. Tr. 152:9-24.        in February 2020 from
 22
      from Syndy Pharma.                                      Syndy Pharma. Dec. of
 23
                                                              Tammabattula at ¶¶ 7, 9
 24
      113. Between March 4 and PX 9, Att. B at 39 Undisputed
 25
      March 9, Defendants sold (Consumer Ordered).
 26
      18,337       bottles   of   hand
 27
      sanitizer.
 28
                                            -35-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 36 of 168 Page ID
                                  #:7904


  1   114. Defendants admit they PX 16, Att. L, 8/17/21 Undisputed
  2   did not receive any hand RT Dep. Tr. 68:18-
  3   sanitizer between March 4 and 69:13.
  4   March 9, 2020.
  5   115. Defendants did not ship a PX 9, Att. B at 44 Undisputed                  to    the
  6   single bottle of hand sanitizer (customer shipments extent that this was not
  7   before March 10, 2020.         showing 0 shipments in Defendant’s control
  8                                  before      March        10,
  9                                  2020); PX 9 ¶ 50 (the
 10                                  March          7,      2020
 11                                  “shipment” of hand
 12                                  sanitizer is based on a
 13                                  fulfilled_at date, not a
 14                                  FirstScanTimeStamp,
 15                                  i.e.,          Defendants
 16                                  merely printed a label
 17                                  on March 7).
 18   116. Defendants received no PX 10, Att. A; see Disputed,                    the    term
 19   significant   inventory    of also PX 9 Att. B at 50 “significant” is vague
 20   additional shipments of hand (inventory             arrival) and      an      opinion.
 21
      sanitizer until March 16, 2020. (showing              total Defendants        received
 22
                                     inventory of 8,176 for shipments             of     hand
 23
                                     all     hand        sanitizer sanitizer on March 13,
 24
                                     received            between 2020.           Dec.      of
 25
                                     March 4 and March Tammabattula at ¶¶ 9,
 26
                                     15).                           23-25
 27

 28
                                             -36-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 37 of 168 Page ID
                                  #:7905


  1   117. Between March 4 and PX 9, Att. B at 39 Undisputed
  2   March 15, 2020, Defendants (consumer             ordered)
  3   sold at least 118,208 total (excludes
  4   bottles of hand sanitizer.        unclassified     0    oz
  5                                     bottles)
  6   118. Defendants      did     not PX 10 ¶ 13, Att. A.         Undisputed
  7   receive any 8 oz hand sanitizer
  8   until at least March 19, 2020.
  9   119. Between March 4 and PX 9, Att. B at 39 Undisputed
 10   March 19, 2020, Defendants (Consumer Ordered).
 11   sold,      and       consumers
 12   purchased, 9,343 bottles of 8
 13   oz hand sanitizer.
 14   120. Defendants      represented PX 16, Att. E, QYK Undisputed
 15   on         the          website RFA Resp. No. 69;
 16   www.glowyy.com that hand PX 16, Att. F, RT
 17   sanitizer is “AVAILABLE to RFA Resp. No. 23;
 18
      order UNLESS marked as PX               16,      Att.   K,
 19
      ‘Sold Out.’”                      8/16/21 RT Dep.108:
 20
                                        6-22; PX 1, Att. B at
 21
                                        5.
 22
      121. QYK did not always mark PX 16, Att. E, QYK Disputed,                 this   fact
 23
      hand sanitizer as “Sold Out” RFA Resp. No. 70.               ignores sanitizer that
 24
      even when there was no                                       was in transit to the
 25
      inventory at its fulfillment                                 warehouse           and
 26
      warehouse.                                                   expected to arrive in
 27
                                                                   time to timely fulfill
 28
                                              -37-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 38 of 168 Page ID
                                  #:7906


  1                                                           orders.      Dec.        of
  2                                                           Tammabattula at ¶¶ 6-
  3                                                           9, 14-25
  4   122. Defendants    had    little PX 10, Att. A; PX 9, Disputed,              “little
  5   inventory of hand sanitizer for Att. B at 50.           inventory”      is       an
  6   much of March.                                          opinion.      This       is
  7                                                           misleading       because
  8                                                           Defendant’s          placed
  9                                                           many orders and orders
 10                                                           were either arriving or
 11                                                           were expected to arrive
 12                                                           that was more than
 13                                                           sufficient to meet all
 14                                                           orders.       Dec.       of
 15                                                           Tammabattula at ¶¶ 6-
 16                                                           9, 14-25
 17   123. Defendants          admit PX 16, Att. E, QYK Disputed,           only     one
 18   disseminating advertisements RFA Resp. No. 8-10, advertisement              variant
 19   via a Google Ad campaign 13, 14-16; PX 16, Att. from               Google       Ad
 20   from March 4 to 19, 2020, L, 8/17/21 RT Dep. campaign                 stated     in
 21
      which expressly stated that Tr. 31:20-36:24; PX stock during this time
 22
      hand sanitizer was in stock.    16, Att. N2, RT-QYK period.          Dec.        of
 23
                                      21; PX 16, Att. H, Tammabattula at ¶¶ 10-
 24
                                      QYK ROG Resp. No. 11
 25
                                      18 (“The Google ad
 26
                                      stating ‘Ships Today’
 27
                                      only    remained   up
 28
                                             -38-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 39 of 168 Page ID
                                  #:7907


  1                                    from March 3, 2021
  2                                    [sic] to March 19,
  3                                    2021 [sic] according
  4                                    to documents being
  5                                    produced along with
  6                                    this interrogatory.”).
  7   124. Defendants knew as early PX 16, Att. L, 8/17/21 Disputed,          Plaintiff’s
  8   as   March    4   they    lacked RT Dep.133:9-14;          supporting    evidence
  9   sufficient inventory to fill See PX 16, Att. S, does not support their
 10   orders.                          8/20/21 BT Dep. Tr. fact.         Admitting     to
 11                                    49: 8-10 (admitting understanding the need
 12                                    he   understood     by for order fulfillment is
 13                                    March 4, 2020 that very          different    from
 14                                    there were orders that admitting to a lack of
 15                                    need to be fulfilled).    sufficient   inventory.
 16                                                              The    inventory    was
 17                                                              confirmed to arrive by
 18                                                              FedEx. The fact that
 19                                                              FedEx was delayed was
 20                                                              not expected. Dec. of
 21                                                              Tammabattula at ¶¶ 14,
 22                                                              23
 23
      125. Defendants knew on or PX 16, Att. AA at 6 Undisputed
 24
      around March 4, 2020 that (3/3 chat: “shipping
 25
      obtaining    additional    hand cost is high for this
 26
      sanitizer would be difficult.    kind of item.      It’s
 27
                                       heavy and belong to
 28
                                             -39-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 40 of 168 Page ID
                                  #:7908


  1                                 sensitive item.”); 13
  2                                 (3/3 chat: “One week
  3                                 for sensitive items.”);
  4                                 52 (3/8 chat: “Most
  5                                 agents can not handle
  6                                 this sensitive item.”);
  7                                 4 (3/3 chat: “Many
  8                                 don’t have stock or
  9                                 price is high.”); 25
 10                                 (3/5 chat: “Shipping
 11                                 prices      is    changing
 12                                 fast. Because many
 13                                 flights     cancelled.”);
 14                                 44 (3/6 chat:           “So
 15                                 many                  flights
 16                                 cancelled, even DHL
 17                                 leading time will be
 18                                 longer      next      week.
 19                                 Like 5 to 7 days. Too
 20                                 many goods waiting
 21                                 in line, no flight to
 22                                 go.”).
 23   126. In early March 2020, PX 16, Att. H at 1, 5, Undisputed
 24
      India banned the export of 18, 31, QYK ROG
 25
      hand sanitizer.               Amended Resp. No. 1
 26
                                    (“Some           of    these
 27
                                    shipments              were
 28
                                             -40-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 41 of 168 Page ID
                                  #:7909


  1                                 withheld due to new,
  2                                 temporarily
  3                                 implemented
  4                                 emergency
  5                                 regulations
  6                                 preventing shipments
  7                                 from India.”); PX 16,
  8                                 Att. L, 8/17/21 RT
  9                                 Dep. Tr. 114:2-10;
 10                                 114:19-115:1
 11                                 (indicating         ban
 12                                 around March 12 and
 13                                 knowledge      at   that
 14                                 point) PX 16, Att. S,
 15                                 8/20/21 BT Dep. Tr.
 16                                 44:14-45:6      (stating
 17                                 that some packages
 18                                 were withheld from
 19                                 the Feb. 26th shipment
 20                                 of hand sanitizer from
 21                                 India, which never
 22                                 made it to the US); id.
 23                                 78:25-79:14.
 24
      127. Defendants were unable PX 16, Att. S, 8/20/21 Disputed, some product
 25
      to receive hand sanitizer from BT   Tr.     61:2-62:4; was    received   from
 26
      Syndy Pharma and Ayur, both 78:25-79:14.                 Syndy & Ayur, but
 27
      in India.                     See also PX 16, Att. other shipments were
 28
                                          -41-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 42 of 168 Page ID
                                  #:7910


  1                                   L, 8/17/21 RT Dep. held by the Indian
  2                                   Tr. 116:12-117:1.         Government. Dec. of
  3                                                             Tammabattula at ¶¶ 9,
  4                                                             20-22
  5   128. Defendants     sought   to PX 16, Att. S, 8/20/21 Undisputed
  6   obtain      additional   hand BT Dep. Tr. 63:14-
  7   sanitizer from other sources, 18;     65:13-19;     see
  8   including China.                generally PX 16, Att.
  9                                   AA (RT chat history
 10                                   in    early    March
 11                                   showing efforts to get
 12                                   hand sanitizer from
 13                                   China).
 14   129. Defendants ordered 1008, PX 16, Att. AA at 17 Undisputed
 15   300 ml bottles and 1000, 100 (WeChat FTC-QYK-
 16   ml bottles from China on 0002957)
 17   March 4, 2020.
 18
      130. The orders from China PX 10, Att. A.                 Disputed, these orders
 19
      were not shipped until March                              were expected to be
 20
      7-8, 2020 and arrived on                                  shipped out March 5.
 21
      March 9 and March 10, 2020.                               Dec. of Tammabattula
 22
                                                                at ¶ 14
 23
      131. Shipments      of   hand PX 16, Att. L, 8/17/21 Undisputed
 24
      sanitizer   and    PPE   from RT Dep. Tr. 114:2-
 25
      overseas were often delayed or 10; 114:19-115-1;
 26
      detained in customs.            See also PX 16, Att.
 27
                                      L, 8/17/21 RT Dep.
 28
                                           -42-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 43 of 168 Page ID
                                  #:7911


  1                                     Tr. 116:12-117:1; PX
  2                                     10, Att. A (Shipments
  3                                     detained); PX 16, Att.
  4                                     AB (FDA Detention).
  5   132. Many detained shipments PX 16, Att. L, 8/17/21 Undisputed
  6   were not released at all.         RT Dep. Tr. 114:2-
  7                                     10; 114:19-115-1.
  8                                     See also PX 16, Att.
  9                                     L, 8/17/21 RT Dep.
 10                                     Tr. 116:12-117:1; PX
 11                                     10, Att. A (Shipments
 12                                     detained); PX 16, Att.
 13                                     AB (FDA Detention).
 14   133. Defendants tried to find PX 16, Att. S, 8/20/21 Undisputed
 15   domestic                 contract BT Dep. Tr. 79:16-
 16   manufacturers as well.            24; 83:4-12.
 17

 18   134. Defendants had difficulty PX 16, Att. D, Ans. to Undisputed
 19   sourcing bottles, pumps, and FAC ¶ 46; PX 16, Att.
 20   raw ingredients.                  G, JN RFA Resp. No.
 21                                     68; PX 1 ¶¶ 46-48 and
 22                                     Att.s L, M, N, AD.
 23   135. Defendants     had     three PX 16, Att. S, 8/20/21 Undisputed
 24   domestic suppliers of hand BT Dep. Tr. 51:17-
 25   sanitizer:          Sainnocare 52:1; 83:7-12; PX 16,
 26   Pharmaceuticals, Inc., IRIS Att. L, 8/17/21 RT
 27   Labs; and Medison Pharma.         Dep.      Tr.   122:8-
 28
                                               -43-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 44 of 168 Page ID
                                  #:7912


  1                                      124:15.
  2

  3

  4

  5   136. Defendants             found PX     16,   Att.   K, Undisputed
  6   Sainnocare     through      Sydny 8/16/21 RT Dep. Tr.
  7   Pharma, after hand sanitizer 167:13-168:1; PX 16,
  8   exports     from    India    were Att. S, 8/20/21 BT Tr.
  9   (delayed) banned.                  48:7-21; 51:17-52:1.
 10   137. IRIS     produced       hand PX 16, Att. S, 8/20/21 Undisputed
 11   sanitizer in 275-gallon totes, BT Dep. Tr. 85:18-
 12   which Defendants used to fill 20.
 13   bottles at their Garden Grove
 14   warehouse.
 15   138. Defendants             found PX 16, Att. L, 8/17/21 Undisputed
 16   Medison        through         an RT Dep. Tr. 122:19-
 17   intermediary, VFR Imports.         123:10; PX 16, Att. S,
 18                                      8/20/20 BT Dep. Tr.
 19                                      89:1-11; PX 16, Att.
 20                                      N4, RT-QYK 40.
 21   139. Demaris Reyes works for PX 16, Att. L, 8/17/21 Undisputed
 22   VFR Imports.                       RT Dep. Tr. 122:11-
 23                                      123:10;       123:24-
 24                                      124:1; PX 16, Att.
 25                                      N4, RT-QYK 40.
 26

 27

 28
                                              -44-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 45 of 168 Page ID
                                  #:7913


  1   140. Defendants received no PX 10, Attach. A.         Undisputed
  2   hand sanitizer from domestic
  3   contract manufacturers until at
  4   least March 30, 2020.
  5   141. The       hand      sanitizer PX 10, Att. A; see Disputed,    this      is
  6   Defendants received from the also PX 16, Att. S, misleading because the
  7   domestic manufacturers was 8/20/21 BT Tr. 75:2- supporting          evidence
  8   vastly less than what they had 14.                    only   discusses    one
  9   anticipated.                                          domestic manufacturer.
 10   142. Defendants claim they PX 16, Att. S, 8/20/21 Undisputed
 11   were supposed to receive a BT Tr. 74:14-75:14.
 12   million        bottles      from
 13   Sainnocare, but received less
 14   than 10,000.
 15   143. Defendants claim they PX 10, Att. A.             Disputed,    Dec.    of
 16   received          approximately                       Tammabattula at ¶ 14
 17   100,000 bottles from Medison,
 18
      but their records show less than
 19
      20,000 bottles received.
 20
      144. Defendants did not pay PX 1 ¶ 97 and Att. AC Undisputed
 21
      IRIS Labs for hand sanitizer at 3.
 22
      until April 2020.
 23

 24   145. Defendants’         records PX 10 ¶ 12.          Undisputed
 25   show five invoices for 275-
 26   gallon totes of hand sanitizer
 27   from IRIS Labs in April 2020.
 28
                                             -45-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 46 of 168 Page ID
                                  #:7914


  1   146. One of these invoices was See PX 1, Att. AC at Undisputed
  2   to fulfill a government contract 3 (note: Alcohol 6050
  3   and was shipped directly to GAL shipped to FL);
  4   Opa Locka, FL.                      PX 16, Att. AI.
  5   147. The bulk hand sanitizer PX 16, Att. S, 8/20/20 Disputed,             this   fact
  6   supplied by IRIS Labs had a BT Dep. Tr. 94:13- misstates                  testimony.
  7   strong alcohol smell and could 23.                         Balaji said the sanitizer
  8   not   be     used    without   an                          could be used. BT Dep.
  9   additional    step    of   adding                          Tr. 94:13-23
 10   perfume to “neutralize the
 11   smell.”
 12   148. Defendants             never PX 16, Att. L, 8/17/21 Undisputed
 13   manufactured their own hand RT Dep. Tr. 125:24-
 14   sanitizer on-site.                  126:4.
 15

 16   149. Defendants failed to have PX 9, Att. B at 56 Disputed,            Defendants
 17   sufficient inventory to fulfill (actual inventory as always had inventory.
 18   orders through at least mid- of April 15, 2020 was There were times when
 19   April.                              negative 328 bottles shipments        did    not
 20                                       (2oz);       negative arrive in time which
 21                                       41,458 (3.3oz); and provided        challenges.
 22                                       negative     110,995 But by early April the
 23                                       (10oz)); see also PX 9 amount of inventory
 24                                       ¶ 51 (chart showing exceeded the number of
 25                                       negative inventory);   orders and there was
 26                                       PX 16, Att. S, 8/20/21 excess inventory. Dec.
 27                                       BT Dep. Tr. 111:2-10 of Tammabattula at ¶¶
 28
                                               -46-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 47 of 168 Page ID
                                  #:7915


  1                                 (April 15, 2020 had 6-9, 14-25
  2                                 “enough inventory.”).
  3
              B. Defendants Continued to Claim Fast
  4
                 Shipping Throughout the Pandemic
  5
                 Despite Not Being Able to Timely Fulfill
  6
                 Orders.
  7
      150. Defendants admit they PX 16, Att. E, QYK Disputed, Plaintiff uses
  8
      did not ship hand sanitizer RFA Resp. Nos. 36- erroneous logic in their
  9
      orders between March 4 and 43; 45 (admitting no supporting              evidence
 10
      March 11, 2020.               order placed by a because admitting to
 11
                                    customer         between not shipping same day
 12
                                    March 3-10 went out does not mean that it
 13
                                    the same day); 49 was not shipped the
 14
                                    (admitting no orders next day or any day
 15
                                    for       hand   sanitizer thereafter. Further, they
 16
                                    shipped March 6-10, once again rely on the
 17
                                    2020); see also PX FirstScanTimeStamp
 18
                                    16, Att. E, QYK RFA date, which is invalid
 19
                                    Resp.                 No.59 since delivery drivers
 20
                                    (admitting       that    no would often pick up
 21
                                    order        placed      on packages        without
 22
                                    March 11 was even scanning them. Dec. of
 23
                                    shipped within five Tammabattula at ¶ 34
 24
                                    days of when the
 25
                                    order was placed); PX
 26
                                    9     ¶     50   (earliest
 27
                                    FirstScanTimeStamp
 28
                                              -47-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 48 of 168 Page ID
                                  #:7916


  1                                         date, i.e., shipment
  2                                         date, is March 11,
  3                                         2020).
  4
      151. Defendants did not print PX 9 ¶ 50.                      Undisputed
  5
      any   shipping     labels,    i.e.,
  6
      “fulfill” any orders until at
  7
      least March 7, 2020.
  8
      152. Defendants admit that PX 16, Att. D, Ans. to Disputed, this implies
  9
      shipments [of hand sanitizer] FAC ¶35; PX 16, Att. that Defendants admit
 10
      went out late.                        U, 9/23/21 DP Dep. that all shipments went
 11
                                            Tr. 168:4-14; 168:23- out late, when only
 12
                                            169:11                  some did. Indeed, the
 13
                                                                    only ad that contained
 14
                                                                    the    “Ships       today”
 15
                                                                    language      was     one
 16
                                                                    variant of the Google
 17
                                                                    Ad campaign. The total
 18
                                                                    Google Ad campaign
 19
                                                                    only   accounted       for
 20
                                                                    about 11% of all sales.
 21
                                                                    Dec. of Tammabattula
 22
                                                                    at ¶¶ 10-11
 23
      153. “Fulfilled_at” in Shopify PX 16, Att. E, QYK Undisputed
 24
      means the date that Defendants RFA Resp. No.77-78;
 25
      purchased    and    printed      a PX      16,    Att.   U,
 26
      shipping label.                       9/23/21 DP Dep. Tr.
 27
                                            100:2-22.
 28
                                                 -48-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 49 of 168 Page ID
                                  #:7917


  1   154. When       a   label     was PX     16,    Att.    U, Undisputed
  2   generated,                 Shopify 9/23/21 DP Dep. Tr.
  3   automatically marked the order 100: 9-13.
  4   as fulfilled.
  5   155. After a label was printed PX        16,    Att.    U, Undisputed
  6   and was in the warehouse, a 9/23/21 DP Dep. Tr.
  7   package was in pre-shipment.       97:17-21.
  8
      156. In    communications       to PX 1, Att. Z, at 7, 11, Undisputed
  9
      customers, Defendants blamed 15, 24, 27, 30, 39, 42,
 10
      delays on the uncertain supply 46, 61, 67, 71, 75, 78,
 11
      chain.                             84
 12
      157. In    communications       to PX 1, Att. Z, at 15, Undisputed
 13
      customers, Defendants blamed 36, 46, 49, 61
 14
      delays on insufficient staff.
 15

 16   158. In    communications       to PX 1, Att. Z at 92      Disputed,        Plaintiff’s
 17   customers, Defendants blamed                               supporting        evidence
 18   delays on prioritizing sales to                            only indicates that they
 19   hospitals and charities.                                   blamed one delay on
 20                                                              this. This was because
 21                                                              QYK believed that the
 22                                                              hospital was in dire
 23                                                              need of the product and
 24                                                              shipped to it.
 25

 26

 27

 28
                                               -49-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 50 of 168 Page ID
                                  #:7918


  1   159. In   communications      to PX 1, Att. Z at5, 24, Undisputed
  2   customers, Defendants blamed 33, 36, 46
  3   delays on the sheer volume of
  4   orders.
  5   160. At   times,   QYK       was PX      16,     Att.    U, Undisputed
  6   waiting   for    shipments    of 9/23/21 DP Dep. Tr.
  7   bottles with hand sanitizer in 167: 18-21; PX 1, Att.
  8   them in order to ship out Z at 7, 11, 15, 24, 27,
  9   shipments to customers.           30, 39, 42, 46, 61, 67,
 10                                     71, 75, 78, 84, 87, 98,
 11   161. Defendants          ordered PX 16, Att. L, 8/17/21 Undisputed
 12   bottles   of    hand   sanitizer RT             126:16-25;
 13   without labels (or with foreign 127:22-128:5.
 14   labels that needed relabeling).
 15   162. Defendants did not have a PX 16, Att. T, 12/8/21 Undisputed
 16   labeling machine when the BT Dep. Tr. 131:21-
 17   first unlabeled bottles arrived, 133:2; see also PX
 18
      and they labeled bottles by 16, Att. L, 8/17/21 RT
 19
      hand.                             Dep.     Tr.    124:22-
 20
                                        125:12; 8/17/21 RT
 21
                                        Dep.     Tr.    127:22-
 22
                                        128:5.
 23
      163. Defendants    had    never PX 16, Att. L, 8/17/21 Disputed,            Defendants
 24
      worked with their domestic RT Dep. Tr. 128: 12- have                 had      previous
 25
      suppliers prior to March 2020. 24;       PX      16,    Att. transactions         with
 26
                                        K,8/16/21 RT Dep. Damaris and VFR. Dec.
 27
                                        Tr. 167:13-168:1; PX of Tammabattula at ¶
 28
                                               -50-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 51 of 168 Page ID
                                  #:7919


  1                                       16, Att. S, 8/20/21 BT 14
  2                                       Tr. 48:7-21
  3   164. Defendants’           domestic See e.g., PX 16, Att. Disputed,      Plaintiff
  4   suppliers         were     untested S, 8/20/20 BT Dep. provides no evidence
  5   vendors that ultimately proved Tr. 94:13-23; 74:14- that they were untested
  6   unreliable.                         75:14.                     vendors
  7   165. Dr. J did not develop the PX 16, Att. L, 8/17/21 Undisputed
  8   hand sanitizer formula.             RT Dep. Tr. 127:1-
  9                                       21; PX 16, Att. P,
 10                                       8/19/21 JN Dep. Tr.
 11                                       59:23-24;
 12   166. A facility needed to be PX            16,    Att.   M, Undisputed
 13
      registered with the FDA to 12/7/21 RT Dep. Tr.
 14
      produce      or    package    hand 81: 22-25.
 15
      sanitizer.
 16
      167. Prior to March 13, 2020, PX           16,    Att.   M, Undisputed
 17
      QYK was not filling individual 12/7/21 RT Dep. Tr.
 18
      bottles of hand sanitizer onsite 83:5-8.
 19
      for sale to retail customers.
 20
      168. Defendants           repeatedly PX 16, Att. H at 25- Undisputed
 21
      modified      the        “processing 25, QYK ROG Resp.
 22
      times” on the Glowyy website. No. 17 (discussing
 23
                                          various       processing
 24
                                          time      claims     on
 25
                                          website); PX 16, Att.
 26
                                          E, QYK RFA Resp.
 27
                                          Nos. 58, 110, 111,
 28
                                                 -51-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 52 of 168 Page ID
                                  #:7920


  1                                 112, 113, 114; See
  2                                 also PX 1, ¶¶ 17, 19-
  3                                 20, 57 (describing
  4                                 website       captures),
  5                                 Att. B, at 5, 7, 9, 11
  6                                 (containing
  7                                 “processing          time”
  8                                 language, e.g., “Due
  9                                 to the overwhelming
 10                                 demand because of
 11                                 the outbreak we are
 12                                 experiencing          long
 13                                 processing         times.
 14                                 Please    expect       5-7
 15                                 days for the order to
 16                                 be           processed.
 17                                 Customers selecting
 18                                 overnight     shipping,
 19                                 please beware that we
 20                                 can ship overnight
 21                                 only when your order
 22                                 is   ready      to     be
 23                                 processed,     but     the
 24                                 same day order is
 25                                 placed.”).
 26

 27

 28
                                         -52-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 53 of 168 Page ID
                                  #:7921


  1   169. Danielle Paulo conveyed PX       16,    Att.     U, Undisputed
  2   the   processing   times    to 9/23/21 DP. Dep. Tr.
  3   customers and the customer 184:20-25; PX 16,
  4   service team.                   Att. M, 12/7/21 RT
  5                                   Dep. Tr. 215: 9-15.
  6   170. Defendant Tammabattula PX        16,    Att.     K, Undisputed
  7   provided the processing time.   8/16/21 RT Dep. Tr.
  8                                   105:20-22;    107:10-
  9                                   108:5; PX 16, Att. U,
 10                                   9/23/21      DP     Tr.
 11                                   184:20-22; PX 16,
 12                                   Att. M, 12/7/21 RT
 13                                   Dep. Tr. 215: 9-15.
 14   171. Defendants admit they PX 16, Att. E, QYK Undisputed
 15   claimed hand sanitizer Ships 3 RFA Resp. No. 58.
 16   to 5 days from 3/11/20 to
 17   3/18/20.
 18
      172. Defendants claimed hand PX 16, Att. E, QYK Undisputed
 19
      sanitizer Ships within 7 to 10 RFA Resp. No.110.
 20
      days from 3/19/20 to 3/30/20.
 21

 22   173. Defendants claimed hand PX 16, Att. E, QYK Undisputed
 23   sanitizer ships within 3 to 5 RFA Resp. No.111.
 24   days on 4/1/20.
 25

 26

 27

 28
                                           -53-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 54 of 168 Page ID
                                  #:7922


  1   174. Defendants claimed hand PX 16, Att. E, QYK Undisputed
  2   sanitizer Ships within 5 to 7 RFA Resp. No.112;
  3   days on 4/13/20;               see also PX 16, Att.
  4                                  E, QYK RFA Resp.
  5                                  No. 17.; PX 16, Att.
  6                                  K, 8/16/21 RT Dep.
  7                                  Tr. 107:10-108:5; and
  8                                  PX 1, Att. B at 5
  9   175. Defendants claimed hand PX 16, Att. E, QYK Undisputed
 10   sanitizer Ships within 3 days RFA Resp. No.113;
 11   on 4/19/20.                    PX 1, Att. B at 7.
 12

 13   176. Defendants claimed hand PX 16, Att. E, QYK Undisputed
 14   sanitizer Ships within 3 to 5 RFA Resp. No.114.
 15   days from 5/1/20 to 5/7/20.
 16
      177. Defendants claimed hand PX 16, Att. E, QYK Undisputed
 17
      sanitizer Ships within 3 to 7 RFA Resp. No. 115;
 18
      days on 5/15/20.               PX 1, Att. B at 11.
 19

 20
      178. Defendants admit that PX 16, Att. E, QYK Disputed,               this     is
 21
      they never told consumers it RFA Resp. No.116          misleading and ignores
 22
      would take more than 10 days                           the    times          when
 23
      to ship hand sanitizer.                                Defendants made no
 24
                                                             shipping time claims.
 25
                                                             When no representation
 26
                                                             was made (which was
 27
                                                             the     overwhelming
 28
                                           -54-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 55 of 168 Page ID
                                  #:7923


  1                                                             amount of time), then
  2                                                             30 days is allowed
  3                                                             under MITOR.
  4
      179. The shipping time for PX 16, Att. E, QYK Undisputed
  5
      more      than    30,000   hand RFA Resp. No.117;
  6
      sanitizer orders placed during see PX 9, Att. A
  7
      the period from March 3, 2020 (Request 14 showing
  8
      through     May     31,    2020 31,567 orders that
  9
      exceeded 10 days.               exceed 10 days to
 10
                                      ship between March 4
 11
                                      and December 29,
 12
                                      2020; and Request
 13
                                      13, showing only 14
 14
                                      orders that exceeded
 15
                                      10 days between May
 16
                                      16 and December 29,
 17
                                      2020).
 18
      180. Defendants’ answer to the PX 16, Att. D, Ans to Undisputed
 19
      FAC admits that they claimed FAC ¶ 77-78 (“Admit
 20
      one day or seven days to ship, only to allegations
 21
      and admit they did not ship contained               in
 22
      within one day or seven days.   paragraph 78 as to
 23
                                      ‘failed to ship goods
 24
                                      the same day they
 25
                                      were purchased, or
 26
                                      failed to ship goods
 27
                                      within      seven   (7)
 28
                                           -55-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 56 of 168 Page ID
                                  #:7924


  1                                       days.”’).
  2

  3
      181. The         Requests     for PX 16 ¶ 38.                   Undisputed
  4
      Admissions defined Ship to
  5
      mean the day or date You
  6
      [QYK       Brands]     physically
  7
      placed items in the possession
  8
      of a mail carrier.
  9
      182. Defendants        did   not See PX 16 ¶ 51 Undisputed
 10
      maintain     records    of    the (Defendants
 11
      processing times placed on produced                       one
 12
      their website.                      processing time claim
 13
                                          captured     from     the
 14
                                          “Wayback
 15
                                          Machine”); see also
 16
                                          PX    16,     Att.    K,
 17
                                          8/16/21 RT Dep. Tr.
 18
                                          106:8-107:5.
 19
      183. Defendants’       processing PX 16, Att. E, QYK Disputed,                    “fast
 20
      time claims still conveyed fast RFA Resp. No. 113 shipments”                 is     an
 21
      shipment.                           (three); PX 16, Att. E, opinion.              The
 22
                                          QYK       RFA       Resp. processing times were
 23
                                          No.114       (three    to based on either actual
 24
                                          five); PX 16, Att. E, or expected inventory
 25
                                          QYK       RFA       Resp. as well as the time it
 26
                                          No.115       (three    to took for personnel to
 27
                                          seven).                     package and place the
 28
                                                -56-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 57 of 168 Page ID
                                  #:7925


  1                                                                 packages in the bins for
  2                                                                 pick-up by the carrier.
  3                                                                 Dec. of Tammabattula
  4                                                                 at ¶ 10
  5   184. Defendants never paused PX         16,     Att.    M, Undisputed
  6   or stopped the March 3 Google 8/17/21 RT Dep. Tr.
  7   ad campaign.                      59:19-20.
  8
      185. On    May     18,    2020, PX 2 ¶ 10.a., Att. AF Undisputed
  9
      Defendants disseminated the at 1.
 10
      claim that “ALL ORDERS
 11
      SHIP WITHIN 1-2 DAYS!!!!”
 12
      186. On     June    8,    2020, PX 2 ¶ 14.a., Att. A.         Undisputed
 13
      Defendants disseminated the
 14
      claim that “ALL ORDERS
 15
      SHIP        WITHIN          1-2
 16
      DAYS!!!!”;
 17
      187. Defendants concede that PX 16, Att. H at 34, Undisputed
 18
      these “processing times” were QYK ROG Resp. No.
 19
      intended to convey the amount 10               (defendants
 20
      of time it took to print the label attempted     to    give
 21
      and prepare the package for accurate             shipment
 22
      shipment, i.e., the time to place times based on the
 23
      an order into the hands of a amount of time it took
 24
      mail carrier.                     to prepare package
 25
                                        for shipment).
 26

 27

 28
                                             -57-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 58 of 168 Page ID
                                  #:7926


  1   188. Google was the principal See PX 16, Att. AJ at Disputed, This is a
  2   driver of customers to the 9 (Shopify “Sales by blatantly         inaccurate
  3   Glowyy website.               Traffic       Referrer” statement since barely
  4                                 showing        Google 11% of total sales came
  5                                 search as the second from google. Dec. of
  6                                 highest generator of Tammabattula at ¶¶ 10-
  7                                 orders).                  13
  8   189. Google suspended the PX 16, Att. L, 8/17/21 Undisputed
  9   Google      AdWords   account RT Dep. Tr. 43:10-
 10   associated with rt@qyk.us on 44:1; 54:1-10; PX 16,
 11   or around March 18, 2020 for Att. N15, RT-QYK
 12   violating Google’s advertising 62 (disapproving ads
 13   policies.                     for           violating
 14                                 “sensitive     events”
 15                                 policy); PX 1, Att. X
 16                                 at 2 (Google sensitive
 17                                 events          policy
 18                                 prevents “Ads that
 19                                 potentially      profit
 20                                 from or exploit a
 21                                 sensitive event with
 22                                 significant     social,
 23                                 cultural, or political
 24
                                    impact”).
 25

 26

 27

 28
                                          -58-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 59 of 168 Page ID
                                  #:7927


  1   190. Defendants           used PX 16, Att. L, 8/17/21 Undisputed
  2   rt@easii.com to set up a new RT Dep. Tr. 94:19-
  3   Google AdWords’ account.        96:10.
  4

  5   191. Defendants       advertised PX    16,     Att.    M, Undisputed
  6   “Ships Fast from CA Today” 12/7/21 RT Dep. Tr.
  7   from   the   Google     account 153:18-154:1 (“Q. It
  8   associated with rt@easii.com says: ‘Hand sanitizer
  9   on or around April 1, 2020.     gel    in     stock.   75
 10                                   percent alcohol-based
 11                                   formula.      Ships fast
 12                                   from           California
 13                                   today.’ A. Yes. Q. So
 14                                   you agree that this is
 15                                   an ad that you ran
 16                                   through                the
 17                                   rt@easii.com Google
 18                                   account for Glowyy
 19                                   hand sanitizer?        Or
 20                                   for hand sanitizer that
 21                                   you’re            selling
 22                                   through       Glowyy?”
 23                                   A. Yes.”); 156:4-10
 24                                   (ad started April 1,
 25                                   2020).
 26

 27

 28
                                             -59-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 60 of 168 Page ID
                                  #:7928


  1   192. Defendants continued the PX        16,     Att.     M, Undisputed
  2   “Ships Fast from CA Today” 12/7/21 RT Dep. Tr.
  3   Google AdWords campaign 159:25-160:3; 164:1-
  4   until approximately mid-May.     9.
  5   193. On or around May 18, PX            16,     Att.     M, Undisputed.
  6   2020, Google suspended the 12/7/21 RT Dep. Tr.
  7   Google    AdWords’      account 159:25-160:3; 164:1-
  8   associated with rt@easii.com.    9; see also PX 16, Att.
  9                                    N16, RT-QYK 65
 10                                    (email from Google
 11                                    suspending merchant
 12                                    account dated May
 13                                    18).
 14   194. Google suspended the PX 16, Att. N16, RT- Undisputed
 15   Defendants’ Google AdWords QYK                 65      (ads
 16   account    associated     with disapproved               for
 17   rt@easii.com    for   violating sensitive events and
 18   Google’s advertising policies.   Unacceptable
 19                                    Business           Practice
 20                                    Policy); PX 1, Att. X
 21
                                       at     2      (describing
 22
                                       sensitive events ad
 23
                                       policy); PX 16, N14
 24
                                       at 1, RT-QYK 61
 25
                                       (rt@easii.com
 26
                                       account “violated the
 27
                                       Unacceptable
 28
                                              -60-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 61 of 168 Page ID
                                  #:7929


  1                                      Business     Practices
  2                                      Policy”); see PX 1,
  3                                      Att. X at 1 (Google
  4                                      unacceptable
  5                                      business     practices
  6                                      policy prohibits ads
  7                                      “Scamming users by
  8                                      concealing          or
  9                                      misstating
 10                                      information about the
 11                                      advertiser’s business,
 12                                      product, or service.”).
 13   195. Google metrics show that PX 16, Att. N14 at 4, Disputed, this is total
 14   the “Ships Fast From CA RT-QYK 61.                           impressions of all ads
 15   Today”    ad    was       viewed                             including display ads
 16   105,236,963      times,      and                             and ads that did not
 17   199,538 clicks on the link                                   contain the ships today
 18   when served the ad.                                          term.
 19   196. “Impressions” in Google PX 16, Att. L, RT Undisputed
 20   means the number of times the Dep. Tr. 30:19-31:9.
 21
      ad would have appeared in
 22
      response to a Google search.
 23
      197. Defendants did not ship PX 16, Att. E, QYK Disputed,               Defendants
 24
      hand     sanitizer    “Today” RFA Resp. Nos. 36- started shipping after
 25
      between March 4-March 18, 43; 45 (admitting no March 11 once the
 26
      2020.                              order placed by a orders began arriving to
 27
                                         customer       between QYK.          Dec.     of
 28
                                               -61-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 62 of 168 Page ID
                                  #:7930


  1                                 March 3-10 went out Tammabattula at ¶¶ 23-
  2                                 the same day); 49 25
  3                                 (admitting no orders
  4                                 for     hand     sanitizer
  5                                 shipped March 6-10,
  6                                 2020); see also QYK
  7                                 First RFA No. 59
  8                                 (admitting       that    no
  9                                 order         placed     on
 10                                 March          11       was
 11                                 shipped within five
 12                                 days of when the
 13                                 order was placed); see
 14                                 also PX 9, Att. A
 15                                 (Violation Summary
 16                                 Request         No.      21
 17                                 showing 0 shipments
 18                                 out of 20,523 total
 19                                 orders).
 20   198. Defendants did not ship PX        9,      Att.    A Disputed. This implies
 21   hand     sanitizer   “Today” (Violation Summary, all orders were from the
 22   between April 1, 2020 and Request 23 showing Google ad while only
 23   May 18, 2020 for 12,453 12,976 total orders, about 11% of orders
 24
      shipments out of a total of 517 shipments made came from the Google
 25
      12,976 orders placed and paid for orders purchased ad containing “Today”.
 26
      for.                          within         parameters, Further, “Today” ad did
 27
                                    i.e., on time; 12,453 not run for most of
 28
                                            -62-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 63 of 168 Page ID
                                  #:7931


  1                                         orders         complete period between April 1,
  2                                         violations).              2020 and May 18,
  3                                                                   2020.         Dec.      of
  4                                                                   Tammabattula at ¶¶ 10-
  5                                                                   12, 37
  6   199. Over 93% of all orders See PX 9 ¶ 27, Table Disputed,                      Plaintiff’s
  7   placed in March and April 3.                                    data is flawed because
  8   were shipped to customers                                       it assumes a 1-day
  9   after the advertised shipment                                   shipping claim for all of
 10   time.                                                           April despite a lack of
 11                                                                   proof of this claim.
 12   200. There were 20,084 orders See PX 9, ¶ 27, Table Undisputed
 13   placed in March and 12,916 3.
 14   orders placed in April for a
 15   total of 42,000 orders placed in
 16   March and April 2020.
 17   201. There were only 1,244 PX 9 ¶ 27, Table 3.                  Disputed, In May, more
 18
      orders      for   hand    sanitizer                             than 97% of orders
 19
      placed in May 2020. Of these,                                   were timely shipped.
 20
      more than 40% were shipped                                      Dec. of Tammabattula
 21
      after the claimed shipping                                      at ¶ 25, 27
 22
      times.
 23
      202. In May 2020, Defendants PX 9 ¶ 34 (3,754 Disputed,                         Plaintiff’s
 24
      were     still    shipping    hand orders          with      a cherry pick instances
 25
      sanitizer     and   PPE      orders “paid_at”             date that falsely implies that
 26
      placed in March and early between March 1 and this was the norm.
 27
      April.                                April 15, 2020 and Further,             relying   on
 28
                                                  -63-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 64 of 168 Page ID
                                  #:7932


  1                                 FirstScanTimestamp             FirstScanTimestamp is
  2                                 between May 1-31); erroneous.              Dec.   of
  3                                 see also PX 1, Att. Z, Tammabattula at ¶ 34.
  4                                 at   101-105          (Order
  5                                 17014,               ordered
  6                                 March          14,     2020,
  7                                 shipped         May      29,
  8                                 2020);               106-110
  9                                 (Order                19630,
 10                                 ordered March 15,
 11                                 2020, shipped May
 12                                 31, 2020).
 13

 14             C. Defendants     Further            Deceived
 15               Consumers with False Revised Shipping
 16               Dates and Wrongfully Refused to Give
 17               Customers Refunds.
 18

 19   203. Defendants’   fulfillment PX 16, Att. L, RT Undisputed
 20   process began after “orders Dep. Tr. 79:22-80:25
 21
      would be received through the (describing              the
 22
      Shopify system.”              fulfillment process).
 23
      204. Defendants      charged See, e.g., PX 3 ¶ 3, PX Undisputed
 24
      consumers’ credit cards or 4 ¶ 4, PX 5 ¶ 4, PX 6
 25
      PayPal accounts immediately ¶ 5; PX 1, Att. Z at 42
 26
      after consumers placed their (“I had placed an
 27
      orders.                       order      #18053        on
 28
                                            -64-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 65 of 168 Page ID
                                  #:7933


  1                                      March 14th and paid
  2                                      for   it     then     with
  3                                      PayPal.”); see also
  4                                      PX    16,      Att.    K,
  5                                      8/16/21 RT Dep. Tr.
  6                                      174:11-175:1.
  7   205. Defendants            then PX 16, Att. E, QYK Undisputed
  8   purchased a shipping label RFA Resp. No. No.
  9   through Shopify.                   78; Att. H, QYK
 10                                      ROG Resp. No. 16
 11                                      (describing            the
 12                                      fulfillment process).
 13   206. Purchasing a shipping PX            16,      Att.    U, Undisputed
 14   label generated an email sent to 9/23/21 DP Dep. Tr.
 15   consumers telling them that the 97:22-98:1-6 (once a
 16   items was “on its way.”            label was printed on
 17                                      Shopify,       it     will
 18                                      automatically          tell
 19                                      them their order has
 20                                      been shipped); see
 21
                                         also PX 1, Att. Z at
 22
                                         81; PX 3 ¶ 4; PX 4 ¶
 23
                                         5; PX 5 ¶ 5; PX 6 ¶ 6.
 24
      207. QYK did not always ship PX 16, Att. E, QYK Undisputed, but only as
 25
      ordered merchandise on the RFA Resp. No. 79.                     to a few orders and only
 26
      “fulfilled at” date, or the date                                 because the personnel
 27
      the mailing label was created.                                   who were working 16-
 28
                                               -65-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 66 of 168 Page ID
                                  #:7934


  1                                                                18 hours days, could
  2                                                                not box and label all of
  3                                                                the orders at any given
  4                                                                time.      Dec.      of
  5                                                                Tammabattula at ¶ 30
  6   208. Consumers       understood PX 1 ¶ 61 (“They will Disputed, the email was
  7   this communication to mean generate a UPS label automatically
  8   that   the   order   had   been to make you think the generated            by    the
  9   shipped.                         order is in the mail Shopify system. We
 10                                    but the reality is there had no control over
 11                                    is no package); id. this. It is unknown what
 12                                    (“supposedly shipped consumers understood
 13                                    10 days ago from this to mean. Dec. of
 14                                    California”); ¶ 71 (“I Tammabattula at ¶ 27
 15                                    received     and   [sic]
 16                                    email on April 5,
 17                                    2020 saying my order
 18                                    was on the way, with
 19                                    a USPS tracking. It
 20                                    said nothing about out
 21                                    of stock items or
 22                                    items on back order. I
 23                                    waited 5 days then
 24
                                       checked to see the
 25
                                       tracking progress and
 26
                                       it showed it hadn’t
 27
                                       left the facility yet.”);
 28
                                             -66-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 67 of 168 Page ID
                                  #:7935


  1                                 PX 1, Att. Z. at 7
  2                                 (“please be up front
  3                                 and explain to me is
  4                                 why I’ve been told
  5                                 my Order is ready for
  6                                 pickup       by      UPS
  7                                 (supposedly        has   a
  8                                 label created for it on
  9                                 3/10) but it has not
 10                                 been picked up by
 11                                 UPS.”); id. at 11
 12                                 (“Please don’t lie and
 13                                 send me an email to
 14                                 says my order is on its
 15                                 way if you know it’s
 16                                 not.”); id. at 30 (“In
 17                                 received notice that
 18                                 the order referenced
 19                                 above        had     been
 20                                 shipped on Mar. 26.
 21                                 When checking the
 22                                 tracking number at
 23                                 USPS it says shipping
 24                                 label created, item on
 25                                 its way to USPS. Can
 26                                 you give me a status
 27                                 update?        Has this
 28
                                          -67-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 68 of 168 Page ID
                                  #:7936


  1                                 order          been      lost
  2                                 somehow?”)
  3   209. Defendants   knew   that See PX 16, Att. F, RT Disputed, the email was
  4   customers   understood   the RFA Resp. No. 52 automatically
  5   email with the shipment status (Tam. knew as early generated             by    the
  6   to mean that the package had as March 26, 2020 Shopify system. We
  7   shipped.                      that     generating        a had no control over
  8                                 mailing label sent a this. It is unknown what
  9                                 shipping                        consumers understood
 10                                 confirmation to the this to mean. Dec. of
 11                                 customer); PX 16, Tammabattula at ¶ 27
 12                                 Att. F, RT RFA Resp.
 13                                 No. 53 (Tam. knew
 14                                 that            customers
 15                                 expressed confusion
 16                                 over      receiving        a
 17                                 shipping
 18                                 confirmation            even
 19                                 though the tracking
 20                                 numbers          indicated
 21                                 that                  ordered
 22                                 merchandise had not
 23                                 shipped); PX 16, Att.
 24
                                    E, QYK RFA Resp.
 25
                                    No. 120 (admitting
 26
                                    that some customers
 27
                                    were confused about
 28
                                            -68-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 69 of 168 Page ID
                                  #:7937


  1                                  the                shipping
  2                                  confirmation); PX 16,
  3                                  Att. U, 9/23/21 DP
  4                                  Dep.      Tr.      135:1-7
  5                                  (Whenever customers
  6                                  received notification
  7                                  of processing or pre-
  8                                  shipment, customers
  9                                  would         make      the
 10                                  assumption that [the
 11                                  order] was already
 12                                  been out to ship).
 13   210. Defendants sent one mass PX 16, Att. W at 1 Undisputed
 14   email to its customers through (March        11     Delay
 15   Sendinblue on March 11, Option Notice); Att.
 16   2020.                          L, 8/17/21 RT Dep.
 17                                  Tr. 135:12-19, 136:1-
 18                                  9       (“From          my
 19                                  memory, March 11th
 20                                  is the one activity
 21                                  notice we sent out en
 22                                  mass.”)
 23
      211. The contents of the March PX 16 ¶ 30, Att. W at Undisputed
 24
      11, 2020 email, produced by 1.
 25
      Defendants   as   FTC-QYK-
 26
      0002663 are reproduced on
 27
      page 1 of Johnson Decl. Att.
 28
                                            -69-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 70 of 168 Page ID
                                  #:7938


  1   W, “March 11 Delay Option
  2   Notice.”
  3

  4

  5   212. Defendants’    mistakenly PX        16,    Att.     H, Undisputed
  6   stated they sent the March 11 Relevant Portions of
  7   Delay Option Notice on March QYK’s Responses to
  8   13.                              the               FTC’s
  9                                    Interrogatory
 10                                    Requests         (“QYK
 11                                    ROG Resp.”) No. 2;
 12                                    PX 16, Att. E, QYK
 13                                    RFA Resp. No. 50,
 14                                    but see PX 16, Att. W
 15                                    at 2 (showing only
 16                                    one campaign sent on
 17                                    March 11, 2020).
 18   213. Defendants     did      not PX 16, Att. W at 2-3 Disputed,           Recipients
 19   identify the recipients of the (Delay             Option were              identified.
 20   March      11   Delay     Option Notice)               (only Recipient list was based
 21   Notice.                          indicating email was on Shopify list and
 22                                    sent,           without included         all     the
 23                                    identifying                 consumers     that   had
 24                                    recipients)                 ordered on or before
 25                                                                March 8, 2020. Dec. of
 26                                                                Tammabattula at ¶ 38
 27

 28
                                               -70-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 71 of 168 Page ID
                                  #:7939


  1   214. Defendants admit they See PX 16, Att. E, Disputed,                    Defendants
  2   did     not   notify   customers QYK RFA Resp. No. also notified customers
  3   through any other means.          57; see also id. at who                    contacted
  4                                     Nos. 54-55 (admitting customer service. Dec.
  5                                     it only sent to those of Tammabattula at ¶¶
  6                                     with email accounts). 35-36
  7   215. Defendants admit they PX 16, Att. E, QYK Disputed,                    Defendants
  8   sent no notice of shipping RFA Resp. No. 51                  sent   emails     through
  9   delays to customer for hand                                  info@glowyy.com           to
 10   sanitizer prior to the March 11                              customers who reached
 11   Delay Option Notice.                                         out.     RT          Depo.
 12                                                                8/16/2021 134:14-18
 13   216. Customers who had not PX 4 ¶ 6; PX 5 ¶ 6; Undisputed
 14   received their items when PX 6 ¶ 7;
 15   anticipated contacted Glowyy PX 3 ¶ 5;
 16   about the delays.                 PX 1 ¶¶ 55, 61, 69
 17   217. Some of the customers PX          1      ¶    58    (“I Disputed,              every
 18
      who contacted the company immediately emailed customer                               was
 19
      about     delays    received   no Glowyy.com via their responded             back     to.
 20
      response.                         service     email     and Over 10,000 customer
 21
                                        received               no tickets were generated
 22
                                        response.”),          ¶ 61 with    our     customer
 23
                                        (“I’ve          contacted service platform called
 24
                                        Glowyy by phone and Gorgias, and all were
 25
                                        via e-mail within a answered                 through
 26
                                        few days of placing Gorgias.             Dec.        of
 27
                                        an order because it Tammabattula at ¶ 35
 28
                                             -71-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 72 of 168 Page ID
                                  #:7940


  1                                    hadn't     shipped        as
  2                                    promised.         Since    I
  3                                    have      received        no
  4                                    response, I called my
  5                                    credit card company
  6                                    and reported them as
  7                                    fraud.”); ¶ 66 (A
  8                                    review posted on June
  9                                    24,      2020,      stated,
 10                                    “Same as the others.
 11                                    No response to my
 12                                    multiple           inquires
 13                                    when the item never
 14                                    shipped       5     weeks
 15                                    later.”); PX 1 ¶ Y at
 16                                    152 (“Reached out on
 17                                    4/23 for an update
 18                                    with no response.”);
 19                                    PX 3 ¶ 5; PX 4 ¶ 6;
 20                                    PX 5 ¶ 6; PX 6 ¶ 7.
 21   218. Some of the customers PX 1 ¶¶ 55, 61, 69; Undisputed
 22   who contacted the company PX 3 ¶ 5; PX 4 ¶ 7;
 23   about delays were told they PX 6 ¶¶ 8-9; PX 16,
 24
      would receive their orders Att. X.
 25
      soon    (sometimes      with   a See PX16, Att. H,
 26
      specific date range).            Relevant Portions of
 27
                                       QYK’s Responses to
 28
                                              -72-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 73 of 168 Page ID
                                  #:7941


  1                                        the               FTC’s
  2                                        Interrogatory
  3                                        Requests         (“QYK
  4                                        ROG Resp.”); Second
  5                                        Amended Resp. No. 1
  6                                        (“When         shipments
  7                                        were not made within
  8                                        the advertised period,
  9                                        the responding team
 10                                        member            would
 11                                        inform the customer
 12                                        of      a       tentative
 13                                        timeline”).
 14   219. Some customers followed PX 16, Att. X.                      Undisputed
 15   up         with         additional
 16   communications; Defendants
 17   provided     revised     shipping
 18   dates to these customers.
 19   220. Defendants’          revised PX 1, Att. Y at 27 Disputed. All revised
 20   shipping dates were false, and (gave                 multiple shipping         dates   were
 21
      were revised multiple times revised                  shipping based       on     inventory
 22
      before     Defendants     actually dates), 41 (provided present, inventory in
 23
      shipped the customers’ orders. misleading                  email transit, and the amount
 24
                                           exchanges),             57 of personnel able to
 25
                                           (contacted company fulfill the order. All was
 26
                                           said a week, “it has done in good faith
 27
                                           been        another     18 based       on         daily
 28
                                                  -73-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 74 of 168 Page ID
                                  #:7942


  1                                 days”),       77     (“they meetings. There were
  2                                 keep telling me they probably some orders
  3                                 are shipping it and that did not meet the
  4                                 they      don’t”),      101 revised shipping claims
  5                                 (“It’s been various as the pandemic was
  6                                 excuses        from     the causing us continual
  7                                 USPS being delayed delays by our carriers
  8                                 to having too many and causing us to revise
  9                                 orders but each time our             methods     and
 10                                 I’m assured my order predictions.         Dec.    of
 11                                 is ‘next to ship’ for 3 Tammabattula at ¶¶ 6,
 12                                 weeks.”),               127 10, 14
 13                                 (discussing multiple
 14                                 revised            shipping
 15                                 dates);                 190
 16                                 (“company has lied
 17                                 and     told       me   the
 18                                 product is shipping”);
 19                                 see also PX 16, Att. X
 20                                 at     7-13     (ticket_id
 21                                 1487100);               see
 22                                 generally PX 1, Att. P
 23                                 (TrustPilot
 24                                 Complaints), Att. Z
 25                                 (Shopify complaints),
 26                                 Att.       Y          (BBB
 27                                 Complaints).
 28
                                           -74-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 75 of 168 Page ID
                                  #:7943


  1   221. Even for those customers See generally PX 1, Disputed, only a few
  2   who did get a refund, many had Att.      Y      (BBB customers may have
  3   to ask multiple times for a Complaints).               had to ask more than
  4   refund before the company                              once.        More        than
  5   would honor it.                                        $266,000 in refunds
  6                                                          were    given,      as    we
  7                                                          employed a very liberal
  8                                                          refund policy. The only
  9                                                          time a refund was held
 10                                                          up is when the product
 11                                                          was already in transit,
 12                                                          and     we    needed       to
 13                                                          confirm a return prior
 14                                                          to paying the refund.
 15                                                          Dec. of Tammabattula
 16                                                          at ¶¶ 32-33, 39-40
 17   222. Johnson Decl., Att. X PX 16 ¶ 47, Att. X at Disputed,                      FTC
 18   contains a typical exchange 7-13             (ticket_id provides no evidence
 19   with a customer from the 1487100).                     for their claim that this
 20   Gorgias database; the order for                        is a typical exchange or
 21   the customer in this exchange                          that this order was not
 22   was not shipped until April 26,                        shipped until April 26,
 23   2020, and he was not presented                         2020.    Further,         the
 24
      with an option to cancel                               option to cancel and
 25
      according         to       the                         receive a refund was
 26
      communication.                                         never denied to this
 27
                                                             customer.
 28
                                            -75-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 76 of 168 Page ID
                                  #:7944


  1   223. Gorgias is a third-party PX           16,      Att.   K, Undisputed
  2   application that integrates with 8/16/21 RT Dep. Tr.
  3   Shopify.                           154:18-25; PX 16,
  4                                      Att. U, 9/23/21 DP
  5                                      Dep.           154:18-24;
  6                                      81:7-22.
  7   224. Gorgias is the customer PX            16,      Att.   U, Undisputed
  8   resource            management 9/23/21 DP Dep. Tr.
  9   (“CRM”)       database        that 76:14-25;        Att.   K,
 10   Defendants’   maintained       to 8/16/21 RT Dep. Tr.
 11   track communications with 124:14-24;                 155:15-
 12   customers     and      potential 156:10; 76:14-77-:1;
 13   customers.                         PX 16, Att. E, QYK
 14                                      RFA Resp. Nos. 136-
 15                                      139; PX 16, Att. H,
 16                                      QYK ROG Second
 17                                      Amended Resp. No. 3
 18                                      (“QYK’s employees
 19                                      handled          customer
 20                                      service        interactions
 21                                      using     the     Gorgias
 22                                      software.”)
 23
      225. Defendants      relied    on PX 16, Att. E at 66, Undisputed
 24
      content of the Gorgias CRM QYK RFA Amended
 25
      database, and the contents of Resp. No. 141-144
 26
      the database were maintained (authenticating copy
 27
      in the ordinary course of of Gorgias database
 28
                                                 -76-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 77 of 168 Page ID
                                  #:7945


  1   business, and records were communications
  2   created at or near the time of produced             by
  3   the transaction.               Gorgias); PX 16, Att.
  4                                  E, QYK RFA Resp.
  5                                  No.           147-148
  6                                  (admitting           the
  7                                  Company authorized
  8                                  customer
  9                                  representatives       to
 10                                  access database to
 11                                  communicate         with
 12                                  customers); PX 16,
 13                                  Att. U, 9/23/21 DP
 14                                  Dep. Tr. 80:6-82:14.
 15   226. The     Gorgias   records PX    16,    Att.    U, Undisputed
 16   showed information like how 9/23/21 DP Dep. Tr.
 17   many times a customer called 81: 7-22.
 18   and how long a customer call
 19   lasted.
 20   227. The     Gorgias   records PX    16,    Att.    U, Undisputed
 21
      showed notes from customer 9/23/21 DP Dep. Tr.
 22
      service.                       80:3-5; 81:7-22.
 23

 24   228. The     Gorgias   records PX    16,    Att.    U, Undisputed
 25   contained the contents of the 9/23/21 DP Dep. Tr.
 26   chats and customer service 80:6-12.
 27   inquiries.
 28
                                           -77-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 78 of 168 Page ID
                                  #:7946


  1   229. Glowyy                customer PX 1, Att. Z at 5, 11, Undisputed
  2   representatives told dozens, if 27, 30, 33, 36, 39, 42,
  3   not more, of customers that 53, 61, 67, 71, 75, 78,
  4   their orders would be shipped 81, 84, 87, 92, 193,
  5   with the “next batch” of orders 199; see also PX 16,
  6   around April 13, 2020, now Att. X at 16-38.
  7   that the Defendants “finally
  8   secured a cargo plane with the
  9   necessities to fulfill all our
 10   delayed orders.
 11   230. Defendants never secured PX 16, Att. S, 8/20/21 Disputed, payment of
 12   a private air cargo plane.           BT Dep. Tr. 98:18- more than $300,000
 13                                        101:8; 117:1-9.          was   made     for     the
 14                                                                 charter plane and it was
 15                                                                 secured by Defendants
 16                                                                 despite ultimately not
 17                                                                 shipping sanitizer. BT
 18                                                                 Dep. Tr. 100:11-101:8
 19   231. Defendants         specifically PX 16, Att. N1 at Disputed,           the     skype
 20   instructed                 customer 237-238, RT-QYK 16 chat cited by Plaintiff’s
 21
      representatives       to      avoid (Skype        Archive instructs          customer
 22
      refunds      and   offer    revised 4/16/2020          11:56 service representatives
 23
      shipping dates, substitutions, AM); see also id. at “[if] they still do not
 24
      and   refunds      of      shipping 247-248        (Skype want       their   products
 25
      charges instead.                     Archive 4/10/2020 at then we will issue a
 26
                                           12:31 PM)                refund” on 4/16/2020 at
 27
                                                                    11:56 AM
 28
                                                -78-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 79 of 168 Page ID
                                  #:7947


  1   232. Danielle Paulo was the PX        16,     Att.      K, Undisputed
  2   Defendants’ Chief Marketing 8/16/21 RT Dep. Tr.
  3   Officer “CMO” at least during 58:22-59:8            (Paulo
  4   the period between March and helped      QYK          with
  5   July 2020.                    customer             service,
  6                                 content creation and
  7                                 marketing        between
  8                                 March          and      July
  9                                 2020);           159:5-10
 10                                 (Paulo supervised the
 11                                 US customer service
 12                                 reps and quit in July
 13                                 2020); PX 16, Att. O,
 14                                 8/18/21 JN Dep. Tr.
 15                                 30:15-24; PX 16, Att.
 16                                 U, 9/23/21 DP Dep.
 17                                 Tr.            37:18-38:1
 18                                 (testifying she was
 19                                 chief           marketing
 20                                 officer for both DJN
 21                                 and QYK); 41:16-20
 22                                 (testifying she held
 23                                 the title CMO until
 24                                 she left in August).
 25

 26

 27

 28
                                            -79-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 80 of 168 Page ID
                                  #:7948


  1   233. Danielle Paulo managed PX        16,     Att.    U, Undisputed
  2   the customer service team for 9/23/21 DP Dep. Tr.
  3   Glowyy and QYK Brands and 48: 20-24; 49: 1-15;
  4   Dr. J’s Natural.                PX    16,     Att.    K,
  5                                   8/16/21 RT Dep. Tr.
  6                                   159:5-10           (Paulo
  7                                   supervised the US
  8                                   customer service reps
  9                                   and   quit    in     July
 10                                   2020).
 11   234. Danielle Paulo had daily PX      16,     Att.    U, Undisputed
 12   meetings with RT, BT and Dr. 9/23/21 DP Dep. Tr.
 13   J. about shipments              54: 4-20.
 14

 15   235. DP passed on information PX      16,     Att.    U, Undisputed
 16   learned in these daily meetings 9/23/21 DP Dep. Tr.
 17   to the customer service team.   53:16-54:8.
 18
      236. DP had daily meetings PX         16,     Att.    U, Undisputed
 19
      with Dr. J, RT, and BT in 9/23/21 DP Dep. Tr.
 20
      March 2020.                     54:4-13; see PX 16,
 21
                                      Att. M, 12/7/21 RT
 22
                                      Dep. Tr. 215:6-216:2
 23
                                      (discussing
 24

 25
                                      meetings); PX 16,

 26
                                      Att. Q, 12/9/21 JN

 27
                                      Dep. Tr. 205:15-206-

 28
                                      11.
                                            -80-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 81 of 168 Page ID
                                  #:7949


  1   237. DP would inform JN, BT, PX         16,    Att.   U, Undisputed
  2   and RT about the nature of the 9/23/21 DP Dep. Tr.
  3   customer service inquiries they 57:18-58:22.
  4   were receiving during the daily
  5   meetings.
  6   238. Danielle     Paulo      was PX     16,    Att.   U, Undisputed
  7   responsible for responding to 9/23/21 DP Dep. Tr.
  8   customer complaints for both 27:1-22; 49:12-51:3.
  9   Glowyy and DJN.
 10   239. DP,    RT,   JN,     among PX 16, Att. H, QYK Undisputed
 11   others handled shipping time ROG                  Second
 12   disputes and tracked shipments Amended Resp. No. 3
 13   for customers.
 14   240. DP had authority to give PX        16,    Att.   U, Undisputed
 15   refunds and substitutions but 9/23/21 DP Dep. Tr.
 16   did   not   do    so      without 74:7-21; 75:25-76:13.
 17   confirming with RT or JN first.
 18
      241. Danielle              Paulo PX     16,    Att.   U, Undisputed
 19
      communicated with customer 9/23/21 DP Dep. Tr.
 20
      service representatives through 93:13-20         (Skype);
 21
      Skype and Gorgias.                80:6-82:19
 22
                                        (discussing Gorgias);
 23
                                        see also PX 16, Att.
 24
                                        K, 8/16/21 RT Dep.
 25
                                        Tr. 133:7-24
 26

 27

 28
                                              -81-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 82 of 168 Page ID
                                  #:7950


  1   242. Danielle Paulo’s Skype PX             16,   Att.     U, Undisputed
  2   ID                              is 9/23/21 DP Dep. Tr.
  3   Live:.cid.49afd5d54f0d007d.          95:15-24; see also PX
  4                                        16, Att. K,8/16/21 RT
  5                                        Dep. Tr. 133:7-21.
  6   243. Danielle Paulo sent the PX 16, Att. N1 at Undisputed
  7   following Skype message to 247-49, RT-QYK 16.
  8   the customer service team on
  9   or around April 10, 2020:
 10   Hi, does everyone here also
 11   have access to Slack? We have
 12   all the updates on there from
 13   our estimated shipping dates
 14   and also what we are informing
 15   customers now. Just in case you
 16   don't I will send it here as well:
 17

 18   •Just wanted to update that our
 19   new estimated shipping date is
 20   April 23-26th. We understand
 21   we      told   majority   of   the
 22   customers it would be April 13-
 23   16th.
 24
      •Our First option would be to
 25
      have them wait until the new
 26
      shipping date (April 23-26th) to
 27
      get their order.
 28
                                                -82-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 83 of 168 Page ID
                                  #:7951


  1   •Our second option would be to
  2   CONVERT their existing order
  3   to what we have available in
  4   our warehouse and ship out as
  5   early as today If they are
  6   interested please include it in
  7   the notes on their account.
  8   •We have 2 types of bottles
  9   currently that are ready to ship
 10   out today (8oz and 4oz sizes)
 11   •We will send you a chart that
 12   you can use to give customers
 13   the     correct         conversions
 14   depending on what they've
 15   ordered.
 16   DO    NOT        give    customers
 17   conversions without using the
 18   chart we give you please.
 19   •Again, be sure to include
 20   whatever changes are made to
 21   these orders in the notes on
 22   their account.
 23

 24

 25

 26

 27

 28
                                            -83-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 84 of 168 Page ID
                                  #:7952


  1   244. Danielle Paulo sent the PX 16, Att. N1 at Undisputed
  2   following message via Skype 237-238,           RT-QYK
  3   to the customer service team 16.
  4   on or around April 16, 2020:
  5   Please inform other customer
  6   service    reps     that   we    are
  7   working all weekend to have
  8   orders with labels that have
  9   been      printed    or    fulfilled,
 10   shipped out this weekend. If
 11   they are asking for a refund
 12   here are the steps before issuing
 13   them a full refund
 14

 15   -Let them know it is already
 16   packed and we cannot intercept
 17   that package as we have 1,000
 18   orders being picked up daily by
 19   USPS
 20   -Since it is at the final stages of
 21   processing, its awaiting pick up
 22   -Since we do not want any
 23   customers to feel obligated to
 24   keep      their     orders,     upon
 25   receiving them, all they have to
 26   do is reject their order to be
 27   shipped back to us at no charge
 28
                                              -84-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 85 of 168 Page ID
                                  #:7953


  1   and we will issue a refund
  2   immediately
  3   -If they are still frustrated, for
  4   the delay, offer a refund on their
  5   shipping cost only
  6   -ONLY after all of this and they
  7   still do not want their products
  8   then we will issue a refund (:
  9

 10   For anything else, please send
 11   customer my way to help
 12   resolve any issue. Thank you
 13

 14

 15   245. Danielle      Paulo      and PX      16,   Att.   U, Undisputed
 16   Rakesh            Tammabattula 9/23/21 DP Dep. Tr.
 17   authorized the instructions for 99:1-100:1.
 18   handling refunds for orders in
 19   “preshipment.”
 20   246. Defendants           informed See, e.g., PX 1 ¶ 61 Disputed,      This    only
 21
      customers they could not issue (“You will demand a occurred if the package
 22
      a refund once they had created refund but they will had been packed and
 23
      a   shipping     label,    instead say they can’t refund labeled    and       either
 24
      instructing     customers        to your money because delivered or in the bins
 25
      intercept the mail carrier, reject it is in ‘preshipment’ with thousands of other
 26
      the package and return to status.’”);            ¶     69 packages to be picked
 27
      sender to receive a refund.          (Glowyy      refused up by the USPS. In
 28
                                               -85-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 86 of 168 Page ID
                                  #:7954


  1                                 refund, saying they such         cases,    it    was
  2                                 could not refund once virtually impossible to
  3                                 a “shipping label was intercept the package,
  4                                 created.”);      ¶    55 so    we     asked       the
  5                                 (“They claim they customer            to        either
  6                                 cannot       cancel   my reject it or confirm
  7                                 order because it’s too returning it, at which
  8                                 late in the process.”); time we would issue a
  9                                 see generally PX 16, refund.          Dec.         of
 10                                 Att. Y; PX 16, Att. X Tammabattula at ¶ 41
 11                                 at 1, 14 (ticket_ids
 12                                 2573824,
 13                                 141970332).
 14   247. DP also handled customer PX    16,      Att.   M, Undisputed
 15   complaints        concerning 12/7/21 RT Dep. Tr.
 16   refunds.                      217:3-9
 17

 18   248. DP always checked with PX      16,      Att.   U, Undisputed
 19   RT, BT, or Dr J before issuing 9/23/21 DP Dep. Tr.
 20   refunds.                      74:10-21.
 21
      249. Defendants    did   not PX     16,      Att.   U, Disputed,    This       only
 22
      provide refunds to customers 9/23/21 DP Dep. Tr. occurred if the package
 23
      once an order was in “pre- 96:13-97:2.                  had been packed and
 24

 25
      shipment.”                                              labeled    and        either

 26
                                                              delivered or in the bins

 27
                                                              with thousands of other

 28
                                                              packages to be picked
                                          -86-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 87 of 168 Page ID
                                  #:7955


  1                                                           up by the USPS. In
  2                                                           such      cases,      it    was
  3                                                           virtually impossible to
  4                                                           intercept the package,
  5                                                           so      we     asked         the
  6                                                           customer        to         either
  7                                                           reject it or confirm
  8                                                           returning it, at which
  9                                                           time we would issue a
 10                                                           refund.         Dec.          of
 11                                                           Tammabattula at ¶ 32-
 12                                                           33, 38-40
 13   250. “Pre-shipment”      means PX     16,    Att.   U, Disputed,                   “Pre-
 14   that [the order] is in the 9/23/21 DP Dep. Tr. shipment also includes
 15   warehouse, being put into their 97:3-10.                Packaged and Ready
 16   packaging . . . .”                                      for       shipping,           or
 17                                                           Shipment picked up by
 18                                                           carrier but not scanned.
 19                                                           Dec. of Tammabattula
 20                                                           at ¶ 41
 21
      251. Defendants      could   not PX   16,    Att.   U, Disputed, in addition to
 22
      issue a refund once an order 9/23/21 DP Dep. Tr. the volume, many of
 23
      was in pre-shipment because 97:11-16; 101:1-8.          these        orders        were
 24
      there were thousands of orders,                         waiting to be picked up
 25
      and there was “no way we                                by UPS or USPS. DP
 26
      could physically go down to                             Dep. Tr. 101:4-6
 27
      the warehouse, get that specific
 28
                                            -87-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 88 of 168 Page ID
                                  #:7956


  1   order out.”
  2   252. Defendants also couldn’t PX        16,   Att.    U, Disputed, in addition to
  3   intercept orders for refund 9/23/21 DP Dep. Tr. the volume, many of
  4   once in preshipment because 101:9-13; PX 1, Att. these orders were in
  5   they printed stacks and stack of AD (video at 2:59 fulfillment waiting to
  6   labels and couldn’t find them min. showing stacks be picked up by UPS or
  7   either even when not on the of printed labels); see USPS. DP Dep. Tr.
  8
      box.                            also PX 16, Att. H, 101:4-6.
  9
                                      QYK ROG Second
 10
                                      Amended Resp. No.
 11
                                      16 (discussing that
 12
                                      they printed the labels
 13
                                      in batches to send to
 14
                                      packaging team).
 15
      253. Defendants    could    not PX      16,   Att.    U, Disputed, in addition to
 16
      intercept individual packages 9/23/21 DP Dep. Tr. the volume, many of
 17
      [for refund] due to the volume 101:1-8.                   these   orders     were
 18
      of orders.                                                waiting to be picked up
 19
                                                                by UPS or USPS. DP
 20
                                                                Dep. Tr. 101:4-6
 21
      254. Customers             were PX 16, Att. Y at 4 Undisputed as to a few
 22
      incredulous they had to wait (ticket_id       3698767 customers being upset,
 23
      for items that had not yet [“If         the    package but the vast majority
 24
      shipped to arrive in the mail, hasn’t     even       been were not    and over
 25
      and then return that item back completely      fulfilled $266,000 in refunds
 26
      to     the    company   before and packaged then were issued. Dec. of
 27
      receiving their money back.     why can’t we just Tammabattula at ¶¶ 38-
 28
                                            -88-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 89 of 168 Page ID
                                  #:7957


  1                                 cancel.”]; PX 16, Att. 40
  2                                 X at 14-15 (ticket_id
  3                                 1970332); PX 1, Att.
  4                                 Z at 20 (“The order
  5                                 never          left     your
  6                                 facility….so how do
  7                                 you want it to be back
  8                                 then….you can truck
  9                                 [sic] the order for
 10                                 yourself, it was never
 11                                 picked up….so in that
 12                                 case how long will I
 13                                 want for the refund?”)
 14                                 (elipses in original);
 15                                 id. at 46 (“:it hasn’t
 16                                 even arrived at the
 17                                 post       office        for
 18                                 processing              and
 19                                 shipping.             So my
 20                                 order is in limbo and I
 21                                 have no idea where it
 22                                 is and you can tell me
 23                                 where it is and on top
 24                                 of that you refuse to
 25                                 give me my money
 26                                 back thanks for the
 27                                 horrific
 28
                                            -89-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 90 of 168 Page ID
                                  #:7958


  1                                   service!!!!!!!!”); id. at
  2                                   49-50.
  3   255. Defendants      explained PX 16, Att. N1 at 263, Undisputed as to this
  4   that it was their “policy” that RT-QYK 16 (Skype policy existing for a
  5   once     items     were      in Archive, 3/23/2020, limited period of time.
  6   “preshipment” they could no 1:25:53 PM (From This only occurred if
  7   longer authorize a refund.      DP) “Hi team, just a the package had been
  8                                   reminder that if a packed and labeled and
  9                                   customer wants to either delivered or in
 10                                   cancel and the order the bins with thousands
 11                                   has been processed, of other packages to be
 12                                   pre-shipment, or has a picked up by the USPS.
 13                                   tracking number: we In such cases, it was
 14                                   cannot issue a refund virtually impossible to
 15                                   anymore. Please let intercept the package,
 16                                   them know we are a so              we    asked     the
 17                                   little    delayed        with customer   to      either
 18                                   shipment due to a reject it or confirm
 19                                   slower           processing returning it, at which
 20                                   time       during         the time we would issue a
 21                                   circumstances            and refund.     Dec.       of
 22                                   their     tracking       will Tammabattula at ¶¶ 38-
 23                                   update          within   2-3 40
 24
                                      days. If they still do
 25
                                      not want their order,
 26
                                      they can reject the
 27
                                      shipment and it will
 28
                                               -90-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 91 of 168 Page ID
                                  #:7959


  1                                   be sent back to us and
  2                                   once we receive the
  3                                   item, we can issue a
  4                                   refund. Let me know
  5                                   if   you       have        any
  6                                   questions. Thanks”)
  7   256. After a label was printed PX       16,      Att.       U,    Undisputed
  8   and was in the warehouse, a 9/23/21 DP Dep. Tr.
  9   package was in pre-shipment.    97:17-21.
 10

 11   257. “Return    to    sender” See generally PX 16, Undisputed
 12   resulted in dozens of customer Att. Y; PX 1, Att. Z at
 13   complaints.                     15, 49, 135, 151, 157,
 14                                   171, 189, 207, 216,
 15                                   222; PX 1, Att. Y at
 16                                   50, 53, 72, 85, 87,
 17                                   108, 109, 110, 113.
 18   258. Other           frustrated See, e.g., PX 1 ¶¶ 55, Undisputed
 19   customers demanded refunds.     58, 59 Att. P; PX 3 ¶
 20                                   6; PX 4 ¶ 9; 5 ¶ 6; PX
 21                                   6 ¶ 10; Att. Y (BBB
 22                                   complaints); PX 16,
 23                                   Att. E, QYK RFA
 24                                   Resp.          No.         104
 25                                   (admitting customers
 26                                   complained           to     the
 27                                   company                   about
 28
                                              -91-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 92 of 168 Page ID
                                  #:7960


  1                                          shipping delays).
  2

  3

  4

  5   259. Defendants sent orders See PX 16, Att. E, Disputed, orders were
  6   after consumers informed the QYK RFA Resp. No. not                     sent      before
  7   company      they     no     longer 91.                        consumers       informed
  8   wanted the item.                                               the company, they no
  9                                                                  longer wanted them.
 10                                                                  Dec. of Tammabattula
 11                                                                  at ¶¶ 38-40
 12   260. Defendants realized that PX 16, Att. AC.                  Disputed,      customers
 13   some of these customers had                                    who received refunds
 14   been successful in obtaining                                   after shipments were
 15   chargebacks        through     their                           delivered             were
 16   credit      card      companies,                               requested to pay but not
 17   Defendants     harassed        them                            harassed.      Dec.     of
 18   relentlessly for payment.                                      Tammabattula at ¶ 38
 19   261. Some              customers PX          16,   Att.    Y Disputed, only those
 20   complied and paid for hand (ticket_id 2642713); who wanted to keep the
 21   sanitizer   they     clearly    had see generally PX 16, product paid. Dec. of
 22   already cancelled and did not Att. AC; see also PX Tammabattula at ¶ 38
 23   want.                                  9 ¶ 17 (“191 unique
 24                                          orders that had a
 25                                          ‘Lineitem_name’
 26                                          value of ‘Re-charge
 27                                          Refunding       Items
 28
                                                  -92-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 93 of 168 Page ID
                                  #:7961


  1                                       (Fulfiled)’”.
  2
                 D. Defendants’ DJN Hand Sanitizer Sales.
  3

  4
      262. On or around March 4, See PX 16, Att. O, Disputed. Dr. J’s did
  5
      when Defendants began selling 8/18/21 JN Dep. Tr. not start selling hand
  6
      hand       sanitizer     through 69:9-20            (testifying sanitizer until late in
  7
      Glowyy, they also started began selling hand March. The amount of
  8
      similar campaigns to sell hand sanitizer            on      DJN sanitizer sold by Dr. J’s
  9
      sanitizer through DJN.              website              around was only a fraction of
 10
                                          March          and      April that sold by QYK.
 11
                                          2020).                         Declaration of Nguyen
 12
                                                                         at ¶ 7
 13
      263. Defendants disseminated PX             16,      Att.     Q, Undisputed      as    to
 14
      various processing times on 12/9/21 JN Dep. Tr. certain times when the
 15
      the DJN website similar to 117:5-121:2;                       id. processing times were
 16
      those claims on the Glowyy 120:4-18 (admitting similar
 17
      website.                            that DJN coordinated
 18
                                          with           QYK        to
 19
                                          determine processing
 20
                                          times      placed         on
 21
                                          website); see also PX
 22
                                          1, Att. B at 12-13.
 23
      264. “Processing time” is the PX            16,      Att.     Q, Undisputed
 24
      time it takes the company “to 12/9/21 JN Dep. Tr.
 25
      receive the order, prepare it, 123:2-8.
 26
      print the label, put it in a box,
 27
      and then put it in the mail.”
 28
                                                  -93-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 94 of 168 Page ID
                                  #:7962


  1   265. Defendants disseminated PX      16,     Att.   O, Undisputed
  2   various ads through Facebook, 8/18/21 JN Dep Tr.
  3   Instagram, and Twitter to 95:25-96:6; see also
  4   promote the sale of hand PX 1, Att. E at 3-6
  5   sanitizer            through (Instagram); PX 2,
  6   drsjnatural.com.              Att.    Z     and     AD
  7                                 (Facebook).
  8   266. DJN’s     advertisements See PX 1, Att. E at 5 Disputed,        these   ads
  9   claimed it had hand sanitizer (“fully stocked”); PX were only disseminated
 10   “In Stock.”                   2, Att. AC at 1 (“If on a few instances, not
 11                                 you’re looking for always as the Plaintiff’s
 12                                 #handsanitizer and its fact implies.
 13                                 sold out at the store,
 14                                 please visit us online
 15                                 at drjsnatural.com”);
 16                                 id. at 2 (Mar. 13 “We
 17                                 now         have      our
 18                                 #handsanitizer
 19                                 available      on     our
 20                                 store.”); id. (Mar 16:
 21                                 “Looking              for
 22                                 #handsanitizer?       We
 23                                 have our new bottles
 24
                                    and our 100ml bottle
 25
                                    in-stock      today   but
 26
                                    selling fast.”).
 27

 28
                                           -94-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 95 of 168 Page ID
                                  #:7963


  1   267. Defendants also stated PX 2, Att. AE at 1 Undisputed,                        even
  2   that   hand     sanitizer   ships (Mar 10: “If ordered though Twitter only
  3   “Today” on Twitter ads.          today we can ship resulted in 6 orders.
  4                                    today!”)                     Dec. of Tammabattula
  5                                                                 at ¶ 12
  6   268. Defendants       did    not PX      16,    Att.    O, Undisputed
  7   engage in a separate Google 8/18/21 JN Dep. Tr.
  8   AdWords campaign for DJN.        96:21-23.
  9

 10   269. Defendants             sold Compare PX 9 ¶ 31 Undisputed
 11   substantially      less     hand ($2.9M for Glowyy)
 12   sanitizer through DJN than with ¶ 56 ($406K for
 13   through Glowyy.                  DJN).
 14                                    See also PX 16, Att.
 15                                    O, 8/18/21 JN Dep.
 16                                    Tr.           69:21-70:1
 17                                    (testifying that the
 18                                    obtained              hand
 19                                    sanitizer             from
 20                                    Glowyy and DJN did
 21                                    not maintain its own
 22                                    inventory       because
 23                                    “we didn’t sell a
 24                                    significant amount”)
 25   270. Defendants admit that PX            16,    Att.    Q, Undisputed        as     to
 26   they were unable to fulfill 12/9/21 JN Dep. Tr. certain orders as, at
 27   orders because there were 123:11-124:1;                       time, the personnel was
 28
                                             -95-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 96 of 168 Page ID
                                  #:7964


  1   more orders than they could 124:19-125:2            insufficient to package
  2   fulfill at once.                                    all      orders        despite
  3                                                       working long hours.
  4                                                       Dec. of Tammabattula
  5                                                       at ¶ 30
  6   271. Defendants        received PX 16, Att. AE      Disputed,       there       was
  7   numerous      complaints   from                     only a limited number
  8   irate customers about delays.                       of    complaints        about
  9                                                       delays     and        whether
 10                                                       they were “irate” is an
 11                                                       opinion.         Dec.        of
 12                                                       Tammabattula at ¶ 35-
 13                                                       36
 14   272. Defendants        received PX 16, Att. R6, JN Disputed,             unknown
 15   numerous      complaints   from 53.                 what      is    meant        by
 16   irate customers about broken                        “numerous”.             There
 17   and leaking bottles of hand                         were a few complaints
 18   sanitizer and other PPE.                            but    these         were    all
 19                                                       resolved fairly quickly.
 20
                                                          Dec. of Tammabattula
 21
                                                          at ¶ 35-36
 22
      273. DJN continues to receive See, e.g., PX 16, Att. Disputed, none of the
 23
      complaints about broken and R7-R8, JN 54-55.        supporting           evidence
 24
      leaking bottles.                                    (PX        16          R7-R8)
 25
                                                          includes                    any
 26
                                                          complaints              about
 27
                                                          broken         and     leaking
 28
                                            -96-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 97 of 168 Page ID
                                  #:7965


  1                                                           bottles
  2

  3

  4

  5   274. Dr. J admits that          a PX 16, 12/9/21 JN Undisputed
  6   customer receiving a broken or Dep. Tr. 186:3-20.
  7   leaking bottle is not receiving
  8   what they ordered.
  9   275. Defendants          received See PX 16, Att. AE.   Disputed, there were
 10   numerous      complaints    from                        only a few complaints,
 11   irate       customers       about                       and the customers were
 12   materially               different                      not irate. These were
 13   substitutions.                                          resolved.       Dec.     of
 14                                                           Tammabattula at ¶ 35-
 15                                                           36
 16   276. Many               customers See PX 16, Att. AE.   Disputed, the company
 17   requested        refunds       or                       honored every refund
 18   cancellations,     which      the                       request if the product
 19   company did not honor.                                  had not yet shipped. If
 20                                                           it had been shipped,
 21                                                           then      the    company
 22                                                           would confirm return
 23                                                           and    then     issue   the
 24                                                           refund. The company is
 25                                                           unaware         of      any
 26                                                           consumer                who
 27                                                           requested a refund that
 28
                                              -97-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 98 of 168 Page ID
                                  #:7966


  1                                                                    did     not   receive   a
  2                                                                    refund.       Dec.      of
  3                                                                    Tammabattula at ¶¶ 36,
  4                                                                    38-40
  5   277. Defendants used a third- PX           16,     Att.    O, Undisputed
  6   party e-platform to manage the 8/18/21 JN Dep. Tr.
  7   DJN       website   called   Big 60:20-24; PX 16, Att.
  8   Commerce.                         Q, 12/9/21 JN Dep.
  9                                     Tr. 61:2-12.
 10   278. Big Commerce maintains PX             16,     Att.    Q, Undisputed
 11   all order data except the 12/9/21 JN Dep. Tr.
 12   detailed tracking information 67:4-16               (shipped
 13   showing shipment date for order status is based
 14   orders.                           on     generating        and
 15                                     creating a shipping
 16                                     label);          67:17-21
 17                                     (shipped date is the
 18                                     date      the    label    is
 19                                     created);         96:3-18
 20                                     (ship date in Big
 21
                                        Commerce is the date
 22
                                        when the label is
 23
                                        created not when it
 24
                                        was       put    into    the
 25
                                        mail);         102:6-103:2
 26
                                        (RT       testifying      as
 27
                                        corporate
 28
                                               -98-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 99 of 168 Page ID
                                  #:7967


  1                                     representative       on
  2                                     behalf of DJN, see
  3                                     12/9/20 JN Dep. Tr.
  4                                     101:14-19).
  5   279. Defendants’            Big PX 9 ¶ 56, Table 5.         Undisputed
  6   Commerce       records     show
  7   consumers           purchased
  8   $406,333.30 of hand sanitizer
  9   through DJN between March
 10   and August 2020.
 11           E. Defendants Sold Basic Immune IGG as
 12                a Covid Preventative.
 13
      280. Defendants also offered a PX       16,     Att.   O, Disputed, only DrJ’s
 14
      product called Basic Immune 8/18/21 JN Dep. Tr. offered this product.
 15
      IGG.                              116:15-18                 Declaration of Nguyen
 16
                                                                  at ¶ 13, 15
 17
      281. Until    August       2020, PX 16, Att. D, Ans. to Undisputed
 18
      Defendants, primarily through FAC ¶ 51; PX 16, Att.
 19
      Dr. J’s Natural and Dr. J, O, 8/18/21 JN Dep.
 20
      offered a product called “Basic Tr. 119:3-5.
 21
      Immune IGG” through their
 22
      website drjsnatural.com.
 23
      282. Dr. J’s Natural also sold PX       16,     Att.   O, Undisputed
 24
      Basic   Immune      IGG      via 8/18/21 JN Dep. Tr.
 25
      Amazon.com                        119:3-5.
 26

 27

 28
                                             -99-
      DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                    AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 100 of 168 Page ID
                                  #:7968


  1    283. Basic Immune IGG was PX 16, Att. D, Ans. to Undisputed
  2    sold as part of a “COVID FAC ¶ 51.
  3    Essentials” line of products.
  4

  5    284. Dr. J made the decision to PX      16,    Att.   O, Undisputed
  6    sell Basic Immune IGG as a 8/18/21 JN Dep. Tr.
  7    “Covid Essential.”                120:3-9.
  8
       285. Defendants sold Basic PX 16, Att. D, Ans. to Undisputed
  9
       Immune IGG for $89.               FAC ¶ 51.
 10

 11    286. Basic      Immune       IGG See PX 1 ¶ 19, Att. C; Undisputed
 12    contains “ImmunoLin®,” a PX 16, Att. D, Ans. to
 13    serum-derived            bovine FAC ¶ 53 (Basic
 14    immunoglobulin           (“SBI”) Immune
 15    protein powder manufactured IGG/Immunolin is a
 16    by Entera Health, Inc.            serum-derived bovine
 17                                      immunoglobulin
 18                                      concentrate).
 19    287. Entera Health promotes See PX 16, Att. O, Undisputed
 20    the   product    primarily    for 8/18/21 JN Dep. Tr.
 21    healthy digestion and immune 116:19-24            (Entera
 22    function.                         antibody     powder);
 23                                      PX 1, Att. C.
 24    288. Entera Health authorizes PX 1, Att. H (Covid- Undisputed
 25    the sale of ImmunoLin through 19 Insight from a
 26    doctors’ offices and does not Doctor Tr. 10:23-25);
 27    appear to sell the product see also PX 1, Att. C.
 28
                                              -100-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 101 of 168 Page ID
                                  #:7969


  1    directly to consumers.
  2

  3

  4

  5    289. Consistent with Entera’s See PX 16, Att. D, Undisputed
  6    advertising, Defendants stuck Ans. to FAC ¶ 54
  7    to these soft claims in their
  8    online advertising on social
  9    media and its website product
 10    pages.
 11    290. For      example,    on    the See, e.g., PX 2, Att. Undisputed
 12    website,         drjsnatural.com, R; PX 16, Att. D,
 13    Defendants marketed Basic Ans. to FAC ¶ 54.
 14    Immune         IGG        as      a
 15    “supplement” that “will help
 16    support your immune system”
 17    and “helps support healthy
 18    digestion.”
 19    291. In        online     videos, PX 16, Att. F, RT Disputed, the video was
 20    Defendants      claimed        Basic RFA Resp. No. 87 an interview in which
 21    Immune IGG can prevent (admitting he knew Jacqueline Nguyen (a
 22    transmission of COVID-19; Dr. J appeared on the dr.                  of     pharmacy)
 23    and Basic Immune IGG has DJN                       YouTube discussed the need of
 24    been clinically tested and is channel             in    videos the   body   to   boost
 25    FDA-approved for prevention claiming that Basic antibodies                  to   resist
 26    of COVID-19 transmission.             Immune IGG is FDA- viruses. She never said
 27                                          approved     to    treat, that the Basis Immune
 28
                                                 -101-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 102 of 168 Page ID
                                  #:7970


  1                                      prevent, or reduce the IGG prevented, treated,
  2                                      risk of COVID-19); or cured Covid-19 or its
  3                                      PX 1, Att. F-2, H, F- transmission. She, in
  4                                      3, I)                  fact, told the audience
  5                                                             that there is presently
  6                                                             no medicines that can
  7                                                             be used to kill the
  8                                                             Covid-19             virus.
  9                                                             Declaration of Nguyen
 10                                                             at ¶¶ 16-18
 11    292. On or about April 2, PX 1, Att. K; PX 8, Disputed, The video
 12    2020, Dr. J appeared on a Att. A; PX 16, Att. D, was an interview in
 13    newscast        on      Saigon Ans. to FAC ¶ 57.         which         Jacqueline
 14    Entertainment        Television                          Nguyen (a doctor of
 15    (SET) and stated that Basic                              pharmacy)         discussed
 16    Immune IGG could “prevent”                               the need for the body to
 17    COVID-19 by boosting the                                 boost    antibodies      to
 18    immune system.                                           resist   viruses.      She
 19                                                             never      said      Basic
 20                                                             Immune                IGG
 21                                                             prevented, treated, or
 22                                                             cured Covid-19 or its
 23                                                             transmission. She, in
 24
                                                                fact, told the audience
 25
                                                                there is presently no
 26
                                                                medicines that can be
 27
                                                                used to kill the Covid-
 28
                                                 -102-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 103 of 168 Page ID
                                  #:7971


  1                                                            19 virus. Declaration of
  2                                                            Nguyen at ¶¶ 16-18
  3

  4

  5    293. Dr. J admits she appeared PX      16,    Att.   O, Disputed,            the
  6    on      Vietnamese     television 8/18/21 JN Dep. Tr. deposition      transcript
  7    broadcasts and recommended 133:2-134:2.                 shows that she mainly
  8    Basic     Immune      IGG   “in                         recommended        Basic
  9    connection with boosting up                             Immune       IGG     “in
 10    your immune          system and                         connection         with
 11    prevention of all corona—all                            boosting     up    your
 12    bacteria and viruses, including                         immune system”. JN
 13    Covid-19.”                                              Dep. Tr. 133:20-23
 14    294. Dr. J made the following PX 8 at 19 (emphasis Undisputed
 15    statement during the April 2, added).
 16    2020 video:
 17   the immunoglobulin antibody
 18   therapy that I take with this
 19   powder, like how I drank and
 20   showed you earlier, is to
 21   increase my existing antibodies
 22   and make them stronger. The
 23   product helps strengthen the
 24   army of soldiers already present
 25   in my body. Then, let’s say if
 26   one coronavirus happens to
 27   infiltrate my body, I already
 28
                                             -103-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 104 of 168 Page ID
                                  #:7972


  1   have about five hundred
  2   thousand antibodies, thanks
  3   to this powder. They would
  4   cling   to    and       bite   that
  5   coronavirus, push it out and
  6   kill it. . . . And now if Mr. Do
  7   Dung or our dearest audience
  8   haven’t taken this antibody
  9   powder yet, it means that if the
 10   coronavirus enters your body,
 11   Mr. Do Dung and you only
 12   have 5,000 antibodies while I
 13   have 500,000 of them, because
 14   I have been taking this antibody
 15   powder.
 16    295. She     further      claimed PX 8, Att. A at 11.   Disputed, Defendant’s
 17    mixing Basic Immune IGG                                 basic explanation of
 18    with drinking water could                               how immune systems
 19    ward        off        COVID-19                         work does not mean she
 20    infections, even if sitting next                        is claiming that Basic
 21    to an infected person through                           Immune    IGG   could
 22    the following statement:                                ward off, prevent, or
 23   [L]et’s say if I sit next to Mr.                         treat COVID-19. She
 24
      Do Dung or someone else or                               was generally talking
 25
      happen to touch something and                            about the need and
 26
      get infected with Covid-19, at                           benefit to boost the
 27
      least I have already had more                            bodies     antibodies.
 28
                                               -104-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 105 of 168 Page ID
                                  #:7973


  1   antibodies that can detect the                                    Declaration of Nguyen
  2   invasion and cling to and attack                                  at ¶¶ 16-18
  3   the coronavirus. It’s like, the
  4   antibodies     will    say,   “hey,
  5   bacteria are penetrating the
  6   body, let’s come and fight it off
  7    296. During          this    same PX 8, Att. A at 17-18 Disputed. A review of
  8    “newscast,” Dr. J also claimed (in response to the the interview shows the
  9    Basic Immune IGG has been question                    “Is     it translation is incorrect,
 10    FDA-approved           and    has guaranteed that we as she never said it is
 11    undergone       clinical     trials will stay safe [from guaranteed              to     keep
 12    proving the efficacy of Basic COVID-19]?” Dr. J people                        safe      from
 13    Immune IGG for treatment, responds,                         “It’s Covid. She stated that
 14    prevention, and reducing the guaranteed, because the formula is safe for
 15    risk of COVID-19 infection           there       is     FDA’s humans as it is made in
 16                                         verification           and an      FDA      approved
 17                                         approval.”); see also facility. Declaration of
 18                                         PX 8, Att. A at 10.         Nguyen at ¶¶ 16-18
 19    297. Immediately             after PX 8, Att. A at 10.           Disputed,           nowhere
 20    discussing     the      successful                               does   she     state    the
 21
       treatment      of      COVID-19                                  product         prevents,
 22
       patients with plasma therapy—                                    treats, or cures Covid-
 23
       in which antibodies harvested                                    19. She only states the
 24
       from those recovering from                                       product      boosts     the
 25
       COVID-19 are used to treat                                       bodies’ antibodies. The
 26
       patients “at risk of death”—Dr.                                  fact that only a small
 27
       J went on to explain she was                                     amount of the product
 28
                                                    -105-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 106 of 168 Page ID
                                  #:7974


  1   “very happy, that at the same                       was sold (at a lost to the
  2   time, my company has released                       company) is a good
  3   a product called Immune IgG.                        indication of how her
  4   Our parent company is the only                      message                    was
  5   company       obtaining     the                     understood.
  6   registered trademark for this                       Declaration of Nguyen
  7   antibody product from the FDA                       at ¶ 18
  8   []. We have conducted clinical
  9   studies,     involving      the
 10   extraction and cultivation of
 11   antibodies taken from cow
 12   blood, which is then made into
 13   this antibody powder.”
 14    298. Two    English-language PX 1 ¶¶ 39-42, Att.s Disputed.           Nowhere
 15    videos on YouTube also touted F-2, F-3, H-I.       does      she     state     the
 16    Basic Immune IGG as a                              product prevents, treats
 17    preventative and treatment for                     or cures Covid-19. She
 18    COVID-19 with similar claims                       only states the product
 19                                                       boosts      the       bodies’
 20                                                       antibodies.       The      fact
 21                                                       that      only    a       small
 22                                                       amount of the product
 23                                                       was sold (at a loss to the
 24
                                                          company) is a good
 25
                                                          indication of how her
 26
                                                          message                    was
 27
                                                          understood.
 28
                                           -106-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 107 of 168 Page ID
                                  #:7975


  1                                                                    Declaration of Nguyen
  2                                                                    at ¶¶ 16-18
  3

  4

  5    299. On or around June 8, PX                16,    Att.   G, Undisputed
  6    2020,     Nguyen         posted,   or Relevant Portions of
  7    caused to be posted, a video on Jacqueline Nguyen’s
  8    the Dr. J’s Natural YouTube Responses               to    the
  9    channel       entitled    “Covid-19 FTC’s RFAs (“JN
 10    Insight from a Doctor Q&A RFA Resp.”) No. 88.
 11    with Dr. J.” (“COVID Insights
 12    Video”).
 13    300. Nguyen appeared in the PX 16, Att. G, JN Undisputed
 14    COVID Insights Video on the RFA Resp. No. 89.
 15    Dr.     J’s    Natural     YouTube
 16    channel         responding         to
 17    questions from her viewing
 18    audience and customers about
 19    COVID-19.
 20    301. On or about June 11, PX 16, Att. G, JN Undisputed
 21    2020, Nguyen appeared in a RFA Resp. No. 92.
 22    video posted to the Dr. J’s
 23    Natural YouTube channel.
 24    302. The video posted on or PX 16, Att. G, JN Undisputed
 25    around June 11, 2020 was RFA Resp. No. 93.
 26    entitled “How does Immune
 27    IGG Work; Dr J’s Natural
 28
                                                  -107-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 108 of 168 Page ID
                                  #:7976


  1    Educational”        (“How   does
  2    Immune IGG Work Video”).
  3

  4

  5    303. Nguyen posted, or caused PX 16, Att. G, JN Undisputed
  6    to be posted, the How Does RFA Resp. No. 94.
  7    Immune IGG Work Video.
  8
       304. In the June 8, 2020 PX 1 ¶ 40, Att. H Undisputed
  9
       COVID Insights Video Dr. J (Covid 19- Insight
 10
       responds       to      questions from a Doctor Tr.
 11
       regarding     COVID-19      from 9:17-19).
 12
       consumers, and she addresses
 13
       the question, “What is the best
 14
       preventative measure to take
 15
       now?”
 16
       305. Her response—use Dr. J’s PX 1 ¶ 40, Att. H Disputed, this quote is
 17
       hand sanitizer and take Basic (Covid 19- Insight taken out of context by
 18
       Immune IGG. Basic Immune from a Doctor Tr. omitting her general
 19
       IGG will boost the immune 10:10-11:9)                discussion of hygiene.
 20
       system, “so just in case you get (emphasis added).   She was explaining her
 21
       infected with the virus, then                        personal         experience
 22
       your body will be able to fight                      with     Basic     Immune
 23
       back and destroy all the                             IGG. Nowhere does she
 24

 25
       Coronavirus that is entering                         state      the     product

 26
       your body.”                                          prevents, treats or cures

 27
                                                            Covid-19.        She   only

 28
                                                            states     the     product
                                             -108-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 109 of 168 Page ID
                                  #:7977


  1                                                                    boosts     the       bodies’
  2                                                                    antibodies.      The      fact
  3                                                                    that     only    a       small
  4                                                                    amount of the product
  5                                                                    was sold (at a loss to the
  6                                                                    company) is a good
  7                                                                    indication of how her
  8                                                                    message                   was
  9                                                                    understood.
 10                                                                    Declaration of Nguyen
 11                                                                    at ¶¶ 16-18
 12    306. In a June 11, 2020 PX 1 ¶¶ 40-42, Att.s Disputed.                            nowhere
 13    English-language            YouTube F-3, I. See also PX 2, does          she     state     the
 14    video       titled     “How       Does Att. AD at 2 (Immune product prevents, treats
 15    Immune Igg Work,” Dr. J IGG                             “helps or cures Covid-19. She
 16    claimed Basic Immune IGG strengthen the body’s only states the product
 17    was     a      “prevention”         for natural        defense boosts      the       bodies’
 18    COVID-19, and suggests it had system to lower the antibodies.                    The      fact
 19    been clinically tested and had a risk of infection in that               only    a       small
 20    “patent” from the FDA for persons                    with    a amount of the product
 21    COVID-19             prevention    and weakened        immune was sold (at a lost to the
 22    treatment.                              system,      which   is company) is a good
 23                                            important during this indication of how her
 24
                                               #COVID                  message                   was
 25
                                               pandemic.”).            understood.
 26
                                                                       Declaration of Nguyen
 27
                                                                       at ¶¶ 16-18
 28
                                                    -109-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 110 of 168 Page ID
                                  #:7978


  1    307. In that video, Dr. J further PX 1, Att. I (How Disputed
  2    claimed Basic Immune IGG is Does           Immune       Igg Nowhere       does   the
  3    specifically     formulated    to Work Tr. at 7:1-8; see statement claim or state
  4    target COVID-19: “out of all also id. at 5:3-21 that                Basic        IGG
  5    of the product on the market (comparing             Basic “targets”       COVID-19.
  6    right     now,    whether     it’s Immune        IGG     to Declaration of Nguyen
  7    Echinacea, zinc, vitamin C, plasma therapy)).               at ¶¶ 16-18
  8    probiotic, those are just a small
  9    part of the equation that will
 10    boost up your immune system.
 11    But to be specific and to be
 12    laser-target [sic], immune IgG
 13    will boost up your antibody
 14    and your immunoglobulin for
 15    your body to help recognize
 16    viruses and bacteria, especially
 17    coronavirus.”
 18    308. Dr. J confirmed social         PX    16,    Att.   U, Undisputed
 19    media content before it was 9/23/21 DP Dep. Tr.
 20    posted.                             45: 9-11.
 21

 22    309. Basic              Immune PX 16, Att. D, Ans. to Undisputed
 23    IGG/Immunolin is not an FAC ¶ 64.
 24    FDA-approved treatment or
 25    preventative for COVID-19.
 26

 27

 28
                                                -110-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 111 of 168 Page ID
                                  #:7979


  1    310. The materials provided PX         16,    Att.   O, Undisputed
  2    by the sales representative who 8/18/21 JN Tr. 118:8-
  3    sold Basic Immune IGG to Dr. 20.
  4    J did not mention Covid-19.
  5    311. The clinical data from PX         16,    Att.   O, Undisputed
  6    Entera Health [about Basic 8/18/21 JN Tr. 126:1-
  7    Immune IGG] did not mention 3.
  8    Covid-19.
  9    312. Tammabattula knew that PX 16, Att. F, RT Undisputed.             But   no
 10    Dr.   J’s   Natural   had     no RFA Resp. No. 88.      claim was ever made.
 11    competent      and     reliable                         Declaration of Nguyen
 12    scientific evidence for the                             at ¶¶ 16-18
 13    claim that Basic Immune IGG
 14    could treat, prevent, or reduce
 15    the risk of contracting COVID-
 16    19.
 17    313. Tammabattula knew that PX 16, Att. F, RT Undisputed.             But   no
 18
       Dr.   J’s   Natural   had     no RFA Resp. RFA No. claim was ever made.
 19
       competent      and     reliable 89.                     Declaration of Nguyen
 20
       scientific evidence for the                             at ¶ 16-18
 21
       claim that Basic Immune IGG
 22
       was FDA-approved to treat,
 23
       prevent, or reduce the risk of
 24
       contracting COVID-19.
 25

 26

 27

 28
                                             -111-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 112 of 168 Page ID
                                  #:7980


  1   IV.    INDIVIDUAL          PARTICIPATION                     AND
  2          KNOWLEDGE OF CONTROL PERSONS.
  3

  4

  5    314. Defendant Tammabattula PX 16, Att. D, Ans. to Undisputed
  6    admits that “[a]t all times FAC. ¶ 10.
  7    material to the FAC, acting
  8    alone or in concert with others,
  9    RT has formulated, directed, or
 10    controlled, had the authority to
 11    control, or participated in the
 12    acts and practices of QYK,
 13    EASII, and Theo Pharmacy.”
 14    315. Defendant Tammabattula PX 16, Att. F, RT Undisputed
 15    solely managed the advertising RFA Resp. Nos. 14-
 16    and the QYK website.               17.
 17
       316. Defendant Tammabattula PX               16,     Att.    K, Undisputed as to the
 18
       learned on March 3 or 4 that 8/16/21                Dep.     Tr. fact that shipment was
 19
       the first shipment of hand 168:2-13 (discussing expected by March 4
 20
       sanitizer expected from India that            the     original before being delayed.
 21
       would be delayed and he did shipment from Syndy Dec. of Tammabattula
 22
       not know when it would arrive. Pharma was supposed at ¶¶ 14-15
 23
                                          to be delivered March
 24

 25
                                          3rd, but “then got

 26
                                          pushed back to March

 27
                                          4th”);      168:19-169:5

 28
                                          (pushed          back     but
                                                   -112-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 113 of 168 Page ID
                                  #:7981


  1                                  ultimately delivered
  2                                  on March 9); Att. L,
  3                                  8/17/21 RT Dep. Tr.
  4                                  133:10-14) (“Q: So
  5                                  March 4th was the
  6                                  first time you were
  7                                  aware of any delays
  8                                  in the shipment of the
  9                                  hand sanitizer that
 10                                  you were going to be
 11                                  selling to the public.
 12                                  A: Right.”); 39:6-11;
 13                                  see also PX 16, Att.
 14                                  S, 8/20/21 BT Dep.
 15                                  Tr.              48:7-12)
 16                                  (“shipments         were
 17                                  scheduled to arrive, I
 18                                  believe, on the 3rd or
 19                                  4th of March. I’m not
 20                                  sure. And it did not
 21                                  happen. There were
 22                                  delays.”).
 23    317. Defendant Tammabattula PX 16, Att. L, 8/17/21 Undisputed
 24
       never voluntarily stopped or RT Dep. Tr. 59:19-20
 25
       paused       his   advertising (did not pause the
 26
       campaigns.                    March        4    Google
 27
                                     AdWords campaign
 28
                                           -113-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 114 of 168 Page ID
                                  #:7982


  1                                     when he learned of
  2                                     delays);         54:1-10
  3                                     (Google          disabled
  4                                     March        4   Google
  5                                     AdWords campaign,
  6                                     not his decision to
  7                                     stop running ads); PX
  8                                     16, Att. M, 12/7/21
  9                                     RT Dep. Tr. 126:7-
 10                                     127:25       (Facebook
 11                                     disabled            ads);
 12                                     138:23-139:9
 13                                     (Microsoft          Bing
 14                                     account disabled in
 15                                     March 2020)
 16    318. Defendant Tammabattula PX 16, Att. F, RT Undisputed
 17    had the authority to control RFA Resp. No. 14.
 18    QYK’s                  website
 19    www.glowyy.com.
 20    319. Defendant Tammabattula PX 16, Att. E, QYK Undisputed
 21
       had the authority to control RFA Resp. No. 28;
 22
       QYK’s advertising since at PX 16, Att. F, RT
 23
       least November 2017.             RFA Resp. No. 16.
 24

 25

 26

 27

 28
                                             -114-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 115 of 168 Page ID
                                  #:7983


  1    320. Defendant Tammabattula PX 16, Att. F, RT Undisputed
  2    authorized QYK to represent RFA Resp. No. 4.
  3    in   the   March     4     Google
  4    AdWords Campaign that the
  5    company had hand sanitizer
  6    “in stock.”
  7    321. Defendant Tammabattula PX 16, Att. F, RT Undisputed
  8    authorized QYK to represent RFA Resp. No. 5.
  9    in the March 4, 2020 Google
 10    AdWords campaign that the
 11    company ships hand sanitizer
 12    “today.”
 13    322. Defendant Tammabattula PX 16, Att. F, RT Undisputed
 14    authorized QYK to represent RFA Resp. No. 6; No.
 15    in   the   March     4     Google 12     (“ships     hand
 16    AdWords        campaign       that sanitizer the same day
 17    shipping      time   for     hand it is ordered.”)
 18    sanitizer is the same day.
 19
       323. Defendant Tammabattula PX 16, Att. F, RT Undisputed
 20
       authorized QYK to run the RFA Resp. No. 7.
 21
       March 4 Google AdWords
 22
       campaign through at least
 23
       March 18, 2020.
 24
       324. Defendant Tammabattula PX 16, Att. E, QYK Undisputed
 25
       authorized the March 4 Google RFA Resp. No.19;
 26
       Ad campaign.                        PX 16, Att. F, RT
 27
                                           RFA Resp. No. 9.
 28
                                               -115-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 116 of 168 Page ID
                                  #:7984


  1    325. Defendant Tammabattula PX 16, Att. F, RT Undisputed
  2    had the authority to control RFA Resp. No. 15.
  3    QYK’s advertisements.
  4
       326. Defendant Tammabattula PX 16, Att. E, QYK Undisputed
  5
       had the authority to control RFA Resp. No. 20;
  6
       QYK’s       March    4   Google PX 16, Att. F, RT
  7
       AdWords campaign.                 RFA Resp. No. 10.
  8
       327. Defendant Tammabattula PX 16, Att. E, QYK Undisputed
  9
       had the authority to control the RFA Resp. No. 21;
 10
       advertisements      disseminated PX 16, Att. F, RT
 11
       through the March 4 Google RFA Resp. No. 11.
 12
       Ad campaign.
 13
       328. Defendant Tammabattula PX         16,    Att.    K, Undisputed
 14
       asked his brother Balaji to help 8/16/21 RT Dep. Tr.
 15
       secure      additional    hand 161:10-162:11.
 16
       sanitizer
 17
       329. Balaji Tammabattual did PX 16, Att. S, 8/20/21 Disputed, Balaji has
 18
       not begin to try to secure BT Dep. Tr. 48:1-6.           been   securing   Hand
 19
       additional hand sanitizer until                          Sanitizer         since
 20
       March 6, 2020.                                           February 2020 Dec. of
 21
                                                                Tammabattula at ¶ 14
 22
       330. Defendant Tammabattula PX 16, Att. E, QYK Undisputed
 23
       knew in early March 2020 that RFA Resp. No. 98;
 24
       there was increased consumer PX 16, Att. F, RT
 25
       demand for hand sanitizer.        RFA Resp. No. 37;
 26
                                         see also PX 16, Att.
 27
                                         N1, RT-QYK 16 at
 28
                                             -116-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 117 of 168 Page ID
                                  #:7985


  1                                   315 (RT instructing
  2                                   Philippines customer
  3                                   service        reps   that
  4                                   “90%” of the people
  5                                   will want to know “if
  6                                   product                 is
  7                                   available.”); PX 16,
  8                                   Att. H, QYK ROG
  9                                   Amended Resp. No.
 10                                   10 (QYK began “in
 11                                   house” production the
 12                                   second         week     of
 13                                   March          due      to
 14                                   increased demand).
 15    331. Defendant Tammabattula 8/17/21 RT Dep. Tr. Undisputed
 16    became aware of the “full 117:21-118:16.
 17    gravity of the situation” by
 18    March 12th or 13th regarding
 19    delays in shipping.
 20    332. Defendant Tammabattula PX 1, Att. T at 68- Undisputed
 21
       made         numerous   public 134; PX 16, Att. N10
 22
       statements       acknowledging at 28, RT-QYK 55
 23
       consumer demand for hand (EverybodyWiki
 24
       sanitizer.                     page: “The company
 25
                                      had a shortage of
 26
                                      supplies and alcohol
 27
                                      used       for        hand
 28
                                             -117-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 118 of 168 Page ID
                                  #:7986


  1                                        sanitizers       due     to
  2                                        COVID-19 and could
  3                                        not keep up with
  4                                        demand.”).
  5    333. Defendant Tammabattula PX 1, Att. T at 70- Undisputed
  6    made several public statements 134; PX 16, Att. N10
  7    acknowledging his company at 28, RT-QYK 55
  8    lacked product ingredients and (EverybodyWiki
  9    packaging.                          page: “The company
 10                                        had a shortage of
 11                                        supplies and alcohol
 12                                        used       for         hand
 13                                        sanitizers       due     to
 14                                        COVID-19 and could
 15                                        not keep up with
 16                                        demand.”).
 17    334. Defendant Tammabattula PX 1 ¶ 46, Att. L.                    Undisputed
 18    said in a March 26, 2020 article
 19    published online Defendants
 20    “saw the surge in searches for
 21
       hand      sanitizer   [in   early
 22
       March].       That’s when we
 23
       started     ramping    up    our
 24
       production.”
 25

 26

 27

 28
                                                  -118-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 119 of 168 Page ID
                                  #:7987


  1    335. Defendants published this PX 1, Att. T at 133.                   Undisputed
  2    article      on        the         website
  3    www.qyk.us.
  4

  5    336. Yet, just a few days later, PX 1 ¶ 47, Att. M.                   Undisputed
  6    he announced the company
  7    only        had      enough             raw
  8    ingredients        for    about         two
  9    weeks’ worth of hand sanitizer,
 10    and “timelines for production
 11    have been extended six to eight
 12    weeks”        compared             to    the
 13    typical two or three weeks.
 14    337. Defendant Tammabattula PX 16, Att. F, RT Undisputed
 15    knew at least by April 3, 2020 RFA Resp. No.57-58.
 16    that there were shortages of
 17    raw        materials         for        hand
 18    sanitizer and plastic bottles.
 19    338. In an April 7, 2020 PX 1, Att. T at 382 Disputed,                                       this
 20    article,     Mr.       Tammabattula (April 7); see also id. statement is misleading
 21    reiterated        there      were        not at 373 (April 21: “The when taken            out of
 22    enough raw ingredients for challenge with the context                              like      this
 23    hand sanitizer: “Raw materials supply chain for hand because                       he        was
 24    from alcohol and polymer sanitizers that we are referring to the industry
 25    compounds to plastic bottles currently facing is . . . in general. Dec. of
 26    and dispensing pumps. They the                      shortage     in Tammabattula at ¶ 48
 27    are sold out and back-ordered sourcing                    any   raw
 28
                                                         -119-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 120 of 168 Page ID
                                  #:7988


  1    for about 8 weeks from all material from alcohol
  2    traditional sources.”              to necessary chemical
  3                                       compounds           and
  4                                       plastic   bottles   and
  5                                       pumps.”)
  6    339. On or around April 9, PX 16, Att. F, RT Undisputed as to there
  7    2020, Tammabattula knew that RFA Resp. No. 59.               not being enough for
  8    there were not enough raw                                    the increased demand
  9    ingredients for hand sanitizer.
 10    340. On or around April 9, PX 16, Att. F, RT Undisputed as to there
 11    2020, Tammabattula knew that RFA Resp. No. 60.               not being enough for
 12    there was not enough of the                                  the increased demand
 13    chemical compounds to make
 14    gel for hand sanitizer.
 15    341. On or around April 9, PX 16, Att. F, RT Undisputed
 16    2020, Tammabattula knew that RFA Resp. No. 62.
 17
       chemical manufacturers that
 18
       provided thickeners for hand
 19
       sanitizer were providing those
 20
       chemicals        to       bigger
 21
       companies,      like      GOJO
 22
       Industries, Inc., rather than to
 23
       QYK.
 24
       342. On or around April 17, PX 16, Att. F, RT Undisputed
 25
       2020, Tammabattula stated RFA Resp. No. 63.
 26
       “most manufacturers are just
 27
       worried about how to continue
 28
                                               -120-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 121 of 168 Page ID
                                  #:7989


  1    producing [hand sanitizer.]”
  2

  3

  4

  5    343. On or around April 21, PX 16, Att. F, RT Undisputed
  6    2020, Tammabattula knew that RFA Resp. No. 64.
  7    QYK was close to not having
  8    enough alcohol to continue
  9    production of hand sanitizer.
 10    344. On or around April 21, PX 16, Att. F, RT Undisputed
 11    2020, Tammabattula knew that RFA Resp. No. 65.
 12    there   were    shortages       in
 13    sourcing raw materials, from
 14    alcohol to necessary chemical
 15    compounds and plastic bottles
 16    and pumps.
 17    345. On or around April 23, PX 16, Att. F, RT Undisputed
 18    2020, Tammabattula stated RFA Resp. No. 66.
 19    that there were shortages of
 20    raw materials for PPE.
 21    346. On or around April 23, PX 16, Att. F, RT Undisputed
 22    20202, Tammabattula stated RFA Resp. No. 67.
 23    that there was insufficient
 24    supply chain to produce PPE in
 25    the United States.
 26

 27

 28
                                            -121-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 122 of 168 Page ID
                                  #:7990


  1    347. On or around April 23, PX 16, Att. F, RT Undisputed
  2    2020, Tammabattula stated RFA Resp. No. 68.
  3    that QYK was ramping up
  4    production of hand sanitizer,
  5    but there were “major issues”
  6    in the supply chain.
  7    348. On or around April 23, PX 16, Att. F, RT Undisputed
  8    2020, on the program “Daily RFA Resp. No. 69.
  9    Caller,” Tammabattula stated
 10    that a major component that
 11    QYK needed for hand sanitizer
 12    production was the plastic
 13    bottles.
 14    349. On or around April 23, PX 16, Att. F, RT Undisputed
 15    2020, on the program “Daily RFA Resp. No. 70.
 16    Caller,” Tammabattula stated
 17    that plastic bottles for hand
 18    sanitizer had to be imported,
 19    and there was no way around
 20    this.
 21
       350. On or around April 23, PX 16, Att. F, RT Undisputed
 22
       2020, on the program “Daily RFA Resp. No. 72.
 23
       Caller” Tammabattula stated
 24
       that there were continuing
 25
       logistical   challenges    for
 26
       importing plastic bottles from
 27
       China.
 28
                                         -122-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 123 of 168 Page ID
                                  #:7991


  1    351. Defendant Tammabattula PX 16, Att. H at 22- Undisputed
  2    knew of the difficulties in 23, 34-35, QYK ROG
  3    getting hand sanitizer through Amended Resp. No.
  4    customs,      with   multiple 14   (“There        were
  5    shipments detained or not multiple         past    due
  6    released at all.             shipments and other
  7                                 shipments that were
  8                                 delivered     past     the
  9                                 date the vendors said
 10                                 they would be.”); PX
 11                                 16, Att. H at 30-31,
 12                                 QYK ROG Second
 13                                 Amended Resp. No. 1
 14                                 (“Some        of     these
 15                                 shipments            were
 16                                 withheld due to new,
 17                                 temporarily
 18                                 implemented
 19                                 emergency
 20                                 regulations
 21                                 preventing shipments
 22                                 from India.”); PX 16,
 23                                 Att. L, 8/17/21 RT
 24                                 Dep. Tr. at 105:15-21
 25                                 (admitting         “many”
 26                                 shipments            were
 27                                 delayed); PX 16, Att.
 28
                                          -123-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 124 of 168 Page ID
                                  #:7992


  1                                  AB (FDA Detention);
  2                                  PX      16,     Att.    K,
  3                                  8/16/21 RT Dep. Tr.
  4                                  152:9-24 (discussing
  5                                  detained        shipments
  6                                  from India); PX 16,
  7                                  Att. L, 8/17/21 RT
  8                                  Dep.      Tr.     117:21-
  9                                  118:7 (he came to
 10                                  understand the “full
 11                                  gravity” of the delays
 12                                  by March 12th or
 13                                  March 13th).
 14    352. Defendant Tammabattula PX 16, Att. L, 8/17/21 Disputed. These were
 15    also knew that the Defendants RT Dep. Tr. 39:1-11; confirmed orders with
 16    allowed customers to purchase 42:4-11;         57:22-24 confirmed      delivery
 17    hand sanitizer based only on (stating        that    “the dates.    Dec.    of
 18    hopeful     expectation   of anticipation was that Tammabattula at ¶¶ 6-
 19    receiving shipments, not actual by the time the ad 9, 14-25
 20    inventory                     would be approved,
 21                                  we would have the
 22                                  product available and
 23                                  ready to ship”); 58:3-
 24
                                     19;           69:24-71:18
 25
                                     (admitting             they
 26
                                     placed                  an
 27
                                     approximate quantity
 28
                                            -124-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 125 of 168 Page ID
                                  #:7993


  1                                 of a particular product
  2                                 into Shopify based on
  3                                 expected shipments);
  4                                 PX 16, Att. H at 33-
  5                                 34,   QYK            Second
  6                                 Amended ROG Resp.
  7                                 No.       10     (admitting
  8                                 based shipping times
  9                                 based on anticipated
 10                                 shipments, not actual
 11                                 deliveries).
 12    353. Defendant Tammabattula PX 16, Att. F, RT Disputed, there was a
 13    was aware of hundreds of RFA Resp. No. 43 high                      volume        of
 14    complaints pouring in every (admitting aware of customer                   inquiries,
 15    day about late and delayed complaints                     re however,    not   every
 16    hand sanitizer orders.       shipping delays); see inquiry               was       a
 17                                 PX        16,      Att.     U, complaint.    Dec.    of
 18                                 9/23/21 DP Dep. Tr. Tammabattula at ¶ 35-
 19                                 83:5-25          (discussing 36
 20                                 the       call     volume);
 21                                 85:4-7 (DP asked RT
 22                                 for         help          with
 23                                 responding                   to
 24
                                    customer             service
 25
                                    calls);          49:21-50:3
 26
                                    (DP                       hired
 27
                                    approximately               20
 28
                                          -125-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 126 of 168 Page ID
                                  #:7994


  1                                        people because of the
  2                                        high      volume          of
  3                                        customer calls every
  4                                        day); see also PX 16,
  5                                        Att.     AD         at    3
  6                                        (admitting to Shopify
  7                                        that orders had not
  8                                        been fulfilled); PX
  9                                        16, Att. AF (email
 10                                        from RT “Apologies
 11                                        for the delays on our
 12                                        side. Our warehouse
 13                                        is extremely backed
 14                                        up”); see generally
 15                                        PX     16,     Att.      N1
 16                                        (Skype
 17                                        communications
 18                                        between        RT        and
 19                                        customer         service
 20                                        representatives).
 21    354. And he knew that Shopify PX 16, Att. AD at 3.                 Undisputed
 22    was    concerned    about    the
 23    mounting        number        of
 24
       unfulfilled orders piling up in
 25
       the system, telling Shopify on
 26
       March 16 that they “will be
 27
       able to fulfill 90% of the orders
 28
                                                  -126-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 127 of 168 Page ID
                                  #:7995


  1    this week.”
  2

  3

  4

  5    355. Defendant                       PX 9, Geiran Decl., Disputed, the statement
  6    Tammabattula’s statement to Att. B at 63 (showing was based on shipments
  7    Shopify       was    completely shipment             delays of product already in
  8    baseless and proved wholly continuing               through transit to QYK and
  9    untrue.                              April).                arrived in the US at that
 10                                                                point.       Dec.     of
 11                                                                Tammabattula at ¶¶ 6-
 12                                                                9, 14-25
 13    356. Shopify placed multiple PX            16,    Att.   K, Disputed,        Shopify
 14    holds on the Glowyy account 8/16/21 RT Dep. Tr. placed only 1 hold in
 15    beginning in March.                  180:3-181:12           March.      8/16/21   RT
 16                                                                Dep. Tr. 180:8-18
 17    357. The      hold   placed    by PX       16,    Att.   K, Undisputed
 18    Shopify in March “was to 8/16/21 RT Dep. Tr.
 19    verify that [Defendants] were 181:6-10
 20    actually shipping the product
 21    and to verify the authenticity of
 22    the company.”
 23    358. The second hold placed PX             16,    Att.   K, Undisputed
 24    by Shopify on the Glowyy 8/16/21 RT Dep. Tr.
 25    account was “because of the 181:10-12
 26    charge backs being larger than
 27    the   threshold      that     they
 28
                                                 -127-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 128 of 168 Page ID
                                  #:7996


  1    normally allowed.”
  2

  3

  4

  5    359. PayPal also placed a hold PX          16,     Att.   K, Undisputed
  6    on      releasing       funds     to 8/16/21 RT Dep. Tr.
  7    Defendants        for      purchases 178:9-179:1
  8    made through Glowyy.
  9    360. PayPal placed the hold on PX          16,     Att.   K, Undisputed
 10    the       Glowyy              account 8/16/21 RT Dep. Tr.
 11    approximately in mid-March 179:13-17
 12    2020.
 13    361. PayPal       released      some PX    16,     Att.   K, Undisputed
 14    funds toward the end of March, 8/16/21 RT Dep. Tr.
 15    but they continued to hold 179:18-180:2.
 16    approximately           90%     until
 17    October 2020.
 18    362. The hold on the Glowyy PX             16,     Att.   K, Undisputed
 19    account     was      for      reasons 8/16/21 RT Dep. Tr.
 20    similar to Shopify’s hold, 178:21-25.
 21    “making sure that we had
 22    product available and we were
 23    sending shipments” for the
 24    orders they were taking.
 25    363. Tammabattula knew that PX 16, Att. F, RT Undisputed
 26    QYK       received       complaints RFA Resp. No.44.
 27    from some customers about
 28
                                                 -128-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 129 of 168 Page ID
                                  #:7997


  1    not   receiving    the   correct
  2    merchandise.
  3

  4

  5    364. Dr. J admits that “[a]t all PX 16, Att. D, Ans. to Undisputed
  6    times material to the FAC, FAC. ¶ 11.
  7    acting alone or in concert with
  8    others, Dr. J. has formulated,
  9    directed, had the authority to
 10    control, or participated in the
 11    acts and practices of Dr. J’s
 12    Natural and Theo Pharmacy.”
 13    365. Dr. J knew in early March PX 16, JN RFA Resp. Undisputed
 14    2020 that there was increased No. 16.
 15    consumer demand for hand
 16    sanitizer.
 17    366. Dr. J knew consumers PX 16, JN RFA Resp. Undisputed
 18    were having difficulty finding No. 17
 19    hand sanitizer to purchase in
 20    March through May 2020.
 21    367. Dr.     J    was    directly PX       16,     Att.   O, Undisputed
 22    involved in printing labels and 8/18/21 JN Dep. Tr.
 23    labeling shipments.                40:23-41:3; PX 16,
 24                                       Att. Q, 12/9/21 JN
 25                                       Dep.      Tr.    200:17-
 26                                       201:5;           202:10-
 27                                       203:25.
 28
                                                 -129-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 130 of 168 Page ID
                                  #:7998


  1    368. Dr. J knew that a lot of PX              16,     Att.   O, Undisputed
  2    customers were complaining.              8/18/21 JN Dep. Tr.
  3                                             111:10-12.
  4

  5    369. In a video appearing on PX 16, Att. D, Ans. to Undisputed
  6    YouTube April 2, 2020, she FAC ¶ 45; PX 16, JN
  7    publicly         addressed         the RFA Resp. No. 64;
  8    numerous         complaints       and PX 1 ¶ 44, Att. J
  9    concerns about the shipping (Your Order Updates
 10    delays,               acknowledging for Dr. J’s Natural
 11    Defendants were experiencing Hand Sanitizers Tr.
 12    delays          and       imploring 5:3-5).
 13    consumers to “be patient . . . I
 14    know that I will have over
 15    100,000      bottles      of     hand
 16    sanitizer, the 300ml, that we
 17    can be able to send out.”
 18    370. The April 2, 2020 video PX 16, JN RFA Resp. Undisputed
 19    referenced in Undisputed Fact No. 65.
 20    No. 369 that was posted on the
 21    Dr.    J’s   Natural      YouTube
 22    channel on or around April 2,
 23    2020      was     entitled,     “Your
 24    Order Updates for Dr. J’s
 25    Natural Hand Sanitizers Is
 26    Glowyy          Legit?”        (“Order
 27    Updates Video”).
 28
                                                    -130-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 131 of 168 Page ID
                                  #:7999


  1    371. Dr. J admits that at least PX 16, JN RFA Resp. Undisputed
  2    some consumers have been Nos. 66-68; PX 1 ¶
  3    waiting more than 7 days due 44, Att. J (Your Order
  4    to    “uncertainty   on    the Updates for Dr. J’s
  5    manufacturing side,” and that Natural             Hand
  6    it has been “difficult to source Sanitizers Tr. 5:3-5).
  7    the bottle or the pump.”        Id., Att. J (Your Order
  8                                    Updates for Dr. J’s
  9                                    Natural           Hand
 10                                    Sanitizers Tr. 5:6).
 11                                    Id., Att. J (Your Order
 12                                    Updates for Dr. J’s
 13                                    Natural           Hand
 14                                    Sanitizers Tr. 5:17-
 15                                    18); Id., Att. J (Your
 16                                    Order Updates for Dr.
 17                                    J’s   Natural     Hand
 18                                    Sanitizers Tr. 6:9-10).
 19    372. On or around May 25, PX 16, JN RFA Resp. Undisputed
 20    2020, Nguyen posted or caused No. 73; PX 16, Att. O,
 21    to be posted, a video on the Dr. 8/18/21 JN Dep. Tr.
 22    J’s Natural YouTube channel 114:1-7           (admitting
 23    entitled “We Finally Caught she appeared in the
 24
       Up!   DrJsNatural    Shipment video).
 25
       Update” (“Caught Up Video”).
 26

 27

 28
                                             -131-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 132 of 168 Page ID
                                  #:8000


  1    373. Nguyen acknowledged in PX 16, JN RFA Resp. Undisputed
  2    the Caught Up Video that No. 75; PX 16, Att. O,
  3    customers have waited “three 8/18/21 JN Dep. Tr.
  4    weeks” for shipments of Dr. 116:3-9.
  5    J’s    Natural      brand      hand
  6    sanitizer orders.
  7    374. Dr.     J’s    Natural    was PX       16,    Att.     O, Undisputed
  8    unprepared for the large influx 8/18/21 JN Dep. Tr.
  9    of orders [of hand sanitizer].        114:15-19.
 10

 11    375. Notably, the numerous See, e.g., PX 1, Att. E Disputed,                 Defendants
 12    advertisements and statements at 4 (“formulated in were down packing in-
 13    by Tammabattula and Dr. J house”); PX 1, Att. T house by this time and
 14    conveyed      another lie—that at 128 (news article all the facilities where
 15    they were manufacturing the discussing              “Garden the hand sanitizer was
 16    hand sanitizer in-house.              Grove-based         hand manufactured         were
 17                                          sanitizer                FDA     and      CGMP
 18                                          manufacturer”);      PX certified.     Dec.     of
 19                                          2, Rottner Decl. Att. Tammabattula at ¶ 49.
 20                                          AB (“MADE IN USA
 21                                          IN FDA & CGMP
 22                                          CERTIFIED
 23                                          FACILITY)
 24    376. In reality, they contracted PX 16, Att. L, 8/17/21 Disputed, these bottles
 25    with       third     parties     to RT Dep. Tr. 125:24- were               manufactured
 26    manufacture a generic formula 126:11;              127:8-13; based on a formula that
 27    of hand sanitizer approved by 128:12-24.                       was provided to them
 28
                                                  -132-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 133 of 168 Page ID
                                  #:8001


  1    the     FDA,      or     used      hand                            from Defendants. Dec.
  2    sanitizer that was already                                         of Tammabattula at ¶
  3    being      manufactured             for                            49
  4    distribution       under        “white
  5    labels,”   that        is,   for    any
  6    company that will pay.
  7    377. Defendant Tammabattula PX 16, Att. F, RT Undisputed
  8    admits that he knew there was RFA Resp. Nos. 86-
  9    no    scientific       evidence      to 89.
 10    support the claims that Basic
 11    Immune IGG could treat,
 12    prevent, or reduce risk of
 13    contracting COVID-19 and he
 14    knew there was no scientific
 15    evidence that it was FDA-
 16    approved for those purposes.
 17    378. Defendant Tammabattula PX 16, Att. B, Ans. Undisputed
 18    admits that he knew there was To               Compl     ¶   55
 19    no    scientific       evidence      to (“Admit that Basic
 20    support these claims, and Immune
 21
       Defendants admit that Basic IGG/Immunolin                     is
 22
       Immune IGG is not FDA not an FDA-approved
 23
       approved as a COVID-19 treatment                             or
 24
       preventative.                             preventative       for
 25
                                                 COVID-19 as alleged
 26
                                                 in paragraph 55 of the
 27
                                                 Complaint”); PX 16,
 28
                                                      -133-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 134 of 168 Page ID
                                  #:8002


  1                                       Att. D, Ans. to FAC ¶
  2                                       6    (admitting       all
  3                                       allegations that “In
  4                                       fact, Basic Immune
  5                                       IGG/Immunolin          is
  6                                       not an FDA-approved
  7                                       treatment             or
  8                                       preventative          for
  9                                       COVID-19).
 10    V.    CONSUMER INJURY.
 11
       379. During the early weeks of PX 16, Att. D, Ans. to Undisputed
 12

 13
       the pandemic quarantine in the FAC ¶ 22; see also

 14
       United States, obtaining hand PX         16,      Att.   U,

 15
       sanitizer as quickly as possible 9/23/21 DP Dep. Tr.

 16
       was   paramount      for      many 87: 3-5 (customers

 17
       consumers.                         called and asked “It’s

 18
                                          been two days, three

 19
                                          days. Why am I not

 20                                       getting my order?”).

 21    380. This high demand made PX 16, Att. D, Ans. to Undisputed

 22    products difficult to find.        FAC ¶ 22.

 23

 24
       381. FTC’s          investigator See generally PX 1 ¶¶ Undisputed.               250
 25
       documented more than 250 53-79                  (discussing complaints out of over
 26
       consumer complaints over the consumer                          45,000 filed orders is
 27
       span of just a few months.         complaints), Atts. P, only 0.4%. All of these
 28
                                               -134-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 135 of 168 Page ID
                                  #:8003


  1                                  Y, Z; PX 16, Atts. X, were resolved. Dec. of
  2                                  Y, Z.                    Tammabattula at ¶¶ 35-
  3                                                           36
  4

  5    382. Consumers ordered these PX1 ¶¶ 56, 62, 71, 77; Disputed, there is no
  6    products solely because they Ex. 3 ¶¶ 2, 9; Ex. 4 ¶ admissible             evidence
  7    believed these products were 2; Ex. 5 ¶ 2; Ex. 6 ¶¶ that consumers ordered
  8    in stock and would arrive 2-4; PX 16, Att. U, because they believed
  9    within days.                  9/23/21 DP Dep. Tr. the           products     would
 10                                  88;     9-13    (“People arrive     within         days.
 11                                  were very hesitant on Indeed, most of the
 12                                  placing the order, like solicitations        did    not
 13                                  I said, we were the contain shipping claims
 14                                  only     company     out and therefore up to 30
 15                                  there that provided days for delivery is
 16                                  them or had them in permitted.           Dec.        of
 17                                  stock.”).                Tammabattula at ¶¶ 10-
 18                                                           12
 19    383. Consumers were forced See generally PX 1 ¶¶ Disputed, out of 45,000
 20    to chase down Defendants to 53-79, Att. P, Y, Z; orders, there were only
 21    find out when their products PX 16, Att. X, Y, Z; 200 complaints. The
 22    would arrive.                 see also PX 16, Att. customer service issues
 23                                  AE                 (DJN were all resolved and
 24                                  complaints).             all consumers received
 25                                                           their     product     or     a
 26                                                           refund.       Dec.          of
 27                                                           Tammabattula at ¶¶ 35-
 28
                                             -135-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 136 of 168 Page ID
                                  #:8004


  1                                                                    37
  2

  3

  4

  5    384. Defendants       illegally PX      1     ¶     58    (22 Disputed,         Refunds
  6    refused to cancel consumers’ Sentinel             complaints were         immediately
  7    orders or refund their money.   for               consumers made if the product had
  8                                    requesting a refund; not             shipped.     If   a
  9                                    only        two     reported consumers ordered had
 10                                    receiving a refund already                      shipped,
 11                                    through their credit Defendants would issue
 12                                    card company or Pay any requested refunds if
 13                                    Pal); id. ¶ 65-66 (two the           products      were
 14                                    out of 27 Trustpilot returned.             Dec.        of
 15                                    reviews             reported Tammabattula at ¶¶ 39-
 16                                    receiving          requested 40
 17                                    refunds); see also PX
 18                                    1 ¶ 61 (“You will
 19                                    demand a refund but
 20                                    they will say they
 21                                    can’t       refund       your
 22                                    money because it is in
 23                                    ‘preshipment’
 24                                    status.’”);         ¶     69
 25                                    (Glowyy              refused
 26                                    refund, saying they
 27                                    could not refund once
 28
                                               -136-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 137 of 168 Page ID
                                  #:8005


  1                                   a “shipping label was
  2                                   created.”);       ¶    55
  3                                   (“They claim they
  4                                   cannot      cancel    my
  5                                   order because it’s too
  6                                   late in the process.”);
  7                                   PX 16, Att. Y, PX 16,
  8                                   Att.    X      (ticket_ids
  9                                   2573824, 1970332).
 10    385. Some consumers were See generally PX 3-6; Disputed, While some
 11    forced to order the products PX 1 ¶¶ 53-79, Att. P, consumers              chose      to
 12    from   other   merchants,   to Y, Z; PX 16, Att. X, order              from       other
 13    obtain refunds through their Y, Z, and AE.                  merchants,           obtain
 14    credit card companies, or                                   refunds through their
 15    simply wait at the mercy of                                 credit card companies,
 16    Defendants.                                                 or wait, Defendants did
 17                                                                not force them to do
 18                                                                any of these things.
 19                                                                Further, out of 45,000
 20                                                                orders, there were only
 21                                                                200 complaints. The
 22                                                                customer service issues
 23                                                                were all resolved and
 24
                                                                   all consumers received
 25
                                                                   their     product    or   a
 26
                                                                   refund.       Dec.        of
 27
                                                                   Tammabattula at ¶¶ 35-
 28
                                             -137-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 138 of 168 Page ID
                                  #:8006


  1                                                                     36, 39-40
  2

  3

  4

  5    386. Numerous        consumers PX        1     ¶    57    (19 Disputed, no consumer
  6    reported either not receiving complaints                   on received a materially
  7    the products at all, or receiving Sentinel          reported different       substitution.
  8    unauthorized,         materially never             receiving all substitutions were
  9    different substitutions.         ordered products); ¶ for the same amount or
 10                                     61      (39       Trustpilot more hand sanitizer.
 11                                     reviews       about       not Defendants               are
 12                                     receiving           ordered unaware of anyone who
 13                                     products); ¶ 64 (three did not receive either
 14                                     Trustpilot         reviews their      product     or    a
 15                                     about             receiving refund.         Tamabattulla
 16                                     unauthorized                    Dec. ¶ 40
 17                                     substitutions);           see
 18                                     also PX 6 ¶ 12
 19                                     (substitution);           see
 20                                     also PX 16, Att. U,
 21                                     9/23/21 DP Dep. 88:
 22                                     25 (consumers called
 23                                     to   complain           about
 24                                     receiving          different
 25                                     products than what
 26                                     they ordered).
 27

 28
                                              -138-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 139 of 168 Page ID
                                  #:8007


  1    387. Customers         complained PX      16,    Att.   U, Undisputed
  2    about      receiving     damaged 9/23/21 DP Dep. Tr.
  3    bottles.                             92:11-14.
  4

  5    388. Defendants processed at PX 9, Geiran ¶ 17             Undisputed
  6    least 43,749 orders through
  7    Glowyy for hand sanitizer and
  8    PPE.
  9    389. Consumers placed 43,633 PX 9, Geiran ¶ 27, Undisputed
 10    orders for hand sanitizer or Table 2.
 11    PPE      between     March    and
 12    August 2020.
 13    390. Of the 43,633 orders for PX 9 ¶¶ 25-27, and Disputed,                This   data
 14    hand sanitizer or PPE between Table 2.                     assumes that all the
 15    March      and     August    2020,                         sales during this period
 16    39,724 were shipped late under                             originated     from    the
 17    Scenario 5, which assumes the                              Google ad or other
 18    following        shipment     time                         solicitation          that
 19    claims:                                                    contained a shipping
 20            • 3/4/20-3/18/20, 1 day                            claim, which is not the
 21            • 3/19/20-3/31/20,     10                          case. Apart from a few
 22               days                                            ads/solicitations, none
 23            • 4/1/20-5/18/20, 1 day                            of them contained any
 24            • 5/19/20-12/29/20 10                              shipping claims, and,
 25               days.                                           therefore,     Defendants
 26                                                               had 30 days to ship.
 27                                                               Moreover, the FTC is
 28
                                                -139-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 140 of 168 Page ID
                                  #:8008


  1                                                       relying on “first scan”
  2                                                       dates by the USPS
  3                                                       when many of the first
  4                                                       scan     dates   occurred
  5                                                       days or weeks after the
  6                                                       product was actually
  7                                                       picked up, so is not
  8                                                       reliable. When the true
  9                                                       facts are considered,
 10                                                       the number of late
 11                                                       shipped products that
 12                                                       were not the subject the
 13                                                       subject of a refund
 14                                                       notice or an actual
 15                                                       refund      is   only   is
 16                                                       significantly less than
 17                                                       that claimed by the
 18                                                       FTC and is estimated to
 19                                                       be about 10-15%. Dec.
 20                                                       of Tammabattula at ¶¶
 21                                                       10-12, 34
 22    391. In total, there were 43,749 PX 9 ¶ 31         Undisputed
 23    orders paid for between March
 24
       and December 2020, totaling
 25
       $2,944,899.89. From March 1,
 26
       2020 through August 31, 2020,
 27
       there were 43,633 orders, gross
 28
                                            -140-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 141 of 168 Page ID
                                  #:8009


  1    amount $2,933,692.11.
  2

  3

  4

  5    392. Of the 43,749 orders, PX 9 ¶¶ 18, 32.                       Undisputed
  6    3,837 order did not have a
  7    shipment date; 1,335 did have
  8    a “Fulfilled_at” date; 2,502
  9    have neither a “Fulfilled_at”
 10    date nor a shipment date, but
 11    do have a “paid at” date.
 12    393. The           total      amount PX 9 ¶ 32.                  Disputed, relying on
 13    attributable        to     unshipped                             FirstScanTimestamp
 14    goods       less         refunds    is                           data is not reliable.
 15    $62,850.94.                                                      Dec. of Tammabattula
 16                                                                     at ¶¶ 34
 17    394. Between March 4, and PX 9 ¶ 28, and Table Disputed, relying on
 18    December 29, 2020, there were 4.                                 FirstScanTimestamp
 19    10,560 orders were mailed                                        data is not reliable so it
 20    more than 30 days after their                                    is not clear when these
 21    “paid_at”          date,      totaling                           orders actually were
 22    $910,428.45.                                                     mailed.      Dec.      of
 23                                                                     Tammabattula at ¶ 34
 24    395. Defendants also failed to PX            9,      Att.   A Disputed, significant is
 25    ship significant numbers of (Violation Summary, ambiguous and is an
 26    shipments            within        the Scenario 1, Requests opinion.
 27    “processing times” claimed on 1-13,                 evaluating
 28
                                                   -141-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 142 of 168 Page ID
                                  #:8010


  1    the website.                    known           processing
  2                                    times and assuming
  3                                    default of 10 days
  4                                    shipment claim for all
  5                                    other periods); PX 9,
  6                                    Att.     A      (Violation
  7                                    Summary,         Scenario
  8                                    4, Requests 15-19,
  9                                    evaluating         known
 10                                    processing times and
 11                                    assuming           default
 12                                    MITOR              30-day
 13                                    shipment claim for all
 14                                    other periods).
 15    396. Only 1,494 orders out of See PX 9, Att. A Disputed,                    The   data
 16    the 43,749 were shipped within (Violation Summary, relied upon by the FTC
 17    the      represented   shipment Total Orders under assumes that all the
 18    times.                          Scenario 5 is 43,749; sales during this period
 19                                    Complete            Order were            based    on
 20                                    Violations        39,729; solicitations           that
 21                                    2,502 no shipment contained                   shipping
 22                                    data;              Partial claims when this is not
 23                                    Violations 7; Orders the case. Indeed, most
 24
                                       with Negative Times, of the ads contained no
 25
                                       17; 1,494 on time).          shipping claims, and,
 26
                                                                    therefore,    Defendants
 27
                                                                    had 30 days to ship.
 28
                                               -142-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 143 of 168 Page ID
                                  #:8011


  1                                                                   Moreover, the FTC is
  2                                                                   relying on “first scan”
  3                                                                   dates by the USPS
  4                                                                   when many of the first
  5                                                                   scan   dates   occurred
  6                                                                   days or weeks after the
  7                                                                   product was actually
  8                                                                   picked up, so is not
  9                                                                   reliable. When the true
 10                                                                   facts are considered,
 11                                                                   the number of late
 12                                                                   shipped products that
 13                                                                   were not the subject the
 14                                                                   subject of a refund
 15                                                                   notice or an actual
 16                                                                   refund is about ______.
 17                                                                   Dec. of Tammabattula
 18                                                                   at ¶¶ 10-12, 34
 19    397. Defendants      refunded See      PX       9    ¶     31 Disputed, There was
 20    orders totaling $253,786.42.   ($2,933,692.11              in actually        $266,357
 21                                   total      sales          from refunds issued. Dec. of
 22                                   March        1       through Tammabattula at ¶¶ 33,
 23                                   August 31, 2020) and 36-37
 24
                                      ¶ 57 ($2,679,905.69
 25
                                      is the total amount
 26
                                      less refunds).
 27

 28
                                              -143-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 144 of 168 Page ID
                                  #:8012


  1    398. Thus, the total amount of PX 9 ¶ 57 (gross Disputed, The actual
  2    gross revenues less refunds is amount less refunds). gross            revenue      less
  3    at least $2,679,905.69                                     refunds is $2,720,695
  4                                                               Dec. of Tammabattula
  5                                                               at ¶ 37
  6    399. The total amount of late, PX 9 ¶ 33.                  Disputed,        This   data
  7    unrefunded shipments of hand                               ignores customers who
  8    sanitizer   and     PPE    is                              did not purchase based
  9    $2,449,881.92.                                             on ad because they did
 10                                                               not see one, thus, only
 11                                                               purchases made from a
 12                                                               Google Ad or on a day
 13                                                               when       the      website
 14                                                               included     a     shipping
 15                                                               time claim should be
 16                                                               included.        Dec.    of
 17                                                               Tammabattula at ¶¶ 10-
 18                                                               12
 19    400. DJN sold $439,657.95 in See      PX     9    ¶    55 Disputed,         This   data
 20    hand sanitizer between March (sanitizer               paid ignores customers who
 21
       and August 2020.                amount and tax and did not purchase based
 22
                                       shipping cost).            on ad because they did
 23
                                                                  not see one, thus, only
 24
                                                                  purchases made from a
 25
                                                                  Google Ad or on a day
 26
                                                                  when       the      website
 27
                                                                  included     a     shipping
 28
                                            -144-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 145 of 168 Page ID
                                  #:8013


  1                                                                  time claim should be
  2                                                                  included.        Dec.      of
  3                                                                  Tammabattula at ¶¶ 10-
  4                                                                  12, 45
  5    401. The total refunds and PX 9 ¶ 55.                         Disputed,        This    data
  6    discounts for DJN sales was                                   ignores customers who
  7    $33,324.65,     thus    the    net                            did not purchase based
  8    revenue      was    $406,333.30                               on ad because they did
  9    between March and August                                      not see one, thus, only
 10    2020.                                                         purchases made from a
 11                                                                  Google Ad or on a day
 12                                                                  when       the      website
 13                                                                  included     a     shipping
 14                                                                  time claim should be
 15                                                                  included.        Dec.      of
 16                                                                  Tammabattula at ¶¶ 10-
 17                                                                  12, 45
 18    402. Defendants        did     not PX      16,    Att.    Q, Disputed. DJN used a
 19    produce records sufficient to 12/9/21 JN Dep. Tr. separate                third       party
 20    determine the date for each 67:4-16               (shipped sales platform called
 21
       DJN     hand   sanitizer      order order status is based BigCommerce.
 22
       shipments,     as   defined     in on     generating      and BigCommerce
 23
       MITOR, §435.1(d), because creating a shipping contained                        fulfillment
 24
       their records only reflect the label);            67:17-21 time        records        which
 25
       date a label was created, and (shipped date is the were provided to the
 26
       they did not always ship the date           the   label    is FTC.
 27
       date the label was generated.        created);     96:3-22
 28
                                                 -145-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 146 of 168 Page ID
                                  #:8014


  1                                          (ship date in Big
  2                                          Commerce is the date
  3                                          when the label is
  4                                          created not when it
  5                                          was      put   into   the
  6                                          mail);      102:6-103:2
  7                                          (RT      testifying   as
  8                                          corporate
  9                                          representative        on
 10                                          behalf of DJN, see PX
 11                                          16, Att. Q, 12/9/20 JN
 12                                          Dep. Tr. 101:14-19).
 13   ADDITIONAL FACTS CITED IN BRIEF
 14
       403. Clicking         the     links PX 16, Att. L, 8/17/21 Undisputed
 15
       displayed with the Google RT Dep. Tr. 60:21-
 16
       AdWords ads would bring 61:5; see also id., Att.
 17
       consumers to the Glowyy N2 at 3-4, RT-QYK
 18
       website.                              21 and Att. N14 at 1,
 19
                                             RT-QYK                61
 20
                                             (showing the landing
 21
                                             page             address
 22
                                             associated with the
 23
                                             Google ads).
 24
       404. Clicking         the     links PX 16, Att. N2, RT- Undisputed
 25
       displayed with the Google QYK 21 at 4.
 26
       AdWords         ads         brought
 27
       customers to the webpage
 28
                                                    -146-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 147 of 168 Page ID
                                  #:8015


  1    where       Defendants    offered
  2    hand sanitizer and other PPE
  3    for sale.
  4

  5    405. Defendants         did   not See PX 16, Att. H at Undisputed as to there
  6    produce       records    showing 8, QYK ROG Resp. not                being      written
  7    systems or procedures in place No. 1, 3, and 9 procedures,                    however,
  8    to ensure the timely shipment (admitting there were QYK ROG Resp. No. 3
  9    of orders.                          no written policies); clearly       identifies    a
 10                                        PX 16, Att. H, QYK procedure             articulated
 11                                        ROG Resp. No. 3 by Tammabattula.
 12                                        (“QYK’s employees
 13                                        were instructed by
 14                                        Rakesh
 15                                        Tammabattula           to
 16                                        handle any shipping
 17                                        time disputes on a
 18                                        case by case basis”).
 19    406. Defendants admit they PX 16, Att. E, QYK Disputed.                        Shopify
 20    did not maintain shipping RFA Resp. No. 81; maintained records of
 21    records sufficient to track PX 16, Att. E, QYK fulfillment. Once the
 22    shipping for any hand sanitizer RFA Resp. No. 82 label was printed, the
 23    between March 3, 2020 and (Defendants do not packages                             were
 24    when the complaint was filed.       have             records prepared and placed in
 25                                        documenting           the bins for pick-up by the
 26                                        shipping       date   for USPS. Sometimes the
 27                                        orders            placed USPS would not show
 28
                                                  -147-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 148 of 168 Page ID
                                  #:8016


  1                                    between       March      3, up.     However,
  2                                    2020 and August 4, thousands of packages
  3                                    2020); PX 16, Att. E, were available on a
  4                                    QYK RFA Resp. No. daily basis ready for
  5                                    83 (Shopify does not pickup.       Dec.   of
  6                                    maintain a shipping Tammabattula at ¶¶ 13,
  7                                    date in its database); 27-28, 32
  8                                    PX 16, Att. E, QYK
  9                                    RFA Resp. No. 84
 10                                    (admit that it did not
 11                                    maintain           records
 12                                    sufficient    to      track
 13                                    shipping times during
 14                                    the relevant period).
 15    407. Defendants further admit PX 16, Att. E, QYK Undisputed
 16    that they do not know the RFA Resp. No. 81
 17    shipping    date   for   orders (“QYK relies on mail
 18    because Defendants rely on carrier records and
 19    mail carrier records which that because certain
 20    lapse after 90 days.            records lapse after 90
 21                                    days it does not know
 22                                    for     certain        the
 23                                    Shipping       date     of
 24
                                       certain orders”).
 25

 26

 27

 28
                                             -148-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 149 of 168 Page ID
                                  #:8017


  1    408. Shopify         does    not PX 16, Att. E, QYK Undisputed
  2    maintain a shipping date in its RFA Resp. No. 83.
  3    database.
  4

  5    409. Defendants also admit PX 16, Att. E, QYK Undisputed
  6    that they do not have any RFA Resp. No. 82
  7    records     documenting      the
  8    shipping date for orders placed
  9    between March 3, 2020 and
 10    when the complaint was filed.
 11    410. Defendants did not know See PX 16, Att. E, Disputed, FTC cites
 12    whether any particular order QYK             RFA   Resp. insufficient supporting
 13    had shipped once the shipping Nos. 86-87 (could not evidence                for    this
 14    labels had been created.           intercept       orders notion, being unable to
 15                                       whose shipping label intercept an order is
 16                                       generated for empty different from knowing
 17                                       boxes);                if   the      order      had
 18                                                              shipped.
 19    411. In numerous instances, PX 16, Att. E, QYK Disputed, FTC cites to
 20    Defendants printed shipping RFA Resp. No. 86; RFAs                   that    are   not
 21    labels to place in stacks or PX 16, Att. F, RT admitted as to the fact
 22    empty       boxes       awaiting RFA Resp. No. 30.        they are claiming.
 23    shipment       and     did   not
 24    immediately ship the ordered
 25    items.
 26

 27

 28
                                               -149-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 150 of 168 Page ID
                                  #:8018


  1    412. QYK informed customers PX 16, Att. E, QYK Undisputed
  2    who canceled orders but whose RFA Resp. No. No.
  3    orders the company could not 90.
  4    intercept prior to shipping that
  5    the customer could only get a
  6    refund once the customer
  7    returned the items.
  8    413. Tammabattula knew that PX 16, Att. F, RT Undisputed
  9    QYK informed customers who RFA Resp. No. 34.
 10    canceled orders but whose
 11    orders     QYK     could    not
 12    intercept prior to shipping that
 13    the customer could only get a
 14    refund once the customer
 15    returned the items.
 16    414. When consumers asked PX 1, Att. Z at 15, 17, Undisputed
 17    for refunds or cancellations, 49, 135, 151, 157,
 18    Defendants repeatedly stated 171, 189, 207, 216,
 19    that items had to be rejected, 222; PX 1, Att. Y at
 20    refused, or returned to sender, 50, 53, 72, 85, 87,
 21
       because they had no way of 108, 109, 110, 113;
 22
       knowing whether the item was PX 16, Att. Y.
 23
       still in the warehouse, or
 24
       whether it had actually been
 25
       placed into the hands of a mail
 26
       carrier.
 27

 28
                                          -150-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 151 of 168 Page ID
                                  #:8019


  1    415. Defendants admit they PX 16, Att. E, QYK Undisputed as to only
  2    shipped items consumers had RFA Resp. No. 88; some consumers
  3    cancelled and did not want PX 16, Att. F, RT
  4    because      they    could      not RFA Resp. No. 2
  5    intercept these orders before (admit shipped hand
  6    they were mailed.                     sanitizer     who    had
  7                                          canceled            their
  8                                          orders); PX 16, Att.
  9                                          E, QYK RFA Resp.
 10                                          No. 87; PX 16, Att. F,
 11                                          RT RFA Resp. No. 31
 12                                          (admit      could    not
 13                                          intercept).
 14    416. Tammabattula knew that PX 16, Att. F, RT Undisputed                         as     to
 15    QYK did not issue refunds for RFA Resp. No. 33.                   certain orders where the
 16    some         customers’        hand                               customer   refused    to
 17    sanitizer orders that it could                                    return the products
 18    not intercept.
 19    417. QYK asked customers to PX 16, Att. E, QYK Undisputed                        as     to
 20    pay    for       merchandise     it RFA Resp. No. 91.             certain orders where the
 21
       delivered after the customer                                      customer   refused    to
 22
       canceled the order.                                               return the products
 23
       418. Defendants admit they PX 16, Att. E, QYK Undisputed
 24
       knew consumers were having RFA Resp. No. 99;
 25
       difficulty       finding       hand PX 16, Att. F, RT
 26
       sanitizer and that anticipated RFA Resp. No. No.
 27
       demand       was    volatile    and 38; see also PX 16,
 28
                                                  -151-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 152 of 168 Page ID
                                  #:8020


  1    unpredictable                Att. H, QYK ROG
  2                                 Amended Resp. No. 1
  3                                 (admitting that order
  4                                 volume was volatile,
  5                                 which            affected
  6                                 shipment times); PX
  7                                 16, Att. H, QYK
  8                                 ROG Amended Resp.
  9                                 No. 3 (“Due to Covid-
 10                                 19         and        the
 11                                 uncertainties
 12                                 surrounding           the
 13                                 pandemic,             the
 14                                 anticipated      demand
 15                                 for hand sanitizer was
 16                                 extremely        volatile
 17                                 and       difficult    to
 18                                 anticipate.”).
 19    419. Defendants admit they PX 16, Att. E, QYK Disputed, “a litany of
 20    could not reliably tell when RFA Resp. No. 109; factors                  and
 21    orders would be fulfilled.   see also PX 16, Att. unforeseeable
 22                                 H, QYK ROG Resp. scenarios             affected
 23                                 No. 1 (“A litany of [Defendants] ability to
 24
                                    factors               and ship products.” This
 25
                                    unforeseeable               does not mean they
 26
                                    scenarios        affected could not tell when
 27
                                    Responding       Party’s orders     would    be
 28
                                          -152-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 153 of 168 Page ID
                                  #:8021


  1                                    ability to ship its fulfilled at all.
  2                                    products.”).
  3

  4

  5    420. Defendants admit they PX 16, Att. E, QYK Undisputed
  6    had no prior experience selling RFA Resp. No. 6
  7    hand sanitizer                  (admitting QYK had
  8                                    not       sold          hand
  9                                    sanitizer       prior      to
 10                                    March 3, 2020); see
 11                                    PX      16,      Att.      K,
 12                                    8/16/21 RT Dep. Tr.
 13                                    149:17-150:10
 14                                    (discussing              how
 15                                    Defendants began the
 16                                    hand                 sanitizer
 17                                    business             through
 18                                    Glowyy).
 19    421. Defendants admit their PX 1, Att. Z at 5, 15, Disputed, it is unknown
 20    fulfillment      system    was 33, 36, 49, 160, 161, what           is    meant   by
 21    woefully      (and   admittedly) 168, 167, 175, 176, “woefully.” Defendants
 22    unprepared for the volume of 180, 210; PX 16, Att. do             admit    that   the
 23    orders                          K, 8/16/21 RT Dep. unprecedented demand
 24                                    Tr.            161:19-25) caused by the pandemic
 25                                    (“when we started was not anticipated and
 26                                    selling        the      hand to    some       extent
 27                                    sanitizer around the overwhelmed                  its
 28
                                              -153-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 154 of 168 Page ID
                                  #:8022


  1                                 Glowyy e-commerce fulfillment process that
  2                                 platform, and we saw was in place based on
  3                                 the orders come in, historical           ordering
  4                                 and we needed a lot trends for all of its
  5                                 more help than what I products.        Dec.    of
  6                                 had             originally Tammabattula at ¶¶ 14,
  7                                 anticipated”); PX 16, 26, 29-31
  8                                 Att.    X      (ticket   id
  9                                 2592731 [“just due to
 10                                 the delay of previous
 11                                 orders that’s why it’s
 12                                 still sitting in the
 13                                 warehouse          waiting
 14                                 for the older order to
 15                                 be     shipped      out”],
 16                                 1487100 [“Due to an
 17                                 overwhelming
 18                                 number of orders, we
 19                                 are a little behind on
 20                                 our fulfillment”]); PX
 21                                 16,         Att.         AF
 22                                 (“warehouse              is
 23                                 extremely backed on
 24                                 some orders”).
 25

 26

 27

 28
                                           -154-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 155 of 168 Page ID
                                  #:8023


  1    422. Defendants did not pack PX 16, Att. AE; PX Disputed. Only a few
  2    hand sanitizer appropriately, 16, Att. R6-7, JN 53, bottles had problems of
  3    leading to broken and leaking 54; Att. Q, 12/9/21 JN leaking            or      being
  4    bottles, a problem they quickly Dep.          Tr.    175:8- broken. These issues
  5    became aware of and one that 186:20             (discussing were    addressed    and
  6    continues to present.             leaking and broken resolved.           Dec.      of
  7                                      bottles).                  Tammabattula at ¶ 35-
  8                                                                 36
  9    423. Innovity is a company PX 16, Att. L, 8/17/21 Undisputed
 10    owned          by        Rakesh RT Dep. Tr. 119:19-
 11    Tammabattula.                     25.
 12

 13    424. Defendant Tammabattula PX 16, Att. L, 8/17/21 Undisputed
 14    used Innovity to ship hand RT Dep. Tr. 119:19-
 15    sanitizer to the U.S. from 25.
 16    China.
 17    425. Defendant Tammabattula PX 16, Att. L, 8/17/21 Undisputed
 18    used Innovity to ship empty RT Dep. Tr. 106:10-
 19    hand     sanitizer   bottles   to 24.
 20    Sainnocare to be labeled for
 21    sale by Glowyy.
 22

 23
      NEED FOR INJUNCTIVE RELIEF
 24

 25
       426. Defendants did little to See PX 16, Att. R3, Disputed, roughly 10

 26    put into place systems and JN             45         (recent individual instances of

 27    procedures     to    prevent   a complaints         of   not consumer    complaints

 28    reoccurrence of similar harms. being          notified   of over the course of a
                                               -155-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 156 of 168 Page ID
                                  #:8024


  1                                 backordered         items; year and a half does not
  2                                 customers contacted demonstrate                that
  3                                 company to complain Defendants did not put
  4                                 of delays); Att. R6, in place systems and
  5                                 JN 53 at 2 (August procedures to prevent a
  6                                 2021 complaint about reoccurrence of similar
  7                                 leaking            bottles, harms. The fact is that
  8                                 company writes “We there has been 100%
  9                                 still have issues with shipping               time
 10                                 leaking        bottles   in compliance since mid-
 11                                 transit.”); id. at 3 May, 2020. Moreover,
 12                                 (9/6/21 email “We QYK has changed its
 13                                 still have a challenge business model from
 14                                 over              shipping selling to consumers
 15                                 packaging.        I’m not from the internet to
 16                                 sure if we are using selling on a wholesale
 17                                 padded envelopes but basis to retailers. Dec.
 18                                 if we are they do not of Tammabattula at ¶¶
 19                                 work for bottles with 35-36, 42, 46
 20                                 liquid or gel as they
 21                                 are getting squashed
 22                                 en-route and contents
 23                                 pouring out. I suggest
 24                                 a box of some sort.”);
 25                                 Att. R8 at 3, JN 55
 26                                 (9/2021              email
 27                                 addressing consumer
 28
                                           -156-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 157 of 168 Page ID
                                  #:8025


  1                                    complaint of wrong
  2                                    items).
  3    427. Defendants continue to PX 1, Freeman Decl., Undisputed
  4    sell hand sanitizer and PPE Att. U; see also PX
  5    through DJN, as well as dietary 16, Att. Q, 12/9/21 JN
  6    supplements.                    Dep.      Tr.     212:22-
  7                                    213:13         (discussing
  8                                    PCA wipes products
  9                                    available       on      the
 10                                    drjnatural.com
 11                                    website);       see    also
 12                                    213:14-215:9
 13                                    (denying          making
 14                                    claims      about       the
 15                                    product         on      the
 16                                    website).
 17    428. Defendants continue to PX 16, Att. R3, JN 45 Disputed, no shipping
 18    sell backordered items without (recent complaints of time claims have been
 19    notifying consumers that the not being notified of made since the end of
 20    items are not in stock, and still backordered         items; June 2020. QYK has
 21
       seemingly take more than 30 customers contacted achieved                        100%
 22
       days to ship items.             company to complain shipping                    time
 23
                                       of delays).                   compliance since Mid-
 24
                                                                     May 2020. Dr. J’s has
 25
                                                                     sold only about $3,000
 26
                                                                     of hand sanitizer since
 27
                                                                     summer    2020.    The
 28
                                              -157-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 158 of 168 Page ID
                                  #:8026


  1                                                       cited emails concern
  2                                                       only four orders out of
  3                                                       the 1100 orders made n
  4                                                       ot to QYK but to Dr. Js.
  5                                                       These customer service
  6                                                       issues    were    readily
  7                                                       resolved. Only one of
  8                                                       them concerns an order
  9                                                       that was delayed more
 10                                                       than 30 days. This had
 11                                                       nothing to do with it
 12                                                       being backordered, but
 13                                                       was a result of the order
 14                                                       being lost. When Dr.
 15                                                       J’s realized this, it
 16                                                       offered the consumer
 17                                                       the choice of a refund
 18                                                       or to receive either
 19                                                       additional product free
 20                                                       as a result of the
 21                                                       inconvenience: “I am
 22                                                       preparing to ship out
 23                                                       your     order   TODAY
 24                                                       along with a few gifts
 25                                                       such as 1 face cloth
 26                                                       mask, 1 Hand Sanitizer
 27                                                       4 oz, and 1 Hat with
 28
                                         -158-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 159 of 168 Page ID
                                  #:8027


  1                                                               Face Shield so that you
  2                                                               can feel a little better
  3                                                               BUT      I   need   your
  4                                                               APROVAL first that
  5                                                               you are still OK with
  6                                                               me sending this order.
  7                                                               The second option will
  8                                                               be to refund you since
  9                                                               by now you would be
 10                                                               so mad at us.” Dec. of
 11                                                               Tammabattula at ¶ 35-
 12                                                               36, 42
 13

 14    429. Defendants still do not PX 16, Att. R6, JN 53 Disputed,             Plaintiff’s
 15    send the goods consumers at 2 (August 2021 supporting evidence is
 16    ordered by sending leaking and complaint           about insufficient because a
 17    poorly packaged materials.    leaking            bottles, few leaking bottles in
 18                                  company writes “We one order does not
 19                                  still have issues with demonstrate                  a
 20                                  leaking        bottles   in widespread issue.
 21                                  transit.”); id. at 3
 22                                  (9/6/21 email “We
 23                                  still have a challenge
 24
                                     over              shipping
 25
                                     packaging.        I’m not
 26
                                     sure if we are using
 27
                                     padded envelopes but
 28
                                            -159-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 160 of 168 Page ID
                                  #:8028


  1                                         if we are they do not
  2                                         work for bottles with
  3                                         liquid or gel as they
  4                                         are getting squashed
  5                                         en-route and contents
  6                                         pouring out. I suggest
  7                                         a box of some sort.”);
  8                                         Att. R8 at 3, JN 55
  9                                         (9/2021         email
 10                                         addressing consumer
 11                                         complaint of wrong
 12                                         items).
 13    430. FTC       staff      received PX          15,    Guo Disputed,          FTC    has
 14    multiple     complaints      from Declaration; PX 16, failed              to       show
 15    small      business     customers Johnson Decl. ¶ 45.         “multiple      complaints
 16    regarding materially deceptive                                from small business
 17    claims     about       Defendants’                            customers.”       Instead,
 18    newest product—disinfecting                                   they only show one
 19    wipes.                                                        wholesale        customer,
 20                                                                  Mr.     Guo,        whose
 21                                                                  declaration      concerns
 22                                                                  empty cannisters, not
 23                                                                  disinfecting        wipes.
 24
                                                                     These were purchased
 25
                                                                     to be provided to Mr.
 26
                                                                     Guo’s    manufacturing
 27
                                                                     clients-- these were not
 28
                                                 -160-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 161 of 168 Page ID
                                  #:8029


  1                                                       consumer       purchases
  2                                                       from the internet. Mr.
  3                                                       Go never complained to
  4                                                       the QYK about the
  5                                                       product      and     even
  6                                                       ordered        additional
  7                                                       product which makes
  8                                                       no sense if he really
  9                                                       was dissatisfied with
 10                                                       the order. QYK was
 11                                                       unaware        of     any
 12                                                       problems with the more
 13                                                       than 130,000 empty
 14                                                       cannisters that      were
 15                                                       purchased. Moreover,
 16                                                       Mr. Go was convicted
 17                                                       and imprisoned from
 18                                                       embezzling more than
 19                                                       $5 million, so that his
 20                                                       declaration,        which
 21                                                       defendants          deny,
 22                                                       should be given little, if
 23                                                       any, weight. Dec. of
 24                                                       Tammabattula at ¶ 47
 25

 26

 27

 28
                                         -161-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 162 of 168 Page ID
                                  #:8030


  1    431. Defendants        previously PX 2, Rottner Decl., Disputed. No deceptive
  2    marketed dietary supplements Att. O at 1; see also claims were made, as
  3    with deceptive claims like PX 2, Att. AA (Dr. J many cancer patients
  4    “Many      late-stage     cancer “SimpleSlim”              ads approached                 Ms.
  5    patients look to Dr. J’s Natural making claims such Nguyen for the Dr. J’s
  6    supplements and cold pressed as “You could lose 5- cold pressed juice. Dec.
  7    juice to help fight cancer the all 10   pounds        in    a of Nguyen at ¶ 19
  8    natural way” and “Our CBD Month!!!”              for        a
  9    collection is clinically proven dietary supplement).
 10    to reduce pain, anxiety, and
 11    over    200    other     medical
 12    problems.”
 13    432. Defendants also heavily PX 1, Freeman Decl., Disputed.                          It     is
 14    marketed hand sanitizer as Att. B at 7, 11.                     unknown what the FTC
 15    “Made in the USA”                                               means        by      saying
 16                                                                    “heavily.”                Any
 17                                                                    marketing that stated
 18                                                                    “Made    in       America”
 19                                                                    were    fulfilled         with
 20                                                                    product that was made
 21                                                                    in America. Dec. of
 22                                                                    Tammabattula at ¶50
 23
       433. Consumers relied on the PX          16,    Att.       R8 Disputed. It depends on
 24
       Made in the USA claim when (emails                     from the        consumer.          Any
 25
       purchasing hand sanitizer from customers          seeking product             that        was
 26
       Defendants.                        “Made in the USA” fulfilled               pursuant       a
 27
                                          hand sanitizer).             “Made    in       America”
 28
                                               -162-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 163 of 168 Page ID
                                  #:8031


  1                                                             representation were in
  2                                                             fact fulfilled with a
  3                                                             product that was Made
  4                                                             in America. Dec. of
  5                                                             Tammabattula at ¶50
  6    434. Defendants’       records Decl. Molly Smith; Disputed,               this      is
  7    show they had very little hand PX 1, Freeman Decl. inaccurate                     and
  8    sanitizer that was domestically ¶¶ 95-101.               misleading.         While
  9    produced                                                 some    hand      sanitizer
 10                                                             was              purchased
 11                                                             internationally,        there
 12                                                             was      still      plenty
 13                                                             produced domestically.
 14                                                             Dec. of Tammabattula
 15                                                             at ¶¶ 17-19
 16    435. Defendants had no way to PX     16,     Att.   Q, Disputed, This fact has
 17    identify which hand sanitizer 12/9/21 JN Dep. Tr. no basis and the FTC
 18    was domestically sourced to 187:15-24           (stating cites only to some
 19    ensure that customers who that        bottles    either bottles that say Made in
 20    purchased Made in the USA state “Made in the the                USA.      Dec.     of
 21
       items received them.           USA” or “globally Tammabattula at ¶50
 22
                                      sourced”), but see,
 23
                                      e.g., PX 16, Att. T1 at
 24
                                      13-14, 39, 41 (photo
 25
                                      of label for hand
 26
                                      sanitizer produced in
 27
                                      India only showing
 28
                                           -163-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 164 of 168 Page ID
                                  #:8032


  1                                 “Distributed
  2                                 Exclusively             By:
  3                                 DrJsNatural           10517
  4                                 W.     Garden         Grove
  5                                 Blvd, Garden, CA”);
  6                                 PX 2, Att. Y at 11-13
  7                                 (photos                from
  8                                 undercover             buy
  9                                 showing “Distributed
 10                                 By:    QYK        Brands,
 11                                 LLC, no markings
 12                                 indicating origin); PX
 13                                 2, Att. M at 7-17
 14                                 (hand sanitizer has no
 15                                 marking          showing
 16                                 either Made in USA
 17                                 or globally sourced).
 18    436. On March 13, 2020, PX          16,      Att.    M, Undisputed
 19    Facebook disabled the hand 12/7/21 RT Dep. Tr.
 20    sanitizer ad campaign for 111:7-23;          id.    Att.
 21    violating the “Unacceptable N13, RT-QYK 58;
 22    Busines Practices Policy”.   see also PX 1, Att. W
 23                                 (Facebook
 24
                                    Unacceptable
 25
                                    Business        Practices
 26
                                    Policy states: “Ads
 27
                                    must      not    promote
 28
                                           -164-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 165 of 168 Page ID
                                  #:8033


  1                                        products,      services,
  2                                        schemes       or     offers
  3                                        using deceptive or
  4                                        misleading practices,
  5                                        including those meant
  6                                        to scam people out of
  7                                        money or personal
  8                                        information.”).
  9    437. The      Facebook          Ad PX     16,     Att.      M, Undisputed
 10    Account that was running the 12/7/21 RT Dep. Tr.
 11    Glowyy ads was suspended 136:9-16;                 id.     Att.
 12    from approximately March 14, N13, RT-QYK 61.
 13    2020 and continues to be
 14    suspended.
 15    438. Immediately       after    the PX    16,     Att.      M, Undisputed
 16    Facebook Ad Account was 12/7/21 RT Dep. Tr.
 17    suspended,         Tammabattula 136:17-137:7; id. Att.
 18    attempted to hire a freelancer N8, RT-QYK 51; PX
 19    who    had     an     established 1, Att. AA at 5.
 20    Facebook Ad Account.
 21
       439. Defendants                hired PX   16,     Att.      M, Disputed, the FTC’s
 22
       freelancers to use their own 12/7/21 RT Dep. Tr. cited portion of the
 23
       established        accounts      to 79:3-20.                      Deposition       transcript
 24
       continue advertising and used                                     does     not       discuss
 25
       a different Google AdWords                                        Google at all.
 26
       account       to      circumvent
 27
       Google’s suspension.
 28
                                                 -165-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 166 of 168 Page ID
                                  #:8034


  1    440. Defendants        also     show PX       16,    Att.   M, Disputed.      The    FTC
  2    little regard for the law. 12/7/21 RT Dep. Tr. misstates the deposition
  3    Defendants             purposefully 182:18-183:21               testimony as Defendant
  4    concealed the true nature of the (admitting           declared was only discussing
  5    goods they were importing into as                    something restrictions imposed by
  6    the U.S. (hand sanitizer) to different to bypass private carriers, not any
  7    circumvent export and safety restrictions                   on laws. This has nothing
  8    restrictions     for     hazardous Hazmat              goods); to do with MITOR or
  9    materials.                              186:7-11      (changed the FTC Act.
 10                                            the description).
 11    441. Defendants’ total gross PX 1 ¶¶ 93-99, Att. Disputed, More than
 12    investment for domestic hand AC.                                $400,000      investment
 13    sanitizer was approximately                                     for   domestic      hand
 14    $184,000, compared to over                                      sanitizer   was     made.
 15    $1.5 Million dollars for hand                                   Dec. of Tammabattula
 16    sanitizer      sourced        through                           at ¶¶ 17-19
 17    China.
 18    442. Defendants stated “We PX 2, Att. AD at 34; Undisputed
 19    make all our supplements and Att. AB at 1.
 20
       hand sanitizer here in the US”
 21
       on the DrJ Facebook page on
 22
       March 18 2020; and “MADE
 23
       IN USA” on the Glowyy
 24
       Twitter page on March 9,
 25
       2020.
 26

 27

 28
                                                    -166-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 167 of 168 Page ID
                                  #:8035


  1    443. Defendants   did    not PX 16, Att. H at 7, Disputed,          Defendants
  2    automatically cancel orders QYK ROG Resp. No. responded             that    they
  3    and provide a refund as 8 (when asked to “automatically
  4    required under MITOR, § identify all automatic cancelled all orders of
  5    435.2(c)(5).                 cancellations          and products    that    they
  6                                 identify such orders, anticipated that they
  7                                 Defendants                    would   no      longer
  8                                 responded that many stock.” Thus, they did
  9                                 customers             were identify automatically
 10                                 granted refunds when cancelled orders. QYK
 11                                 asked,     or     through ROG Resp. No. 8.
 12                                 Shopify,        or    they
 13                                 cancelled            orders
 14                                 when they anticipated
 15                                 they would no longer
 16                                 stock the product, but
 17                                 they did not identify
 18                                 any      orders       they
 19                                 automatically
 20                                 canceled in response
 21                                 to shipment delays).
 22

 23 DATED: March 18, 2022              WELLMAN & WARREN
 24

 25                              By:   /s/ Scott Wellman ___
 26                                    SCOTT WELLMAN
                                       Attorneys for Defendants
 27

 28
                                          -167-
       DEFENDANT’S RESPONSE TO PLAINTIFF FTC’S STATEMENT OF UNCONTROVERTED FACTS
                     AND CONCLUSION OF LAW AND [PROPOSED] JUDGMENT
Case 8:20-cv-01431-PSG-KES Document 202 Filed 03/18/22 Page 168 of 168 Page ID
                                  #:8036


  1                             CERTIFICATE OF SERVICE
  2
            I hereby certify, under penalty of perjury, under the laws of the United States of
  3

  4 America that on this date, I caused to be electronically filed the foregoing document,

  5
      and this Certificate of ECF Filing & Service, with the Clerk of the Court using the
  6
      CM/ECF system, who will send notification of such filing to the following party:
  7

  8
      Attorneys for Plaintiff and Defendants
  9

 10 KATHERINE E. JOHNSON kjohnson3@ftc.gov;
      CHRISTOPHER ERICKSON cerickson@ftc.gov
 11 DELILAH VINZON dvinzon@ftc.gov

 12
            Attorneys for Federal Trade Commission
 13

 14
      DATED this 18th day of March 2022, at Laguna Hills, California.
 15

 16                                   /s/ Scott Wellman ___
 17                                   Scott Wellman
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                -i-
                                      CERTIFICATE OF SERVICE
